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            EXHIBIT A
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                 SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                 Civil Division

PRECISION CONTRACTING
SOLUTIONS, LP
8222 Georgia Avenue
Silver Spring, MD 20910                                        received
                                                            Civil Clerk’s Office
DERRICK S. SIEBER, Individually                                 SEP 1 0 2019
9412 St. Andrews Way                                                                       \
Silver Spring, MD 20901                                      Supenor Ourt of               I
                                                             District of ColPTTil'iT.tTl
STEPHEN C. SIEBER, Individually                               Washinston, Djw.
1805 -45tH'Street N.W.
Washington D.C. 20007,

CAROLYN TORSELL, Individually
1135 6"’Street N.E,
Washington D.C. 20001
                                                 19-005949
               Plaintiffs
       V.
                                               Case No.
ANGI HOMESERVICES, INC.
14023 Denver West Pkwy
Bldg. 64
Golden, CO 80401

ANGIE’S LIST, INC.
1030 E. Washington Street
Indianapolis, Indiana 46204

KENNETH VOGEL, Individually
1642 R Street N.W.
Washington D.C.

DISTRICT OF COLUMBIA,
a municipal corporation
444-4th Street N.W.
Washington 2000!

              Defendants
                                  COMPLAINT
            FOR VIOLATION OF THE FEDERAL TRADE COMMISSION ACT,
            TORTIOUS INTERFERENCE, FALSE LIGHT, AND CONSPIRACY

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                                               Parties

            1.   Plaintiff Precision Contracting Solutions ("PCS") is a sole proprietorship that is

headquartered at 8222 Georgia Avenue, Silver Spring, MD 20910, and is a licensed home

improvement and class A general contractor in the District of Columbia. ("District" or "D.C.").

PCS has been continuously licensed in the District since 2007 and at all times relevant to this

Complaint.

           2.    Plaintiff Derrick Sieber, individually, is a citizen of the State of Maryland and the

sole proprietor of PCS.

           3.    Plaintiff Stephen Sieber, individually, is a citizen of the District and a design

consultant to PCS, with no ownership interest or administrative control over PCS.

       4.        Plaintiff Carolyn Torsell is a citizen of the District and a current customer of PCS.

       5.        Defendant ANGI Homeservices, Inc. d/b/a "HomeAdvisor" ("Home Advisor") is

a Colorado corporation headquartered at 14023 Denver West Pkwy, Bldg. 64, Golden, CO 80401

that conducts business in the District through its website {www.homeadvisor.com).

       6.        Defendant Angie's List, Inc. (“Angie’s List”) is an Indiana corporation

headquartered at 103 E Washington Street, Indianapolis, Indiana 46204 that conducts business in

the District through its website {www.angieslist.com).

      7.         Since 2017, Defendants Home Advisor and Angie’s List have been affiliates

owned by IAC Interactive Corp, (“I AC”), New York, NY.

      8.         Defendant Kenneth Vogel (“Defendant Vogel") is a practicing attorney in the

District where he is a partner in the law firm of Bar-Adon and Vogel PLLC.




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         9.     Defendant District of Columbia, acting through its Office of the Attorney General

for the District of Columbia ("("OAG"), is located at 444 4**’ Street N.W. Washington D.C.

20001.

                                  n.   Jurisdiction and Venue

         10.     All causes of action in this matter arose in the District, and this Court has subject

matter jurisdiction overall such causes of action pursuant to D.C. Code § 11-921.

         11.    This Court has in            jurisdiction over Defendants Home Advisor and

Angie's List collectively, ("Corporate Defendants") since each of them engages in business in the

District by receiving requests from District consumers for qualified service professionals

("Service Providers") and puts those District consumers in touch with such Service Providers

doing business in the District.

         12.    This Court has in            jurisdiction over the Defendant Kenneth Vogel since

he practices law in the District of Columbia.

         13.    Venue is proper in this Court because ail actions giving rise to this Complaint

occurred in the District.

                                       HI.      Facts

         Defendant Home Advisor

         14.   Since 2012, Plaintiff PCS has had an ongoing business relationship with

Defendant Home Advisor wherein PCS pays Home Advisor for leads that result in contracts with

District consumers.

         15.   Over the seven years (2013-2019) that PCS contracted with Home Advisor, PCS

paid Home Advisor over $300,000 for leads, many of which led to consumer contracts for PCS

with District consumers.



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        16.     During the business relationship between PCS and Home Advisor, PCS posted a

profile of its services, personnel, videos and photos of recent projects and other information on

the Home Advisor website.

        17.     Both District consumers and Service Professionals wishing to utilize Home

Advisor's services must agree to terms and conditions specified by Home Advisor ("Terms and

Conditions").

        18.     The Terms and Conditions for both District consumers and Service Providers are

contracts containing standardized terms that Home Advisor uses in the course of selling its

matchmaking services.

        19.     Home Advisor imposes these Terms and Conditions without a meaningful

opportunity for either consumers or Service Providers to negotiate the terms in these

agreements.

       20.      The Home Advisor Terms and Conditions for consumers are found at the bottom

of Home Advisor's homepage on its website {www.homeadvisor.com).

       21.      Under Paragraph 9 of those Terms and Conditions for consumers, entitled "User

Generated Content," the word "Content" is defined as "Photographs or Images, Comments,

Questions and/or Answers, Any other content."

       22.      Under that same Paragraph 9 of the Terms and Conditions for consumers, Home

Advisor restricts its authority to remove consumer-generated Content on its website to only the

following types of content: those that are offensive, harmful, abusive, or otherwise not in good

taste, or are false, or reference illegal activity, or are disparaging of Home Advisor, or does not

address or is related to the goods or services provided by the Service Provider, or concern a

different service professional.


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        23.     Consumers participating in the Home Advisor system are invited to post ratings

and reviews about Service Providers they have retained.

       24.      Ratings and reviews of PCS and other Service Providers by District consumers

are placed on the Home Advisor website close to the profile information of the Service Provider.

       .25.     The Home Advisor rating and review system uses three categories of

consideration - quality, service, and value - with ratings from 5 stars (best) to '/2 star (worst).

       26.      Over the six year period from 2013 to 2019 wherein PCS used Home Advisor's

services, PCS amassed 54 verified District consumer ratings and reviews with an average star

rating of 4.9 out of a possible 5.0 stars. Exhibit 1.

       27.      No consumer has ever posted a rating of PCS under 4.7 stars in the six years

that PCS has had its profile page published on the Home Advisor website.

       28.      The Home Advisor Terms and Conditions specified for Service Providers are

found on HomeAdvisor's website at htlps://pro.homeadvisor.com/(erms/ierms-conditions.

       29.      Paragraph II(i) of Home Advisor's Terms and Conditions for Service Providers

defines "content" as "any content on the Home Advisor website, including but not limited to

photographs."

       30.      "Content" on the Home Advisor Terms and Conditions for Service Providers

includes any profiles, ratings or reviews that have been posted on the Home Advisor website

about Service Providers.

       31.      In that same Paragraph II(i) of Home Advisor’s Terms and Conditions for Service

Providers, Home Advisor authorizes itself to "remove or modify Content for any reason."




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       Defendant Angie*s List

       32.     Angie’s List uses different sets of contractual requirements - which Angie's List

calls "Terms of Use" - for consumers and Service Providers using the Angie's List website.

       33.     Both the consumer and Service Provider versions of the Terms of Use imposed by

Angie's List are contracts containing standardized terms that Angie’s List uses in the course of

selling its matchmaking services.

       34.     Angie's List imposes its Terms of Use without a meaningful opportunity for

consumers or Service Providers to negotiate the standard terms of these agreements.

       35.     For consumers, the Angie's List Terms of Use are found at the bottom of the

homepage of that website {www.angiesUst.com).

       36.     Under the "User Conduct" paragraph in its Terms of Use for consumers, Angie's

List defines "content" as "ratings, reviews, communications, information, data, text, photographs.

audio clips, audiovisual works, or other materials on the Sites and Services."

       37.     Under the "Submitting Content" paragraph in their Terms of Use for consumers,

Angie's List authorizes itself to, "in its sole discretion, choose to remove or not to remove

reviews and ratings once published."

       38.     For Service Providers. Angie's List publishes a Service Provider's User

Agreement with standardized terms that Angie's List uses in the course of selling its

matchmaking services.

       39.     The Service Provider's User Agreement is located on the internet at

Agreementhttps.//vault.pactsafe.io/s/a84adJ2b-7245-4aJ2-9fc5 201 Ia3bf4d62/

legal. htmlUcontract‘hkgqxfs6e.




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       40.     Angie’s List imposes this Service Provider’s User Agreement on Service

Professionals without a meaningful opportunity for them to negotiate the standard terms of this

agreement.

       41.     In the seventh paragraph in the Angie's List Service Provider's User Agreement, a

Service Provider’s content ("SP Content") is defined as "any information, responses, writings or

other materials that the Company submits, transmits or otherwise conveys" to Angie's List.

       42.     Later in the Service Provider's User Agreement, Angie's List states that it "may

remove SP Content at any time in Angie’s List sole discretion."

       43.     Consumers who have retained Service Providers through Angie’s List are allowed

to post ratings and reviews of those contractors on the Angie's List website using grades of A,

being the best, through F being the worst.

       44.     Before it was purchased by lAC in 2017, Angie's List, on its own initiative,

created a PCS profile on its website and published consistent and verified “A” ratings and

reviews from dozens of District consumers about PCS.

       Importance of the Home Advisor
       and Angie's List Websites to PCS

       45.     Consumer ratings and reviews on both the Home Advisor and Angie's List

websites created a highly visible reputation barometer for PCS and other Service Providers that

is magnified by frequent Home Advisor and Angie's List television commercials proclaiming

that "[r]eputations of Service Providers can be found here.”

       46.     Service Providers in the Home Advisor and Angie’s List programs have an

interest in all consumer ratings and reviews because Service Providers have paid for leads that

result in Form Contracts with District consumers and often ratings and reviews by District

consumers.

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        47.       The Home Advisor and Angie’s List matchmaking programs therefore created a

fundamental source of leads, business development and reputation barometer for PCS during the

period 2013 thru 2019.

        48.       Consumers also have an interest in the ratings and reviews they have posted on

the Home Advisor and Angie’s List websites because those consumers have intended other

consumers to know their opinions about the Service Providers they have done business with.



        Home Advisor and Angie's List Removal of PCS
        Profiles, Ratings and Reviews From Their Websites

       49.       On August 6, 2019, Home Advisor and Angie’s List (“Corporate Defendants”)

removed the PCS profile from their websites along with the 54 verified consumer ratings and

reviews of PCS that had been posted by District consumers.

       50.       At the time the Corporate Defendants removed the PCS profile, ratings and

reviews from their websites. PCS was current on all its financial obligations for the payment of

leads and in conformance with all other requirements of the Corporate Defendants.

       51.       At the time of the Corporate Defendants' removal of the PCS profile, ratings and

reviews, PCS had no financial or other obligations to the Corporate Defendants.

       52.       All the consumer ratings and reviews posted about PCS by District consumers on

their websites were authentic and in conformance with all requirements established by those

organizations.

       53.       None of the content of any of the ratings and reviews posted by District consumers

on the Corporate Defendants' Websites contained any obscene, abusive or otherwise

objectionable content.




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        54.   No consumer who posted ratings or reviews on the Corporate Defendants'

websites about PCS requested that the PCS profile, or the associated ratings and reviews be

removed.

        55.    No reason was given by the Corporate Defendants for their removal of the

profiles, ratings and reviews of PCS from their websites.

        56.       On August 7, 2019. PCS owner Derrick Sieber sent an e-mails to Corporate

Defendants demanding an answer as to why the PCS profile and ratings and reviews about PCS

had been removed from their websites.

        57.       In that e-mail, PCS owner Derrick Sieber stated that the removal of the PCS

profiles and associated ratings and reviews was illegal and that if such content were not

reinstated, PCS and others would file a lawsuit, seek injunctive relief and damages resulting from

various causes of action. Exhibit 2.

        58.    Corporate Defendants never responded to the August 7‘^ letter sent by PCS owner

Derrick Sieber.

        District Consumer Carolyn Torsell Was Denied
        Her Lawful Right to Post a Rating and Review
        About PCS on Defendants Websites

        59.    Ms. Torsell is a homeowner in Northeast Washington D.FC. whowas connected

with PCS through the Home Advisor website.

        60.    Ms. Torsell entered into a form contract with PCS for construction services on her

home.

        61.    On or about August 20' 2019, Ms. Torsell sought to post a rating and review

about her experiences with PCS.




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         62.   When Ms. Torsell went to each of the Corporate Defendants' websites to post her

very positive rating and review of PCS, she could not do it because she found no profile or other

information about PCS on those websites.

         The Better Business Bureau

         63.   The Better Business Bureau (“BBB”) continues to publish an A+ rating for PCS

on its website, as the BBB has done continually over the past eight years.

         64.   At the time of the Corporate Defendants' removal of PCS profiles, ratings and

reviews from their websites, there were no open complaints about PCS on the BBB profile of

PCS or at the Department of Consumer and Regulatory Affairs for the District (“DCRA”).

                                          COUNT ONE

                            VIOLATION OF FEDERAL TRADE
                                  COMMISION ACT § 45b
                            (Plaintiff PCS Against All Defendants)

         65.   The allegations in paragraphs 1 through 64 are incorporated as if fully set forth

below.

         66.   Provisions entitled "Consumer Review Protection" are found in Section 45b of the

Federal Trade Commission Act. 15 U.S.C. § 45b ("Section 45b").

         67.   Under Section 45b(a)(3)(A), a "form contract" is defined, with exceptions not

relevant to this action, as "a contract with standardized terms— (i) used by a person in the course

of selling or leasing the person's goods or services; and (ii) imposed on an individual without a

meaningful opportunity for such individual to negotiate the standardized terms."

         68.   In all instances relevant to this matter, the Home Advisor Terms and Conditions,

the Angie’s List Terms of Use, and the Angie's List Service Provider's User Agreement are all

form contracts ("Form Contracts") within the meaning of Section 45b(a)(3)(A).



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       69.     Under Section 45b(b)(a)(2), a "covered communication" is defined as a "written,

oral, or pictorial review, performance assessment of, or other similar analysis of, including by

electronic means, the goods, services, or conduct of a person by an individual who is party to a

form contract with respect to which such person is also a party."

       70.     The consumer ratings and reviews of PCS that were posted on the Corporate

Defendants’ websites were "covered communications" ("Covered Communications") within the

meaning of Section 45b(b)(a)(2).

       71.     Under Section 45b(b)(l)(A), any "provision of a [F]orm [C]ontract is void from

the inception of such contract if such provision prohibits or restricts the ability of an individual

who is a party to the form contract to engage in a [CJovered [C]ommunication."

       72.     Under Section 45b(b)(3), an exception is made to the prohibition stated

immediately above in Section 45b(b)(l)(A) for any provision in a Form Contract that allows a "

person or business that hosts online consumer reviews or comments" to remove certain kinds of

content from Covered Communications listed below.

       73.     The kinds of content that may be removed from a Covered Communication under

Section 45b(b)(3) are the following:

               "(A) trade secrets or commercial or financial information obtained from a person

and considered privileged or confidential;

               (B) personnel and medical files and similar information the disclosure of which

would constitute a clearly unwarranted invasion of personal privacy;

               (C) records or information compiled for law enforcement purposes, the disclosure

of which would constitute a clearly unwarranted invasion of personal privacy;




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               (D) content that is unlawful or otherwise meets the requirements of paragraph

(2)(C) [pertaining to the personal information or likeness of another person, or libelous,

harassing, abusive, obscene, vulgar, sexually explicit, or is inappropriate with respect to race,

gender, sexuality, ethnicity, or other intrinsic characteristic; or is unrelated to the goods or

services offered by or available at such party's Internet website or webpage; or

clearly false or misleading];or

               (E) content that contains any computer viruses, worms, or other potentially

damaging computer code, processes, programs, applications, or files."

       74.     Any provision in a form contract that allows a "person_or business that hosts

online consumer reviews or comments" to remove more than the types of content permitted

under Section 45b(b)(3) is therefore a provision that "prohibits or restricts the ability of an

individual who is a party to the form contract to engage in a [CJovered [CJommunication" in

violation of § 45b (b)(1)(A).

       75.     Home Advisor and Angie’s List are businesses that use Form Contracts in hosting

online consumer reviews or comments within the meaning of Section 45b(b)(3), and they are

therefore subject to the limitations on the types of content they may remove from Covered

Communications on their websites under Section 45b(b)(3).

       76.     As noted in ^ 21 supra. Paragraph 9, the Home Advisor Terms and Conditions for

consumers defines "Content" as "Photographs or Images, Comments, Questions and/or Answers,

Any other content."

       77.     As noted in H 22 supra, Paragraph 21 the Home Advisor Terms and Conditions

for consumers restricts Home Advisor's ability to remove consumer-generated content to only

certain categories of information.


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       78.     While Home Advisor restricts its authority to remove consumer-generated

Content to only certain categories of information, certain of the categories that Home Advisor

permits itself to remove ("Comments that disparage HomeAdvisor" and "Reviews with no

qualitative value") are not exceptions authorized by Section 45b(b)(3).

        79.     The Home Advisor Terms and Conditions for consumers therefore violate

Section 45b(b)(l)(A) by prohibiting or restricting the ability of consumers to post certain kinds

of content about Service Providers.

       80.     Home Advisor's removal of the 54 ratings and reviews about PCS from its

website on August 2, 2019, violated both its own content guidelines and Section 45(b)(b)(3) of

the FTCA.

       81.     As noted in 1] 30 supra. "Content" on the Home Advisor Terms and Conditions

for Service Providers includes any profiles, ratings or reviews that have been posted on the

Home Advisor website about such Service Providers.

       82.     As noted in ^ 31 supra. Paragraph II(i) of Home Advisor's Terms and Conditions

for Service Providers authorizes Home Advisor to "remove or modify Content for any reason."

       83.     Given that Paragraph n(i) of the Home Advisor Terms and Conditions for Service

Providers authorizes Home Advisor to remove more content than is authorized under Section

45b(b)(3), Paragraph II(i) for Service Providers is therefore a provision that "prohibits or restricts

the ability of an individual who is a party to the form contract to engage in a [C]overed

[C]ommunication" in violation of Section 45b (b)(1)(A).

       84.     Home Advisor's action in removing the PCS profile, ratings and reviews from its

website was therefore based on an unlawful provision in its Terms and Conditions for Service

Providers, and its removal of such profile, ratings and reviews was therefore also unlawful.



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       85.     As noted in 1136 .'iupra, under the "User Conduct" paragraph in its Terms of Use

for consumers, Angie’s List defines "content" as "ratings, reviews, communications, information.

data, text, photographs, audio clips, audiovisual works, or other materials on the Sites and

Services."

       86.     Under the "User Conduct" paragraph in the Angie’s List Terms of Use for

consumers, "content" therefore includes the ratings and reviews that were posted about PCS on

the Angie's List website.

       87.     As noted in H 37 supra, under the "Submitting Content" paragraph in its Terms of

Use for consumers, Angie's List authorizes itself to, "in its sole discretion, choose to remove or

not to remove reviews and ratings once published."

       88.     Given that the Angie’s List Terms of Use for consumers authorizes Angie's List to

remove from its website more content than is authorized under Section 45b(b)(3), the provision

"prohibits or restricts the ability of an individual who is a party to the form contract to engage in

a [CJovered [C]ommunication" in violation of Section 45b (b)(1)(A).

       89.     The actions of Angie's List by removing the ratings and reviews of PCS from its

website was therefore based on an unlawful provision in its Terms of Use for consumers, and its

removal of such profile, ratings and reviews was therefore unlawful.

       90.      As noted in H 41 supra, in the seventh unnumbered paragraph in the Angie's List

Service Provider's User Agreement, a Service Provider's content ("SP Content”) on the Angie's

List website is defined as "any information, responses, writings or other materials that the

Company submits, transmits or otherwise conveys" to Angie’s List.

       91.     Angie’s List’s definition of SP Content on its website includes the profile

information of PCS posted on their website.



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        92.       As noted in ^ 42 supra, in the Service Provider's User Agreement, Angie's List

also states that it "may remove SP Content at any time in Angie’s List sole discretion."

        93.       Given that the Angie's List Service Provider's User Agreement authorizes Angie's

List to remove from its website more content than is authorized under Section 45b(b)(3), the

provision in the Service Provider's User Agreement "prohibits or restricts the ability of an

individual who is a party to the form contract to engage in a [CJovered [CJommunication" in

violation of Section 45b (b)( 1 )(A) and is a violation of law.

        94.       Angie's List, by removing the PCS profile information from its website as well as

District consumer ratings and reviews associated with PCS was therefore unlawful.

        95.       Both Corporate Defendants' Form Contracts for both consumers and Service

Providers contain provisions that violate Section 45(b)(l)(A)'s prohibition on provisions in

contracts that "prohibit[] or restrict[]" the ability of an consumers to post ratings and reviews of

Service Providers they have hired, and also violate Section 45b(b)(3).

        96.       Given that the Corporate Defendants' contracts violate Section 45b(b)(l)(A), the

entirety of such Terms and Conditions are therefore null and void and of no legal effect per

Section 45b(c).

        97.       The actions of the Corporate Defendants using unlawful Form Contracts and then

unlawfully removing PCS profiles, ratings and reviews from their websites have caused, and

continue to cause, irreperarable injury and damage to PCS for which immediate injunctive relief

is required.




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                                            COUNT TWO

                                   TORTIOUS INTERFERENCE
                                WITH EXISTING AND PROSPECTIVE
                                      BUSINESS RELATIONS
                                (Plaintiff PCS Against All Defendants)

         98.    The allegations in paragraphs 1 through 97 are incorporated herein as if fully set

forth below.

         99.    At the lime that the PCS profile, ratings and reviews were unlawfully removed

from Defendants Websites, PCS had existing and valid business relationships with many District

consumers who had given glowing ratings and reviews about PCS on Defendants Websites.

         100.   These contractual relationships between PCS and District consumers were

continuing because many prior clients of PCS would come back to PCS for additional services.

         101.   The Corporate Defendants knew of these existing business relationships since

they verified the ratings and reviews of those form contracts posted on their websites.

         102.   The Corporate Defendants knew that District consumers who had posted glowing

ratings and comments about PCS were likely to retain PCS in the future.

         103.   PCS also had prospective business relationships with other consumers through its

continuing use of Defendants Websites based on the glowing reviews posted by District

consumers.

         104.   The Corporate Defendants knew of these prospective relationships because they

knew that PCS was a prominent Service Provider in the District who responded well to leads

generated by the Corporate Defendants.

         105.   The Corporate Defendants intentionally and unlawfully removed the PCS profiles

as well as the ratings and reviews of PCS by District consumers from their websites on August 6,

2019.

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       106.    By intentionally and unlawfully removing tPCS profiles, ratings and reviews

from their websites of the Corporate Defendants in violation of FTCA Section 45b, as set forth

above in this Complaint, Corporate Defendants intentionally interfered with both the existing and

prospective business relations of PCS.

       107.    The intentional and wrongful interference of Corporate Defendants with the

existing and prospective business relations of PCS has resulted in irreparable harm and

catastrophic damages to PCS that will be established at trial.


                                         COUNT THREE

                                         FALSE LIGHT
                             (All Plaintiffs Against All Defendants)

       108.    The allegations in paragraphs 1 through 107 are incorporated herein as if fiilly set

forth below.

       109.    When Corporate Defendants removed the profiles of PCS as well as the ratings

and reviews of PCS from their websites, those actions created a firestorm of negative publicity

because PCS was a Service Providers well known in the District for its outstanding quality.

service and value to District consumers; the sudden takedown of previously available public

information about PCS on such websites was widely noticed and seen in a highly negative light.

       110.    At the time that the PCS ratings, reviews and profiles were taken down from the

Corporate Defendants' websites, PCS had many contract proposals out that invited prospective

customers in the District to go to those websites and view the glowing and hard-earned ratings

and reviews from District consumers about PCS.




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        111.    At the time that the PCS ratings, reviews and profiles were taken down from the

Defendants websites, PCS had worksite signs and other publicity about its services placed

throughout the District referencing the ratings, reviews and profiles of PCS on those websites.

        112.    The removal by the Corporate Defendants of the PCS profile, ratings and

reviews,after being driven to these websites by PCS marketing efforts, gave the public a negative

inference that PCS was not qualified to be on those websites for reasons that were so bad that

they could not be explained to the public.

        113.    An ordinary person in the community would have therefore been offended by the

thought that PCS must have done something extremely bad to earn such exclusion from the

Corporate Defendants' websites and that the previous ratings and reviews posted by District

consumers must have been false or contrived in some way.

        114.    Such an impression given to the community was false insofar as PCS had done

nothing to merit the removal of its profile, ratings and reviews from Defendants websites.

        115.    The removal of the PCS profiles, ratings and reviews from these websites

therefore cast Plaintiff PCS in a false light.

        116.    Those associated with PCS who were mentioned in the ratings and reviews by

District consumers such as Plaintiffs Derrick Sieber and Stephen Sieber were also cast into this

same false light.

        117.    The casting of PCS, Derrick Sieber and Stephen Sieber into this false light has

caused each of these Plaintiffs irreparable harm and damages that will be established at trial.




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                                     CONSPIRACY
                     (Home Advisor, Angie's List, OAG and Kenneth Vogel)

       118.    The allegations in paragraphs 1 through 117 are incorporated herein as if fully set

forth below.

       119.    Prior to the unlawful removal of PCS profiles, ratings and consumer reviews from

Defendants Websites on August 6, 2019, Defendants Angie's List, Kenneth Vogel and OAG had

had a history of arrogant and illegal actions toward PCS.

       120.    In 2010, Angie's List was forced to pay $100,000 in to settle a defamation suit

brought by Stephen Sieber.

       121.    In 2016, Defendant Kenneth Vogel falsely alleged in filing a verified complaint in

another proceeding in this Court that PCS had planted false reviews of its services on the Home

Advisor website.

       122.    Defendant Vogel was forced to admit in this Court in front of Judge John Mott in

December 2017 that he had no evidence to support such an allegation.

       123.    Later Defendant Vogel transmitted materials about PCS to counsel in another

proceeding in violation of a confidential settlement agreement that had been approved by Judge

Mott and prohibited distribution of ail such materials to anyone not a party to the agreement.

       124.    Defendant Vogel repeated to OAG his allegations about PCS planting false

reviews on the Home Advisor website in September of 2018 and caused the OAG to launch a

fraud investigation into District consumer ratings and reviews of PCS that were posted on the

Home Advisor and Angie’s List websites.

       125.    As part of that investigation, OAG's investigator entered the residence of the

undersigned counsel for PCS, where Plaintiff Stephen Sieber rents living space without the

undersigned's or Stephen Sieber’s knowledge or permission by forcing the door open thus

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entering without permission, thereby effectuating a forcible entry and a felony under District

criminal law.

        126.    As another part of its fraud investigation of PCS, the OAG issued a subpoena or

otherwise discussed with Home Advisor the production of documents and or information

pertaining to the PCS profile, ratings and reviews of PCS.

        127.    The OAG was in continuing communications thereafter with Home Advisor and

Angie’s List regarding information about PCS.

        128.    Defendants Vogel. Home Advisor, Angie's List, and the OAG came to agree that

it was important to stop PCS, by whatever means available to each of them, from consummating

additional contracts with consumers in the District of Columbia.

       129.     The OAG promised to review with PCS counsel the results of its investigation of

PCS prior to any action by the OAG.

       130.     The OAG ignored this promise, filed suit against PCS on August 2, 2019, and

publicized its action through a press release that attached the complaint OAG had filed, which

contained false and defamatory statements about PCS Derrick Sieber and Stephen Sieber.

       131.     Four days later, on August 6, 2019, Home Advisor and Angie's List removed the

PCS profile, ratings and reviews from their websites in coordination with to OAG’s lawsuit and

press release about PCS as a component of the conspiracy.

       132.     Such actions by Defendants Home Advisor and Angie's List violated Section 45b

of the Federal Trade Commission Act, 15 U.S.C. § 45b; they also tortiously interfered with both

existing and future contracts of PCS; and they placed PCS in a false light to the public, all as

alleged above in this Complaint.




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       133.    The unlawful actions of Home Advisor and Angie's List were undertaken with the

agreement and support of Defendants Kenneth Vogel and OAG as part of an common attempt by

all four of these Defendants, each of them acting without any legal basis or authority, to blacken

the reputation of PCS in the home improvement market and thereby prevent PCS from entering

into future contracts with District consumers.

       134.    The unlawful actions of Home Advisor and Angie's List in removing the PCS

profile, ratings and reviews from their websites in concert with the co-conspirators resulted in

irreparable harm and extensive damage to PCS and personal injury to Derrick Sieber and

Stephen Sieber.

       135.    By their conspiratorial involvement in connection with the unlawful actions of

Home Advisor and Angie's List in removing the PCS profile, ratings and reviews from their

websites. Defendants Vogel and OAG are now vicariously liable for the damages that have

resulted to PCS, Derrick Sieber and Stephen Sieber from such actions.


                                    PUNITIVE DAMAGES

       136.    The allegations in paragraphs 1 through 135 are incorporated herein as if fully set

forth below.

       137.    In removing the profile, ratings and reviews of PCS from their websites,

Defendants Home Advisor and Angie's List and the co-conspirators Vogel and OAG committed

unlawful and tortious acts, and their conduct and state of mind in doing so evidenced a willful

and malicious desire and intent to interfere with and ultimately shut down the business of PCS.

       138.    In refusing to honor the August 7, 2019 demand of Derrick Sieber of PCS to

restore the PCS profile, ratings and reviews to their websites. Defendants Home Advisor and

Angie's List intentionally continued in their unlawful and tortious acts of removing information

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about PCS as well as District consumer ratings and reviews from their websites and thereby

again demonstrated their willful malicious and unlawful intent to interfere with and ultimately

shut down the business of PCS.

       139.    In conspiring with Home Advisor and Angie’s List toward this same objective of

shutting down PCS, Defendants OAG and Kenneth Vogel demonstrated by their conduct and

state of mind the same willful, malicious and unlawful intent to interfere with the business

relationships and ultimately shut down the business of PCS.

      140.     The willful continuing, unlawful and malicious acts of Defendants Home Advisor

and Angie’s List, together with the associated acts of their co-conspirators OAG and Kenneth

Vogel, entitle all Plaintiffs to punitive damages against all Defendants under all counts pled in

this action.

                                     RELIEF REQUESTED

        WHEREFORE, with respect to its claims for relief, Plaintiff PCS respectfully requests

the entry ofjudgment against the Defendants as follows:

        1.     An order enjoining Defendants Home Advisor and Angie's List to restore and let

remain the profile, ratings and reviews of PCS at the same location on their websites where such

information was formerly located without any further interruption in the future;

        2.     An award of Twenty Five Million Dollars (US $25,000,000.00) in compensatory

damages against Defendeints Home Advisor and Angie’s List for unlawful and tortious

interference with the existing and prospective contractual relations of Plaintiff PCS (Count II)

and for placing PCS in a false light before the public (Count III);

        3.     A declaration that Defendants OAG and Kenneth Vogel are vicariously liable for

the compensatory damages sought in Paragraph 2 immediately above based on their



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conspiratorial involvement with Defendants Home Advisor and Angie's List in attempting to

interfere with the business of PCS and ultimately shut PCS down.

       4.       An award of punitive damages to be determined by a jury based on the willful.

continuing and malicious actions of Defendants Home Advisor and Angie's List in removing the

profile, ratings and reviews of PCS from their websites, and the equally willful and malicious

actions of Defendants OAG and Kenneth Vogel in conspiring with them to do so; and

       5.       An award of PCS's costs and reasonable attorneys' fees; and

       6.       Such other relief as the Court deems just and proper.



       WHEREFORE, with respect to his claim for relief, Plaintiff Derrick Sieber, individually,

requests the entry of judgment against the Defendants as follows:

       1.       An award of $10,000 per violation of the Federal Trade Commission Act § 45b

for each of the 78 Consumer reviews that were removed from Home Advisor and Angie’s List,

consistent with the authority of the Federal Trade Commission under that statute in the total

amount of $780,000.

       2.       An award of $300,000 for the monies paid to Home Advisor for leads that

resulted in the 54 removed consumer ratings and reviews the were unlawfully removed.



       WHEREFORE, with respect to his claim for relief. Plaintiff Stephen Sieber, individually.

requests the entry of judgment against the Defendants as follows:

       1.       An award of $10,000,000 for being placed in a false light in his capacity as a

design consultant to and one who was repeatedly referenced in the removed ratings and reviews

by Defendants


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        WHEREFORE, with respect to his claim for relief, Plaintiff Carolyn Torsell,

 individually, requests the entry ofjudgment against the Defendants as follows.

        1. An award of $ 10,000 for the violation of the Federal Trade Commission Act § 45b in

an amount to be determined by a jury with punitive damages a jury may find.

                                     DEMAND FOR JURY TRIAL

        AH Plaintiffs demand trial by jury on all issues so triable.

                                               Respectj^lly submitt^.


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                                               Contrahing Soli^ons. Ll^nd CArolyn Torsell


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                                              Washington DC 20007
                                              Telephone: 240-432-3265
                                              E-mail; marcostevie@gmail.com
City of WajUiiigRfli D.C.
District of-Celtfmbia

Subscribed and sworn before me this 9th day of September, 2019.



My commision expires:            ^                                                        DAVID KIM
                                                                               Notary Public • State of Maryland
                                                                                     Montgomery County
                                                                              My Commission Expires May 1, 2023
                                                 24
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              /




                             EXHIBIT 1

      PCS Ratings and Reviews As They Appeared on the
      Home Advisor Website Before Being Taken Down




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Precision Contracting Solutions
S'Star Ratings (54) Published on the Homeadvisor website for Precision Contracting Solutions
As of 07/25/2019

5.0 I 07-20-2019
Review by Aldo B. In Washington. DC
Project: Renovate or Repair a Home
Derrick and Steve did a fantastic job for us. We were under a short timeline to get repairs done in anticipation
of the sale of our townhouse and they responded professionally in a timely manner allowing us to complete all
work to engineer s specifications and moreso. Would highly recommend this company as U^ey are superior to
other contractors that we had contacted for quotes and completion times. They mounted an excellent team
who worked tirelessly to get the job done on time. Thank you for your diligence and professional service.
5.0 I 07-10-2019
Review by Vontella M. in Washington. DC
Project: Repair a Concrete Foundation
Precision fixed the front wall in front of my home within a week of signing the contract; and I am very pleased
with the results of their work. I would definitely recommend them for home improvement.

5.0 I 06-18-2019
Review by Paul M. In Washington. DC
Project: Remodel or Renovate One or More Rooms
Derrick and his team at Precision did quality work in a timely manner, and provided excellent service along the
way. Derrick made himself available by phone whenever I had an issue, and his team completed the work to a
very high standard. In addition to providing excellent service, when a (minor) part of a design was not how I
pictured it. Predsion made the change without any questions or extra charge. Furthermore, they were flexible
and provided great assistance in working with our condo board to get permits for our project. I highly
recommend Predsion for whatever job you need completed.

5.0 I 06-07-2019
Review by William t. in Washington. DC
Project: Repair a Concrete Foundation
Precision responded to my request for service with courtesy, skill, knowledge, and overall effectiveness. As my
needs continue. Predsion will be first on my list of experts to call and I will recommend they to my friends and
neighbors!
5.0 I 04-09-2019
Review by Isabel M. In Washington. DC
Project: Remodel a Basement
It 5 not often that you meet a contracting company and crew that change your life in such a positive and
significant way. My hone is over a 100 years old and since we ve owned it water in the basement has always
been an issue, to such an extent that by last summer you could smell the dampness upstairs. Predsion both
waterproofed the basement and turned the 1000 square feet into a beautiful apartment. Though the process
took longer than expected, both the crew, the designer and myself worked in tandem to create a beautiful
design and space. ITie value added to the property was considerable, and better yet 1 never want to leave my
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new apartment! The crew worked hard to trouble shoot all the water problems and helped me develop my
plans for the space. They re always willing to go the extra step for a client I highly recommend them!!!!

5.0 I 03-18-2019
Review by Makoto J. In Washington. DC
Project; Repair a Concrete Foundation
Derrick with Precision Contracting Solutions did a superb job in both communication and the work conducted. I
used him to contract foundation and masonry work in a DC rowhome. Throughout the initial proposal all the
way through the completion of work. Derrick was helpful and easy to contact. He checked in regularly with his
contractors to ensure that the work was being completed as directed and was quick to solve any issues that
arose. I would 100% recommend him to friends, family, or anyone that needed home renovations completed.

5.0 I 01-16-2019
Review by Joyce J. In Washington. DC
Project: Repair Structural Problems with Steel Beams
Derrick and Julio worked with me and my mother to ensure that her home was safe and sound! Her bearing
wall and floor beams were weakened from a fire over 35 years ago. The work was excellent! They promised 3
days; it was done in 2! Couldn t have been done without Predsion Consulting!!

5.0 t 11-13-2010
Review by Sharon M. in Washington. DC
Project: Manage a Construction Project
My home dining room and kitchen ceiling needed leveling and had structural damage. Precison sent in two
teams, one specializing in carpentry and structural repairs that did an excellent job in repairing and leveling the
ceilings. The last team completed the drywall and extensive plastering of the ceilings leveling them to a look
without an seams showing. Beautiful job! Although this process was a bit dusty. I voiced my concerned over
the dust Derrick immediately sent a cleaning service of 3 ttiat cleaned my entire 1st floor. I would recommend
Derrick and his team. His folks had years of experience and it showed in the results of this job.

5.0 I 10-11-2018
Review by Jennifer L. in Washington. DC
Project: Renovate or Repair a Home
We highly recommend Precision Contracting Solutions. LP. We had an excellent experience working with
Precision. Most importantly, our project was completed ahead of schedule. We would definitely utilize
Precision for future projects.

5.0 1 09-04-2018
Review by Syivia R. In Washington. DC
Project: Remodel or Renovate One or More Rooms
PCS re-did my staircase to the second floor of the house. Great quality of work and it looks fantastic. They
were also willing to work within my budget. A great experience from beginning to end. Very professional, i will
definitely work with them again in the future.


5.0 I 06-12-2018
Review by John A.
Project: Renovate or Repair a Home
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Precision Contracting Solutions (PCS) repaired extensive damage to the exterior wall of my Washington, DC
row house in Apn'l 2018. The entire team was professional, talented, and committed to first-rate work. \Arhich
ranged from resealing a roof to reinforcing a 100-year-old decaying brick wall to restore the structural integrity
of the house, However, it was their customer service that truly set PCS apart from other contracting firms we
interviewed. Throughout the entire three-week project, the team - from the foreman to the owner - was
available to discuss the work and preview next steps in the process. I would certainly recommend PCS to
others who are looking for top-notch craftsmanship from a customer-focused team.

5.0 I 12-11-2017
Review by Leo D. in Washington. DC
Project; Remodel a Basement
Stevie and his crew at Precision Contracting Solutions realty went beyond our expectations. We started with a
simple and basic renovation of our second floor home and ending with a gem. The project was to turn our two
smaller rooms Into a master suite, add a laundry room in the hallway and Install new wood floors, while still
maintaining the charm of our 105 year old home. What Precision did was nothing but amazing, they brought
back life into an area that was dull and cramped and showed the true charm of what our home was made of.
One area of the renovation, was that they removed part of our celling to access the attic and e)^ose windows
that were otheoA^ise just cosmetic to the exterior of the house and made them practical by bringing in more
light to the bedroom and creating truly amazing aesthetics. This was done with impeccable craftsmanship and
design. We were so impressed by their work we hired them to renovate our basement.
5.0 I 12-10-2017
Review by Maurice W. in Washington. DC
Project: Remodel or Renovate One or More Rooms
PCS Transformed my blah basement common area into a beautiful storage area. They also repaired plumbing
issues and installed several electrical outlets and new led lights under my kitchen cabinets. Also painting.
Great value, fantastic customer service. Highly recommended.
5.0 I 11-02-2017
Review by Helen S. Irt Washington. DC
Project: Remodel or Renovate One or More Rooms
I hired Precision to do a major renovation on my 100 year old house including adding on to the back of the
house on the first and second floor, remodeling the kitchen, adding a second bath, refurbishing the front porch
and reconfiguring the floorspace of the house. Working with Precision has been a phenomenal experience.
They took the time to understand what mattered to me and were able to come up with a design for the house
that maximizes the use of the space and wifi make the house infinitely more livable than it was before.
Precision went the extra mile and worked to find out just how far they could expand the back of the house and
figured out innovative solutions to expand the house further and yet meet DC building codes. Even better, their
creativity in design has added elements to the house that add to the elegance of the house and will make it
truly a showpiece home. Working with Precision has been a great experience, they are responsive and
collaborative and a very professional company, l would recommend highly recommend Precision and
recommend them to anyone looking to remodel/renovate their home.

5.0 I 10-23-2017
Review by Dr gwendotyn T. In Washington. DC
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Project: Repair a Concrete Foundation
Another contractor said , our house had a foundation issue. We put the issue off. Finally called Precision
Contracting Solutions. We received prompt same day service. 1 must say. Steve assured me we didnt have a
problem with the foundation of our house. Saved us thousands of dollars...Good to know they're still honest
people . Oh. BTW. Yes I hired them $#128525;
5.0 I 10-04-2017
Review by Tonya H. In Washington. DC
Project: Build a Garage
Precision tore down and then built a beautiful new garage for me. The quality was exceptional and the service
was professional and collaborative. I felt secure in my decision to hire Precision every step of the way. They
will be my go to builders from here on out.
5.0 ( 09-30-2017
Review by Charles X. in Washington. DC
Project: Remodel or Renovate One or More Rooms
I hired Precision Contracting Solutions to repair the water damage of the upper back portion of my elder
sister's home. Their estimator was thorough, straightforward, cordial and considerate to our family needs. They
were very considerate on the pricing of the project. After the demo it there was considerable water damage to
the masonry,framing, joists and flooring in the back of the house. Working to develop a scope of work that both
met our construction goals and budget restrictions without cutting comers was a win-win situation. I want teil
you that after the punch-out was completed we were very satisfied with the work completed. I would definitely
hire Precision for my next project.

5.0 I 05-26-2017
Review by Yvonne W.
Project: Remodel a Kitchen
He's already done 3 projects for me and it's great!

5.0 I 02-09-2017
Review by Lincoln A. in Washington. DC
Project: Repair Structural Problems with Steel Beams

0 of 1 users found this review helpful.

5.0 I 11-17-2016
Review by St elmo C. in Washington. DC
Project: Repair Structural Problems with Steel Beams
Great to work with, very skilled, very flexable. Would definitely use them again for future projects.


5.0 I 11-13-2016
Review by Metissa C. in Washington, DC
Project: Remodel or Renovate One or More Rooms
We hired Derrick, Stevie, and Precision to renovate the majority of our house. They did outstanding work from
beginning to end. Precision installed a brand-new kitchen and master bathroom, reconfigured other rooms to
get the most out of our space, installed new hardwood floors throughout, and added two new staircases. The
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Precision team was responsive, creative, and dependable. Our house feels like an entirely new (and better)
place! We were thrilled with the quality and value we received, and highly recommend Precision.

5.0 1 10-20-2016
Review by Brenda J. in Washington. DC
Project: Renovate or Repair a Home
Project still in progress, but very satisfied with how it is coming together.

5.0 I 09-23-2016
Review by Tao N. in Washington. DC
Project: Remodel a Basement
I.Good customer care, responsiveness, with a network of designers and contractors guiding you through the
project. Their network of contractors allowed me to get a number of things at cost. 2. Scope of work: Transform
old basement into a modern one-bedroom basement apartment 3. Design. Precision's team of engineers and
architects provided a number of different deigns based on my input. 4. Pennits and inspections. They took
care of all the inspections. 5. Demolition. The demolition took less than a couple of days. 6. Basement dig out.
They were able to lower the basement floor to get past the 7-foot ceiling regulation in a week. 7. Kitchen and
Bathroom. Precision has a network that allowed me to work with kitchen and bathroom designers, who
provided a number of 3-D rendering. As a part of the deal with Precision. I got the supplier price for the
bathroom and kitchen cabinets and other deals.
Response by : This was a great job and well done

2 of 2 users found this review helpful.

5.0 I 09-03-2016
Review by Qretchen B. in Washington Dc. DC
Project: Remodel or Renovate One or More Rooms
We hired Precision to convert our garage into a mudroom and to renovate our laundry room. They did
excellent floor tile work as well as beautiful carpentry. In addition to custom shelving, several custom benches
were constructed. The end result Is a stunning entry way with a crystal ffushmount in what was before a
cement garage. The laundry room is also more of a pleasant place to be with the new black and white tiling,
yellow walls, new lighting, shelving and fresh sink. Precision definitely has skilled craftsman on their team.

5.0 J 08-25-2016
Review by Marci G. in Washington. DC
Project: Renovate or Repair a Home
As a busy Washingtonian, Precision was extremely compatible with my schedule. They were spot on in terms
of the schedule they promised and lived up to their name in terms of the quality of their work. I'll hire them
again in a heartbeat!

5.0 I 05-08-2016
Review by Yvonne W. in Washington. DC
Project: Install or Completely Replace Vinvl Siding
I give Precision Contracting Solution an A+ on my project. I have a three story row house in the historic Adams
Morgan district in NW Washirigton DC and Precision performed a major restoration to the front of my home. I
havfo received numerous compliments on the finished product, which is beautifully crafted with extreme
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attention to detail. Derrick and his team also did structural concrete repairs on the front entry of my home and
fixed a nagging electrical problem that had been ongoing for years. I would highly recommend Precision to
others potential clients without hesitation. Precision is a company that honors its word. I look forward to the
possibility of working with Precision on another major project in my home.

5.0 1 04-07-2016
Review by Brooke M. In Washington. DC
Project: Install a Brick. Stone or Slock Wall
Hired to replace a severely damaged retaining wall in front of our house. They were extremely professional
and despite city deldys in permits performed the work in record time. Derrick was incredibly responsive to any
concerns and even helped with last minute modifications. I would not hesitate to hire this company again.

5.0 I 04-01-2016
Review by a homeowner in Washington. DC
Project: Remodel or Renovate One or More Rooms
Job completed
Response by : Precision is very proud of this completed project.

1 of 2 users found this review helpful.

5.0 ) 01-02-2016
Review by Lisa B. in Washington. DC
Project: Renovate or Repair a Home
We are extremely pleased and gratefol to Precision Contracting for the outstanding job that was performed on
our home. The rear addition to our house had water and structural problems in several areas. Precision
diagnosed the problems and came up with cost effective solutions and delivered a great finished product. We
interviewed several contractors and ultimately went with Precision. They worked every day until completion,
communicated professionally about the progress of the job, and we are thrilled with the finished product. We
would recommend them without hesitation to anyone.

5.0 I 10-05-2015
Review by Brett S. in Washington. DC
Project: Build a Garage
Precision Contracting Solutions was responsive in every aspect and the quality of their work was top shelf.
They did all of the design drawings, obtained all of the permits in conformance with DC code, and completed
the project in a timely manner. Great job!



5.0 I 09-17-2015
Review by Olusoji A. in Washington. DC
Project: Install Concrete Driveways & Floors
The project consisted of a driveway and apron for my home. I got several estimates and was careful to check
references in the search for quality and a professional work ethic. PCS delivered and earned this rating. I
would use them again for other projects in the future. I highly recommend Derrick and his company.

2 of 2 users found this review helpful.
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5.0 I 08-05-2015
Review by Jonathan 8. In Washington. DC
Project: Repair a Concrete Foundation
(had a very pleasant experience with Derrick at Precision. He was very knowledgaWe and helpftj) in helping
me decide the best way to approach the repair that I needed. Derrick was on-time, and I would definitely
recommended his services to someone else.

2 of 2 users found this review helpful.

5.0 I 07-16-2015
Review by Art C. in Washington. DC
Project: Build an Addition
I am a retired Marine Colonel who demands reliability, focus, and honor when doing business. Precision
Contracting Solutions met those standards in the execution of my project, which consisted of a side porch
conversion into a room addition for my recently purchased home in N.W. Washington O.C. The attention to
detail reflected the highest level of quality and care by making the addition look as if it was built when the
house was built, thus maintaining the historic architectural value of my property. From the development of the
preliminary design to tweaking that design, to the actual execution of the project. Precision met - and in some
cases - exceeded my expectation. The owner and his design team were always accessible at all times for
questions and were highly respectful throughout. My wife and I would highly recommend them.

4 of 4 users found this review helpful.

5.0 I 06-23-2015
Review by Amar M. In Washington. DC
Project: Build an Addition
Derrick and Precision were great to work with. They listened to your ideas and thoughts and offered solutions
to make things work. If some idea of yours was not possible, they offered alternatives and did not force
anything upon me, the consumer. I will definitely be hiring them again for my rooftop addition! Would highly
recommend this company to friends and others.

2 of 2 users found this review helpful.

5.0 I 06-20-2015
Review by Zofia B. in Washington, DC
Project: Install Concrete Patios. Walks and Steps
It was a big job, and PCS got it done quickly, all the while making sure that everything got done right. Bosses
and crew alike take pride in the high quality of their work. They go out of their way to make sure the client is
always happy.

2 of 2 users found this review helpful.

5.0 ) 06-13-2015
Review by Lesego L. in Washington. DC
Project: Remodel a Basement
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I am a senior citizen and a woman and handle all of my own affairs. I must say that Precision Contracting did
an amazing job for me. I had a lot of work done in my basement and rear yard They were honest reliable and
respectful at all times. They did everything in the contract and more. They even gave me a senior citizens
discount at the completion of the job and purchased and installed an air conditioner and put furniture together
for me that was not in the contract at no charge. I highly recommend Precision.

1 of 1 users found this review helpful.

5.0 I 06-08-2015
Review by Angela A. In Washington. DC
Project: Remodel or Renovate One or More Rooms
PCS did an excellent job, specially for stone work, iron railing and Coppola.

1 of 1 users found this review helpful.

5.0 I 05-13-2015
Review by Deborah V, in Washington. DC
Project: Remodel or Renovate One or More Rooms
I am very happy with the design and construction services provided by Precision Contracting Solutions. My
project included a floating architectural staircase, the removal of wails, new hardwood flooring, custom wrought
iron railings, and designer paint finishes. Everyone in Derrick???s company was always respectful,
professional, and trustworthy and I would highly recommend Precision to anyone for design/build services.

1 of 1 users found this review helpful.

5.0 I 01-13-2015
Review by a homeowner In Washington. DC
Project: Remodel a Basement
Everything has been great and will definitely recommend him to friends and family.

1 of 1 users found this review helpful.

5.0 I 01-03-2015
Review by David C. in Washington. DC
Project: Install Concrete Patios. Walks and Steps
Derrick and his staff are all incredibly professional and have great attention to detail. Negotiating the scope of
work through total execution was a very simple and transparent process. I am currently having Derrick conduct
a bathroom revision and have recommended him to many friends in need of superior general contracting
services.


5.0 I 12-21-2014
Review by Lara I. in Washington. DC
Project; Remodel a Basement
We had a major project that included converting our basement into a rentable apartment. Precision???s
design build team has been a blessing to our family. We contracted the first phase of the heavy construction
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Nvith them that also included the design and building permits. They did a wonderful job and did so in a timely
manner and vnthin budget. The owner Derrick, as well as his workers and supervisors, were always polite and
respectful to us and our neighbors and the workmanship was top shelf. We have now entered into a second
contract with them to complete the project, including a front entrance to the basement and completely finishing
the apartment. Based upon the work they have done so far and how easy they have been to work with, we
highly recommend Precision

1 of 1 users found this review helpful.

5.0 I 12-08-2014
Review by a homeowner in Washington. DC
Project: Build a Garage
1 would like to thank Home Advisors for linking me to Precision Contracting Solutions. The design build
services were on the highest quality. They worked weekends and even on Sunday to finish the project on time.
The are honest and you can trust what they say. I am letting them photograph my project to post the pictures
for my neighbors to see. I would recommend this company to any and all of my fellow D.C. residents.

5.0 I 08-02-2014
Review by Roberta C. in Washington. DC
Project: Install or Completely Replace Vinyl Siding
They did a great job and were very careful. This was a vinyl repair and plumbing repair and they did a great
job.

1 of 1 users found this review helpful.

5.0 I 05-27-2014
Review by Deleon W. in Washington. DC
Project: Waterproof a Basement or Foundation
If was a consultation on waterproofing for my home. Honest, concise, will solve the problem for me, everything
he told me in comparison to other companies included solutions that will work just as well or better than those
that would cost more money.

1 of 1 users found this review helpful.

5.0 I 05-21-2014
Review by Marco B. in Washington. DC
Project: Build a Garage
Derrick went above and beyond to create what is easily the best looking garage on the block. In addition, he
took care of the surrounding neighbors issues, and concerns so that the whole neighborhood was happy. I
plan on using his company again immediately to remodel the basement.

1 of 1 users found this review helpful.

5.0 I 05-18-2014
Review by Aryans K. In Washington. DC
Project: Repair Structural Problems with Steel Beams
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Derrick and his staff were extremely professional, easy to work with, and their work was of high quality. I would
definitely recommend them. There were no hidden costs or fees.

1 of 1 users found this review helpful.

5.0 } 03-14-2014
Review by Odessa W. in Washington. DC
Project: Build or Replace a Deck or Non-Masonrv Porch
Derrick and his staff was truly professional and their work ethic is untouchable. He completely followup and
answers any and all questions his team is very competent and maintain a very professonal manner when
addressing concerns. I was very indecisive about what type of room I wanted: but Derrick and his team
designed the perfect SUNROOM/DECK the design was exact.ly as I requested. A magnificant job upon
completion. As a homeowner I will surely use their services for other projects.

3 of 3 users found this review helpful.

5.0 I 11-22-2013
Review by Dorothy J. in Washington. DC
Project: Renovate or Repair a Home
I would highly recommend Precision Contracting Solutions. My mother is 92 years old and needed a variety of
repairs done to her house. I contacted HomeAdvisors. and through them, f found Precision Contracting
Solutions. It was wonderful to learn that Precision had such great respect for the elderly. Not only did they do a
fentastic job in a timely manner, they made the whole process hassle-free and gave my mom a meaningful
senior citizen discount. The work was top-quality and the positive experience.

3 of 3 users found this review helpful.

5.0 I 10-28-2013
Review by Jacqueline A. in Washington, DC
Project: Brick or Stone Tuck-Pointing
Derrick and his team were very competent and professional. They were willing to answer all of our questions.
The brick work and tuck-pointing was a fine job at completion. I am considering this company for other
projects.

1 of 1 users found this review helpfel.

5.0 I 09-14-2013
Review by Vallaria M. in Washington. DC
Project; Install or Replace Exterior Trim
Derrick and his team did a great job on the siding of my house, and I would hire them againg.


5.0 I 08-23-2013
Review by Sam S. in Washington Dc. DC
Project: Install or Replace Metal Stairs and Railings
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Derrick and his team did an outstanding job and completed the project on time and on budget. They are
competent, creative and very professional. I am extremely happy with the results and have recommended
Precision Contracting Solutions to friends and family. I will hire them again for my next project.

5.0 ( 0?-16-20l3
Review by Julian T. in Washington. DC
Project: Soundproof a Room or Window
Derrick and Julio were always very responsive and accommodating to my requests, they showed genuine care
and strived to provide excellent customer service. I made additional requests to the original contract and they
were always ready to change the schedule to accommodate my requests accordingly. I would definitely
recommend them!
5.0 I 05-20-2013
Review by Victoria T. in Washington. DC
Project: tnstatt Concrete Patios. Walks and Steps
Derrick is very fast to respond and will work with you on the project. If he sees a different way to do something
he will suggest it. In this instance I went along with his suggestion but after looking at what needed to be done.
I decided that the project needed to go back to the way that) had first suggested. This was told to him on the
first day of work and he did not gripe or anything but just said if that is what you want then that is what you get.
I needed a landing with stairs and I do have to say I was not expecting what I got but it was a very good job
and would suggest him to anyone who needs the same type of work done.

2 of 2 users found this review helpful.

5.0 I 03-02-2013
Review by Nancy W. In Washington. DC
Project: Remodel a Bathroom
We are 100% satisfied with the bathroon remodel. They very honest, friendly and trustworthy. Their attention
to detail, quality and workmanship is first class. The results exceeded our exspectations.
1 of 1 users found this review helpful.
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                               EXHIBIT 2
                  Derrick Sieber Letter of August 7, 2019
                             to Home Advisor




■)




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Ed Lyle
From:                     Derrick Sieber [derrick.precision@gmail.com]
Sent:                     Wednesday. August 07. 2019 3:31 PM
To:                       HomeAdvIsor
Subject:                  Home improvement Salespersons' License Renewal Issued by DCRA Today
Attachments:              HIS tlcense.pdf


Dear HomeAdvisor, Corrine, The President of HomeAdvisor, & All of the Board of Directors at HomeAdvisor

Please find attached my new salespersons’ license that was issued by DCs Department Of Consumer &
Regulatory Affairs (DCRA) this afternoon. Please immediately restore my account. Despite the baseless
lawsuit that was filed against my company by the Attorney General's Office here in Washington DC last week,
the DC government agency that oversees the issuance of licenses, DCRA, has issued my newly renewed license
today. Certainly if DCRA is not taking these outrageously false accusations seriously, neither should
HomeAdvisor. Representatives from HomeAdvisor have contacted me several times in the last couple of weeks
to get a copy of the license renewal and I AM NOW providing the license that was issued today and is attached.

PLEASE RESTORE MY ACCOUNT IMMEDIATELY. I look forward to your prompt response.

I have an outstanding reputation servicing DC consumers as illustrated by the 54 "verified 5«star ratines":
more than any other DC contractor on your platform alone. I have had an uninterrupted A+ rating with the
BBB for almost 10 years. I have been a loyal HomeAdvisor member for over 7 years and have paid you close
to $250,000 over the course of our relationship until you shadow-banned me yesterday over completely bogus,
unfounded, and unsubstantiated accusations. We live in a country where we all are entitled to the presumption
of innocence, the right to due process, and the right to seek from the government redress for grievances. I will
have my day in Court and will defeat these baseless accusations. Please do not prejudice me by scrubbing your
platform clean of any mention of my company. Please do not simply take all of the content down that I work so
hard for over 7 years to establish and of which so many homeowners that went to HomeAdvisor and relied upon
and are pleased with us for. The AG’s Office is under intense political pressure to cover up criminal activity by
their office. Their lead investigator, Timothy Shirey, broke into my attorneys private residence to serve a copy
of the lawsuit in question. There's been a police report filed on the incident, declarations from witnesses that
saw it happen are before the Court, and irrefutable video support of this allegation exists and will be released
publicly in the near term. My point in all of this is this:

1. Do not be judge, jury, and executioner of Precision Contracting Solutions by shadow-banning all of my
content from your website. Let the Courts do their job and render judgement through trial, evidence, witnesses,
and ajury of my piers.

2. We are counter-suing the AG's Office on multiple causes of action that will be filed with the Court in the
coming weeks.

3. The AG’s complaint fails to even list any names of consumers allegedly harmed in their bogus complaint.

4. Standup for your loyal members. If they take notice of this injustice your levying upon me, IT WILL
backfire on HomeAdvisor both politically and legally when this matter is put before the Court on an emergency
basis.

5. Don’t cower to a malicious, rogue AG's Office that plays loose and fast with the rules and the law and is
purely driven by a political agenda; you have NO allegiance to their out-of-control and criminal conduct.

                                                        1
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Please restore my content. Its the fair and right thing to do. Whoever receives this email, please forward this to
all of the leadership at HomeAdvisor. Corrine at HomeAdvisor won't even give me her last name or even
her HomeAdvisor email address, much less the email addresses of people in the leadership structure. My new
license is attached.

Finally, I have been in contact with my legal team who will immediately go to the Court to file for a Temporary
Restraining Order and long-term injunctive relief if my content is not restored in 24 hours. Furthermore, we
will instantly file litigation against HomeAdvisor and individual HomeAdvisor Board Members, including
Angie Hicks - who is no stranger to litigation with my father, Stephen Sieber. The lawsuit will seek damages
for defamation and tortious interference with business relations and issue a press release through PR Newswire
and other media outlets about the knee-jerk reaction of HomeAdvisor without any findings of fact, conclusions
of law, or dispositive judgement from the Court. You are also interrupting the I st amendment rights of those
well-intentioned DC residents who posted honest reviews of their experiences with the quality, value, and
performance of Precision. Six of those 5-star rating homeowners so far have already agreed to sign on to the
lawsuit expressing their outrage with HomeAdvisor.

You have 24 hours to do the right thing here or legal action will ensue. Newly renewed License attached.

Respectfully


Derrick Sieber
Owner
Precision Contracting Solutions, LP
202-302-1990




                                                        2
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                 SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                 Civil Division


PRECISION CONTRACTING
 SOLUTIONS, LP, et al.

        V.                                                     Case No.

ANGI HOMESERVICES, INC., et al.



MOTION OF PLAINTIFF PRECISION CONTRACTING SOLUTIONS, LP ET AL. FOR
                A TEMPORARY RESTRAINING ORDER
 AGAINST DEFENDANT ANGI HOMESERVICES, INC. AND ANGIE'S LIST, INC.

        Pursuant to Rule 65(b) of the Federal Rules of Civil Procedure, and incorporating by

reference the attached Memorandum of Points and Authorities and other supporting documents,

Plaintiffs Precision Contracting Solutions, LP ("PCS"), Derrick Sieber, Stephen Sieber and

Carolyn Torsell now move this Court to issue a temporary restraining order enjoining

Defendants ANGI Homeservices, Inc. and Angie's List, Inc. from failing to restore immediately

to their websites {www.homeadvisor.com and www.angieslist.com) the company profile of PCS,

a home improvement and general contractor in Washington D.C., and the ratings and comments

from PCS customers that formerly appeared on those websites.

        Plaintiffs seek this preliminary injunction because the Defendants' removal of the PCS

company profile and customer information from their websites on or about August 6, 2019 is

unlawful under the Federal Trade Commission Act (15 U.S.C. § 45b), has tortiously interfered

with PCS's existing and future contracts with homeowners, has placed the company and its

personnel in a false light, and has driven PCS to a state of financial emergency, all as set forth in

the attached Memorandum of Points and Authorities and other supporting documents.
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          It is imperative that the profile and customer ratings and comments of PCS be

immediately restored on the HomeAdvisor and Angie's List websites and made visible to the

public.

          A proposed order is attached.

                                               Respectfully submitted,



                                              /s/ Edward W. Lyle
                                               Edward W. Lyle (DC Bar 025700)
                                               1250 Connecticut Avenue NW, Suite 700
                                              Washington D.C. 20036
                                              Telephone: 1 (202) 333-4280
                                              Facsimile: 1 (202) 333-4282
                                              E-mail: ewlyle@westl805.com
                                              Attorneyfor the Defendant Precision
                                              Contracting Solutions, LP and Carolyn Torsell

                                              A/ Derrick S. Sieher
                                              Derrick S. Sieber,/?ro se
                                              9412 St. Andrews Way
                                              Silver Spring, MD 20901
                                              Telephone: (202)302-1990
                                              E-mail: derrick.precsion@gmail. c

                                              A/ Stephen C. Sieher_________
                                              Stephen C. Sieber,;?ro se
                                              1805 -45lh Street NW
                                              Washington DC 20007
                                              Telephone: 240-432-3265
                                              E-mail: marcostevie@gmail.com
       Case 1:19-cv-02748-BAH Document 1-1 Filed 09/16/19 Page 43 of 183



                 SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                 Civil Division


PRECISION CONTRACTING
 SOLUTIONS, LP, et al.

       V.                                                     Case No.

ANGIHOMESERVICES., et al.



MOTION OF PLAINTIFF PRECISION CONTRACTING SOLUTIONS, LP ET AL. FOR
                    A PRELIMINARY INJUNCTION
 AGAINST DEFENDANTS ANGI HOMESERVICES, INC. AND ANGIE'S LIST, INC.

       Pursuant to Rule 65(b) of the Federal Rules of Civil Procedure, and incorporating by

reference the attached Memorandum of Points and Authorities and other supporting documents,

Plaintiffs Precision Contracting Solutions, LP ("PCS"), Derrick Sieber, Stephen Sieber and

Carolyn Torsell now move this Court to issue a preliminary injunction enjoining Defendants

ANGI Homeservices, Inc. and Angie's List, Inc. from failing to restore immediately to their

websites (www.homeadvisor.com and www.angieslist.com) the company profile of PCS, a home

improvement and general contractor in Washington D.C., and the ratings and comments from

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       Plaintiffs seek this preliminary injunction because the Defendants' removal of the PCS

company profile and customer information from their websites on or about August 6, 2019 is

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personnel in a false light, and has driven PCS to a state of financial emergency, all as set forth in

the attached Memorandum of Points and Authorities and other supporting documents.
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          It is imperative that the profile and customer ratings and comments of PCS be

immediately restored on the HomeAdvisor and Angie's List websites and made visible to the

public.

          A proposed order is attached.

                                               Respectfully submitted,



                                              /s/ Edward W. Lyle
                                               Edward W. Lyle (DC Bar 025700)
                                               1250 Connecticut Avenue NW, Suite 700
                                              Washington D.C. 20036
                                              Telephone: 1 (202)333-4280
                                              Facsimile: 1 (202) 333-4282
                                              E-mail: ewlyle@westl805.com
                                              Attorneyfor the Defendant Precision
                                              Contracting Solutions, LP and
                                              Carolyn Torsell

                                              /s/Derricks. Sieber
                                              Derrick S. Sieber, pro se
                                              9412 St. Andrews Way
                                              Silver Spring, MD 20901
                                              Telephone: (202)302-1990
                                              E-mail: derrick.precsion@gmail. c

                                              /s/ Stephen C. Sieber_________
                                              Stephen C. Sieber, pro se
                                               1805 -45th Street NW
                                              Washington DC 20007
                                              Telephone: 240-432-3265
                                              E-mail: marcostevie@gmail.com
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                  SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                  Civil Division

PRECISION CONTRACTING
SOLUTIONS, LP
8222 Georgia Avenue
Silver Spring, MD209I0

DERRICK S. SIEBER
9212 St. Andrews Way
Silver Spring, MD 20901

STEPHEN C. SIEBER
1805-45th Street N.W.
Washington DC. 20007,

CAROLYN TORSELL
1135 Sixth Street NE
Washington DC 20002

              Plaintiffs
       V.
                                               Case No.
ANGI HOME SERVICES. INC.
14023 Denver West Pkwy
Bldg. 64
Golden, CO 80401

ANGIE’S LIST, INC.
1030 E Washington Street
Indianapolis Indiana 46202

KENNETH VOGEL
Individually
1642 R Street N.W.
Washington D.C.

DISTRICT OF COLUMBIA,
a municipal corporation
444-4th Street N.W.
Washington 20001

              Defendants

            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
              PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING
                     ORDER OR PRELIMINARY INJUNCTION
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               In support of its motion for a temporary restraining order and/or preliminary

injunction ("Motion"), Plaintiffs state as follows:

                                                I. Facts

       The facts of this case are set forth in the complaint ("Complaint") filed by the Plaintiffs, with

those facts now being summarized in this Motion.

       Plaintiff Precision Contracting Solutions, LP ("PCS") is a construction company that has been

licensed in Washington D.C. ("District" or "D.C.") since 2007 as a home improvement and general

contractor. PCS has had an A+ rating at the Better Business Bureau (“BBB”) during the past eight .

years that PCS has been a member of that organization. Plaintiff Derrick Sieber is the sole proprietor

of PCS, and Stephen Sieber is a design consultant for PCS having no ownership interest or control

over PCS.

       Since 2012, PCS has had an ongoing business relationship with the Defendant ANGI Home

Services, Inc. d/b/a "HomeAdvisor" ("Home Advisor") and also a business relationship since 2017

with Angie's List, Inc. ("Angie's List"). Both Home Advisor and Angie's List are on-line

matchmakers connecting District consumers with home improvement contractors ("Service

Providers" or "Providers"). Home Advisor and Angie’s List ("Corporate Defendants") operate

independently of each other and each has its own website: www.homeacivisor.com and

www.angieslist.com (collectively, “Defendants' Websites”).

       The modus operandi of the Corporate Defendants is very similar. Both receive electronic

requests from consumers for qualified Service Providers. Home Advisor then sells requests (leads)

to Service Providers for a fee, whereas Angie’s List provides leads to Service Providers and sells ads

to them. Service Providers in each company's system maintain business profiles on that company's

website describing the Provider's services, recent projects, photos, licensing information, video and

other content. Consumers can post verified ratings and reviews regarding the quality, service, and
                                                      2
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value rendered by a particular Service Provider on that company's profile page for the public to

consider when making buying decisions.

       PCS has participated successfully as a Service Provider in both the Home Advisor and

Angie's List programs. PCS has paid more than $300,000 to Home Advisor for leads resulting in

consumer contracts in the District, and over time, PCS has amassed 54 verified consumer ratings and

reviews on Home Advisor as well as 24 verified ratings and reviews on Angie's List.

       On Home Advisor, PCS has averaged 4.9 out of a maximum 5.0 stars for all consumer ratings

and reviews. On Angie’s List, PCS has received consistent A ratings - the highest level possible over

the years. Ratings and reviews on Defendants’ Websites have been glowing. A copy of customer

ratings and reviews of PCS on the Home Advisor website are found in Exhibit 1 to the

accompanying Declaration of Derrick S. Sieber ("Derrick Sieber Declaration"). Plaintiffs do not

have a copy of the ratings and reviews on Angie’s List since no copy of them was made before their

sudden removal from the Angie's List website.

       There came a time when Defendant Kenneth Vogel communicated to Home Advisor, Angie’s

List and the OAG that Plaintiffs Derrick Sieber and Stephen Sieber had planted false reviews of PCS

work on the Home Advisor's and Angie's List websites. The OAG then communicated with Home

Advisor and Angie’s List regarding those ratings and reviews. After a nine month investigation,

however, the OAG found no false ratings and reviews regarding PCS. The OAG sued PCS anyway

on August 2,2019 under the District's Consumer Protection Procedures Act ("CPPA"), making vague

and ambiguous allegations of poor work and permit violations and citing unnamed District

consumers. On the same day, the OAG went public with a press release about its lawsuit.

       On that day, however, PCS had no open complaints at the BBB or at the D.C. Department of

Consumer and Regulatory Affairs (“DCRA”). Also, there were no negative ratings or reviews about


                                                  3
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PCS posted on the Corporate Defendants’ websites or anywhere else on the internet from any of these

so-called aggrieved - but unidentified - consumers in the OAG complaint.

       The OAG’s lawsuit against PCS was conceived and implemented after an agreement had been

reached among the Defendants in this action that steps needed to be taken to prevent further PCS

contracts with District consumers. In the case of Kenneth Vogel, he was and still is being sued in this

Court for abuse of process and making false claims in a verified complaint that PCS planted fake

consumer reviews on the internet. Toland v. Derrick Sieber. et. al. Case No. 2016 CA 0006458. Mr.

Vogel later admitted in this Court, before Judge John Mott, that he had no evidence for such a claim.

In the case of the OAG, Plaintiff Stephen Sieber had alleged that OAG fraud investigator Timothy

Shirey had forcibly and unlawfully entered his home when Mr. Shirey was serving a subpoena for

documents. Stephen Sieber filed a police report on this incident with the District authorities.

       On August 6, 2019, four days after the OAG issued its complaint and press release against

PCS, the Corporate Defendants removed all ratings and reviews of PCS from their websites without

any prior notice to anyone and in furtherance of the conspiracy among the Defendants to deny PCS

any more contracts with consumers in the District. These actions later frustrated an attempt by

Carolyn Torsell, a PCS, to post a positive review about PCS on the Home Advisor website.

        In response to these actions of the Corporate Defendants, Derrick Sieber, the sole proprietor

of PCS, sent an e-mail to Home Advisor the next day, August 7,2019, complaining about its removal

of PCS's ratings and reviews and demanding their reinstatement on the HomeAdvisor website.

Exhibit 2 to the Derrick Sieber Declaration. Home Advisor never responded to Derrick Sieber’s

email. The unlawful removal of PCS's profiles, ratings and reviews from the Corporate Defendants'

websites has led to irreparable harm and an emergency financial condition within PCS that is detailed

in the attached Derrick Sieber Declaration.


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        Accordingly, PCS now submits its complaint in this matter and, of more immediate concern.

this motion for preliminary injunctive relief


                                         II.     Legal Standards

A.      Injunctive Relief

        To obtain preliminary injunctive relief in the District of Columbia, a moving party must

establish four things: First, that it is likely to succeed ultimately on the merits of the litigation.

Second, that it is likely to suffer irreparable harm if preliminary relief is not granted. Third, that the

balance of equities tips in its favor. Fourth, that the granting of preliminary relief is in the public

interest. Sherlev v. Sibelius. 644 F.3d 388, 392 (D.C. Cir. 2011) (cited in Aamer v. Obama No. 13-

5223 [D.C. Cir., February 11, 2014, unpublished] and quoting Winter v. Natural Resource Defense

Council. Inc.. 550 U.S. 7, 20 (2008).

B.     Federal Trade Commission Act

       Section 45b of the Federal Trade Commission Act ("Section 45b" and "FTCA" ), 15 U.S.C.

§ 45b, concerns the use of certain provisions in standardized contracts for which the consumer has

little bargaining power to change. Section 45b (b)(1)(A) prohibits, among other things, the use of

provisions in such contracts to prohibit or restrict the ability of consumers to post ratings and reviews

("Content") about the Service Providers they have hired. Section 45b(b)(3) also prohibits provisions

in standardized contracts that authorize a website hosting such Content to remove any part of that

Content except the following: trade secrets or commercial or financial information obtained from a

person and considered privileged or confidential; personnel and medical files and similar information

the disclosure of which would constitute a clearly unwarranted invasion of personal privacy; records

or information compiled for law enforcement purposes, the disclosure of which would constitute a

clearly unwarranted invasion of personal privacy; content that is unlawful, abusive or otherwise

                                                     5
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objectionable, is false or does not pertain to the contractor in question [more fully reviewed in % 73 of

the Complaint]; or content that contains any computer viruses, worms, or other potentially damaging

computer code, processes, programs, applications, or files. Id § 45b(b)(3). Therefore, a website

host’s removal of any other type of information about a Service Provider is a violation of the FTCA

and therefore unlawful.

C       Tortious Interference

        In the District of Columbia, a plaintiff must demonstrate the following to prevail on a claim of

tortious interference with existing business relationships: 1) the existence of a valid contractual or

other business or relationship; 2) the defendant's knowledge of the relationship; 3) intentional

interference with that relationship by the defendant; and 4) resulting damages. Whitt v. American

Property Construction. P.C.. et al.. 157A.2d 196, 202(D.C. 2017) (citing Newmver v. Sidwell

Friends Sch.. 128A.3d 1023, 1038 (D.C. 2015) (quoting Havilah Real Prop. Servs.. LLC v. VLK.

LLC. 108 A.3d 334, 345-46 [D.C. 2015]).

       To prevail on a claim of tortious interference with future business relationships, a plaintiff

must make the same showing except that the plaintiff must demonstrate a prospective advantageous

business transaction rather than an existing contract. Casco Marina Development. LLC v. District of

Columbia Redevelopment Land Agency. 834 A.2d 77, 84 (D.C. 2003); Rosen b. American Israel

Public Affairs Committee. Inc., et al.. 41 A.3d 1250, 1256 (D.C. 2012) (citing Qparaugo v. Watts.

884 A.2d 63, 76 [D.C. 2005]).

       D.      False Light

       To prevail on a claim of false light in the District, a plaintiff must demonstrate the following:

1) that the defendant gave publicity to a matter concerning another; 2) that such publicity placed the

other before the public in a false light; 3) that the false light would be highly offensive to a reasonable

person; and 4) that the defendant knew of or acted in a reckless disregard of the falsity of the
                                                    6
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publicized matter and the false light in which the other would be placed. Wolf v. Reeardie. 553 A.2d

1213, 1216-17 (D.C.1989); Restatement of Torts § 652e.


                        III. Argument: PC$ Should be Granted Preliminary
                         Injunctive Relief Based Upon Applicable Standards

        As reviewed in Part II above, a party moving for preliminary injunctive relief must

demonstrate four things, which will now be discussed.

A. Plaintiffs are Likely to Succeed on the Merits.

        1.     This Court Should Infer a Private Right of Action
               in This Instance Under the FTCA.

        As will be argued below, the Corporate Defendants violated Section 45b(b)(3) when they

removed the profiles, ratings and reviews of PCS from their websites. No private right of action,

however, is authorized in the FTCA to enforce Section 45b, and the legislative history of Section

45b is also silent on this question.

       A preliminary matter, then, is whether an implied private right of action should be inferred

from that statute. This determination requires an examination of four factors enunciated by the U.S.

Supreme Court in Cort v. Ash. 422 U.S. 66, 78 (1975) and reaffirmed by the D.C. Circuit in El Paso

Natural Gas Co. v. U.S.. 750 F.3d 863, 889 (2014).

               a.      Plaintiff PCS is a Member of a Protected Class.

               The first of the Cort criteria is "whether the plaintiff is one of the class for whose

benefit the statute was enacted." El Paso Natural Gas Co., supra. In Section 45b, Congress has

designated two protected classes. Section 45b refers to standardized contracts as “form contracts”

and ratings and reviews of Service Providers as "covered communications." Section 45b(b)(l)(A)

disallows the inclusion in any form contract of any provision that “prohibits or restricts” that ability

of consumers in such contracts to post "covered communications" about Service Providers they have

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hired. Under Section 45b(b)(l)(A), therefore, the protected class includes those who have entered

into standardized contracts with Service Providers and consumers who may wish to post, or who have

posted, ratings and reviews of the quality of work done by those companies. Plaintiff Carolyn Torsell

is in this class because she has attempted to post a review of PCS's services on the Corporate

Defendants websites and was rejected because the PCS profile had been removed by the Corporate

Defendants.

       The second class are those who may be harmed if "a person or business that hosts online

consumerjeviews or comments" goes beyond the content that Section 45b(b)(3) allows to be

removed from websites. In this class are consumers who have posted ratings and Service Providers

who have worked hard to gain good ratings'in hopes of building their business reputation.

       As a Service Provider who received 78 ratings and reviews from District consumers on the

Home Advisor and Angie’s List websites, PCS is a member of this protected class. In removing the

entirety of the profiles, ratings and reviews posted by District consumers about PCS, the Corporate

Defendants went far beyond the limited types of content that they were authorized to remove under

Section 45b(b)(3). And, as will be discussed below, these unlawful actions of Home Advisor and

Angie’s List have inflicted, and are now continuing to inflict, irreparable, financial and operational

harm upon PCS, to the point that PCS is now fast approaching insolvency.

       Furthermore, the public policy abounding from Section 45b deems the publishing of

consumer reviews on the internet vital to the public interest. Congress intended that the public at

large be entitled to see consumer ratings and reviews, both good and bad, about a particular Service

Provider so that other consumers who are considering a Service Provider may see its ratings and

reviews unfiltered, unobstructed and visible on the internet.

       Finally, the FTCA was enacted to create a level playing field Nvith respect to commerce. If

ratings and reviews can be arbitrarily removed or refused to be posted by a company hosting such
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    information that is in conformance with Section 45b(b)(3) guidelines, the host organization becomes

a self-interested censor that can favor some Service Providers over others. This is the very reason

that host websites like Home Advisor and Angie’s List are strictly accountable under Section 45b.

                  b.     There is No Prohibition in the Legislative History on a
                         Private Right of Action in This Instance.

                  Tlie second of the four Cort factors is "whether some indication exists of a legislative

intent, explicit or implicit, either to create or deny a private remedy." El Paso Natural Gas Co., supra.

The Federal Trade Commission ("FTC") and state attorneys general are explicitly authorized to

enforce Section 45b, and, as noted, this statute and its legislative history are silent on whether a

private right of enforcement is also authorized. For three reasons, such a right should be inferred in

this instance. First, courts are inclined to infer private causes of action to enforce a prohibition in a

statute, as in this case. Jackson v. Birmingham Bd. of Educ.. 544 U.S. 167, 173 (2005) (citing

Cannon v. Univ. of Chi.. 441 U.S. 677, 690-93 [1979]). By contrast, courts are less likely to infer a

cause of action in contract cases and in criminal and regulatory statutes designed to control public

behavior rather than create a special class of beneficiaries.' Furthermore, in a recent case involving

the Plaintiff PCS, the U.S. District Court for the District of Columbia has upheld a private right of

enforcement of Section 45b and enjoined the Plaintiff PCS from use of a contractual provision that

the court found to be in violation of Section 45b(b)(l)(A). Seibert v. Precision Contracting Solutions.

LP . Declaration of Edward W. Lyle, Exhibit 1, at 15. That case illustrates that while Congress was

silent about the use of private causes of action to enforce Section 45b, it would be improper for this

Court to reject a private right of action where the interests of a member of a protected class have been

significantly impaired as the United States Distict Court found. Finally, as will now be argued, this


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 For a general discussion of this subject, see Newcombe, " Implied Private Rights of Action:
Definition, and Factors to Determine Whether a Private Action Will Be Implied from a Federal
Statute," Loyola University Chicago Law School, Vol. 49, pp. 126, 128 (2017)..
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Court should infer a private right of action in this instance because only a private right can be

effective in meeting the emergency of irreparable harm that PCS now faces.

                c.      A Private Right of Action is Not Only Consistent
                        With The Legislative Scheme But Essential to It.

               The third Cort factor is "whether implying a private right of action is consistent with

the underlying purposes of the legislative scheme." El Paso Natural Gas Co., supra. A private right

of action is not only fully consistent with the purposes of the statute, it is essential to it. As noted.

enforcement of the statute is explicitly conferred upon the FTC and state attorneys general. The

enforcement staffs of virtually all of these agencies, however, are already burdened with the task of

enforcing many other legal authorities. Even if some of these agencies do undertake enforcement of

this statute, they likely could not bring an injunctive relief action promptly enough in this instance to

save PCS from extinction.

       If there is to be any immediate and effective enforcement of this statute, therefore, it must

come from PCS itself, since its interests are being damaged irreparably. Further, PCS is in litigation

currently with the OAG. In the attached Complaint, PCS has alleged a conspiracy to violate Section

45b in which the OAG is a co-conspirator to that violation. The OAG has no interest in upholding

Section 45b in this instance, and the only viable course to address PCS’s urgent situation is a private

right of action by PCS.

               d.      This Matter is Not One Traditionally Delegated to State Law

               The fourth and final of the Cort criteria is "whether the cause of action is one

traditionally delegated to state law, such that it would be inappropriate for the court to infer a cause of

action based solely on federal law." El Paso Natural Gas Co., supra. Given that Congress in Section

45b has authorized the FTC and state attorneys general to enforce its provisions, a fair inference can

be drawn that Congress believed that most, if not all, stales have       already given their attorneys

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general the authority to enforce similar statutes under state law. This cause of action, therefore, does

not appear to have been one traditionally delegated to state law, much less enforced under it.

        In this instance, moreover, the Attorney General of the District of Columbia is not only doing

nothing to enforce the law; his office is now conspiring to violate it.

                e.         Conclusion

                Weighing each of the Cort factors in this instance, there is more than adequate

support for a ruling from this Court that private enforcement is proper herein to address the wrongful

actions of all Defendants in this case as well as the damage their actions have caused and continue to

cause to the Plaintiffs.

        2.      Plaintiffs Likelihood of Success
                on Its Substantive Claims

        Having addressed the question of PCS's authority to bring this suit under Section 45b, this

Memorandum now turns to discuss the likelihood of PCS's ultimately prevailing on the merits of its

claims in this matter.

                a.         FTCA Section 45b

                The Corporate Defendants are "person[s] or business[s] that host[] online consumer

reviews or comments" within the meaning of Section 45b(b)(3). As such, they have violated this

statute both in the contracts they use in their matchmaking activities and in their implementation of

those contracts. Provisions in their contracts authorize them to remove far more information from

their websites than is permitted by Section 45b(b)(3), and that violation renders the entirety of such

contracts void under Section 45b(c) of the FTCA.

       Furthermore, when the Corporate Defendants acted upon those unlawful provisions to take

down the PCS profiles, ratings and reviews of District consumers from their websites, both of these




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companies violated the law by going far beyond the content they were authorized to remove. Thus

their actions were equally as unlawful as the contractual provisions on which they were based.

        These factors demonstrate that Plaintiffs are likely to prevail on their FTCA claim.

               b.      Tortious Interference

               The current law in the District on tortious interference has been stated above in Part II

("Legal Standards"). In this instance, PCS had, among its customers, 54 existing contractual

relationships with District consumers for whom it had done work in the past and had received the

maximum consumer rating from virtually all of them. While the work reviewed by these District

consumers has been completed, PCS is continuing to do additional work for some of them. Derrick

Sieber Declaration ^ 32. Even where additional work is not underway, PCS's business relationships

with the entirety of those 54 District consumers, and with others who had not posted ratings and

reviews on Defendants' Websites, the relationship remains ongoing. Whenever those customers need

additional work in the future, there is a very good chance that they will use PCS because they had a

positive prior experience. PCS also has existing relations with other customers not obtained through

either the Home Advisor or Angie's List networks. Derrick Sieber Declaration        32-35.

       Furthermore, at the moment that HomeAdvisor and Angie's List removed the PCS profiles.

ratings and reviews from their websites, there was also a high likelihood that PCS would enter into

construction contracts with yet other consumers in the future with whom PCS has had no prior

contact because PCS was an ongoing, major player in the home improvement market in the District.

       When the Corporate Defendants took down PCS's ratings and reviews, they knew of PCS’s

business relationships with existing District consumers because they had posted rating and reviews

about them. They also knew that PCS would be entering into future contracts with other District

consumers because they knew that this is what PCS does professionally as a home improvement and

genera! contractor.
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       There is no question, furthermore, that the Corporate Defendants intentionally removed the

ratings and reviews of PCS from their websites. This is seen even more clearly from the fact that

such Defendants kept the PCS information off their websites even after Home Advisor received a

letter from Derrick Sieber of PCS demanding that such content be put back up.

       In this instance, therefore, the Corporate Defendants not only interfered tortiously and

intentionally with the existing and prospective contractual relationships of PCS. The Corporate

Defendants did so while violating the FTCA and casting Plaintiffs PCS, Derrick Sieber and Stephen

Sieber in a false light, as will be discussed below.

       The intentional interference by the Corporate Defendants in PCS's existing and prospective

contractual relations has caused, and continues to cause, irreparable harm and catastrophic damages

to PCS as described in the Declaration of Derrick Sieber     30-38.

       Plaintiff PCS is therefore likely to prevail on the merits of its Tortious Interference claim.

               c.      False Light

               Plaintiffs PCS, and by association Derrick Sieber and Stephen Sieber, are also likely to

prevail on their claim of false light. The removal of the PCS profiles and consumer ratings and

reviews by the Corporate Defendants created a "black hole" of nothingness in highly visible media

where those profiles, ratings and reviews had formerly been seen.. Those removal actions sent a

message to anyone going to those websites and expecting to find such profiles, ratings and reviews

that PCS had done something so despicable that the Corporate Defendants would not even discuss it

publicly. This impression is especially pronounced because the websites of these companies describe

the pro’s and con’s of particular contractors every day, so there is no reason why the Corporate

Defendants should not have simply described any negative factor pertaining to PCS rather than

removing all information about PCS from their sites and thereby from public view.


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        The Corporate Defendants knew in fact that PCS had done nothing to merit such treatment.

Their recklessness in removing the PCS profiles, ratings and reviews placed PCS, Derrick Sieber

and Stephen Sieber before the public in a false light, and all three of these plaintiffs have been

irreparably damaged by such a portrayal. Given these facts, PCS is likely to prevail on the merits at

trial with respect to its False Light claims.

B.      Plaintiffs are Likely to Suffer More Irreparable
        Harm if Preliminary Relief is Not Granted.

        In this instance. Plaintiffs PCS, Derrick Sieber and Stephen Sieber are already suffering

irreparable harm and will continue to the point of insolvency if preliminary relief is not granted. As

set forth in the Derrick Sieber Declaration, that irreparable harm is occurring to PCS's finances, its

ability to retain personnel, and, most of all, its ability to compete for future business and to complete

for existing contracts from District consumers. The irreparable harm has been inflicted not only

upon PCS and other Plaintiffs but also upon other District consumers who are in the middle of

contracts that PCS may not be able to finish.    Given the effects of Corporate Defendants' unlawful

actions, PCS will never be able to recover to its former position in the community as a high profile

home improvement contractor, but preliminary relief from this Court will help the company in its

attempts to remain solvent and complete its existing consumer contracts in the District.

C.     A Balancing of the Equities in this
       Matter Clearly Favors the Plaintiff.

       The irreparable harm to Plaintiffs PCS, Derrick Sieber and Stephen Sieber that will continue

in the absence of a TRO will result in insolvency as described more fully for at      30-38 in the above-

referenced Derrick Sieber Declaration.

       By contrast, there is virtually no harm to the Corporate Defendants if they are required to

restore to their websites the profiles, ratings and reviews of PCS. The Corporate Defendants can do


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        If Corporate Defendants are allowed to continue in their use of unlawful contracts and their

equally unlawful actions under those agreements, there will be no check on them arbitrarily taking

down information on other Service Providers that is protected by Section 45b, and often by common

law, for reasons they never choose to disclose. It is in the public interest that such behavior from the

Corporate Defendants and their co-conspirators be stopped immediately through preliminary

injunctive relief.


                                                IV. Conclusion

        For the reasons expressed above, this Court should now grant preliminary injunctive relief to

PCS pending full resolution of this action. More specifically, this Court should order the Corporate

Defendants to re-post the ratings and reviews about PCS in the same fashion and at the same Uniform

Resource Locator ("URL") web addresses on their sites where such information was posted earlier.




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                SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                Civil Division


PRECISION CONTRACTING
 SOLUTIONS, LP, etal.

      V.                                                     Case No.

ANGI HOMESERVICES, INC., et al.



                         DECLARATION OF DERRICK SIEBER

   I, Derrick Sieber, declare as follows:


   1. My name is Derrick Sieber, I am the Owner of Precision Contracting Solutions (PCS).

  2, PCS was formed and licensed in Washington, DC on or about August 17, 2007.

  3. PCS has maintained its home improvement license, uninterrupted, since August 2007 to

      the present.

  4. On or about October 23, 2012,1 was contacted by Shala Schremmer, a salesperson from

      HomeAdvisor (HA). I later learned that HA was a construction lead generation service

      that had a strong and developing market in Washington, DC.

  5. Up until this time, PCS had relied exclusively on company yard signs, postal-distributed

      fliers, and door-to-door sales for all of its new business revenue.

  6. This HA salesperson asked for a few moments of my time to explain how HA could bring

      in more business for PCS and also asked if they could email me some materials, as well

      as schedule an online demonstration.




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7. Over the next couple of days I received several emails from HA with their promotional

   material about enrollment in the contractor membership. I also participated in an online

   demonstration of the HA platform with a representative that explained how the platform

   worked, how I would receive viable construction leads from prospective clients, what the

   HA fee structure was, as well as how PCS could grow its revenues from membership in

   the HA community.

8. After a thorough review of the HA platform and the introductory material they sent me, I

   agreed to sign on and become a HA contractor member on or about October 30, 2012.

9. A required condition for HA contractor membership acceptance was providing a copy of

   my current contractors’ license with Washington, DC’s Department of Consumer &

   Regulatory Affairs (DCRA), as well as a copy of my current liability insurance; both of

   which I provided to HA to their licensing@homeadvisor.com office email address.

10. It was explained to me by HA that before construction leads would begin being sent to

   PCS, a preliminary step was to identify what my monthly ‘Spend Target’ would be for

   the company. In other words, how much money did I want to spend monthly on leads

   and that amount would determine the number and quality of the leads that would begin

   flowing in.

11. Since I was unfamiliar with HA and wasn’t sure how fruitful it would be, I kept my

   monthly financial commitment low and assigned a monthly spend target with HA of $800

   - i.e., approximately $200 a week worth of prospective construction leads.




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12. The last step required by HA was to ‘Check Off all of the types ofjobs that PCS

   performed. This was important so that I was assigned leads for things I actually

   performed.

13.1 listed several types of work such as concrete work, siding and windows, painting.

   roofing, etc.

14.1 was given a member login ID and password that allowed me to begin uploading content

   on my HA Profile page that had been established for PCS to publish content for online

   public review from prospective DC home improvement consumers being driven to the

   HA website.

15. HA’s lead fee structure, as it was explained to me, was simple. A HA construction lead

   could range in cost anywhere from $40 - $140. Smaller projects would be lower on the

   scale while larger projects, like a whole house renovation, would fetch a higher lead fee.

16. On Friday November 2, 2012,1 received my very first construction lead from HA for M.

   Gelane at 13** Clifton Street NW Washington, DC who wanted an estimate for a kitchen

   remodeling project; and so began my journey and relationship with HA.

17. During the infancy of my membership with HA, I was always encouraged by HA to

   ‘Complete my HomeAdvisor Profile Page’ (HAPP). There was a percentage gauge at the

   top of HAPP and the more content you uploaded the more closer this gauge became to

   being ‘100%’ completed.

18. The HAPP had several sub-categories for content to be entered or imputed. For example.

   if you had photos of finished work they could be uploaded in the ‘Photograph Album’

   sub-category, if you completed the hours and days of operations that was another sub­

   category. Other sub-categories included entering the company mission statement, if you



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    offer elderly or military discounts, does the company make charitable donations to any

    non-profits, etc.

19. Over the next 4-5 months I was committed to making it so that my HAPP was 100%

   complete for all the internet traffic being driven to HA that would be looking at PCS. I

    was constantly reminded by HA that contractors who had a robust HAPP always did

   better than the other HA contractors who did not.

20. On March 2, 2013 I received my very first HA ‘Verified 5-Star Rating & Review’ from

   Nancy W. who I remembered was an elderly woman that lived in NE Washington, DC.

   In addition to giving PCS 5-Stars (out of 5) she also posted the following comment to my

   HAPP:

            “IVe are 100% satisfied with the bathroom remodel. They’re [PCS] very honest,

           friendly, and trustworthy. Their attention to detail, quality, and workmanship is

           first class. The results exceeded our expectations ”

21. Over the next seven years PCS would go on to earn 54 5-star ratings and reviews from

   honest, hard-working DC residents who went to HA for a reliable suggestion on a

   contractor and then ultimately published their experience with PCS in the digital town

   square of HA’s website. Exhibit I.

22. Over the next seven years PCS would incrementally increase its HA spend target and

   periodically reduce it when lead volume was especially high.

23. All said, I project that PCS paid HA approximately $300,000 in construction leads over

   the course of our seven year relationship.




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24. In 2017 Angie's List was purchased by the parent company of Home Advisor; when that

    happened, Angie’s List created a profile page for PCS on the Angie’s List website.

25. From 2107 until the PCS profile was taken down on Angie’s List, dozens of A+ ratings

    were posted on the Angie’s List website; these were also taken down on the same day

    that Home Advisor removed the 54 5-star ratings from Home Advisor.

26. On Tuesday August 6, 2019 Corrine (no last name provided) from HA called me to

    inform me that my HAPP and all of its published content was being removed from the

   HA website and that my HA account had been terminated giving no reason why.

27. On Wednesday August 7, 2019 I sent HA an email with a copy of my renewed license

   which had never lapsed or had been terminated and demanded that they re-activate my

   HA account and re-publish my content on HA, and they refused. Exhibit 2.

28. For the last seven years I have relied almost exclusively on HA providing PCS with new

   DC construction leads.

29. Over the last seven years, I have continuously added more and more content to my HAPP

   because so much internet traffic reads and reviews the content of HA contractors on their

   website.

30. In the days and weeks following the termination of my HA account, PCS has suffered

   devastating harm from the lack of any construction leads coming into the PCS that we

   can use to generate new business.

31. This harm has been further exacerbated by the total scrubbing of all my content from the

   HA website.




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32. Now that HA has removed all of my hard-earned content from their website, PCS is

   incurring substantial harm since prospective PCS clients regularly visit HA to review

   PCS’s 5-star ratings, testimonials, pictures of PCS work, and now that content is nowhere

   to be found with many of these consumers having had work done previously by PCS.

33. PCS also has dozens and dozens of contract proposals out, driving DC consumers to the

   HA website to look at and consider PCS ratings and reviews that now are non-existent.

34. PCS also has had many flyers distributed in connection with PCS ongoing projects

   contain the PCS home advisor link so prospective consumers can look at the history of

   PCS and the hard earned 5 star ratings.

35. Many existing PCS clients have continued referring PCS to their friends and suggested

   they go to HA where they had posted glowing reviews and ratings - that now are not

   there.

36. The consequence of HA not giving PCS anymore construction leads, coupled with the

   elimination of all of my HA content from being viewed by prospective clients, has and

   continues to cause massive harm to PCS and its staff that rely on PCS for gainful

   employment.

37. Several signed clients of PCS have terminated their contracts in light of HA deactivating

   the PCS account; several other PCS clients are threatening to terminate their contracts as

   well.

38. The actions of HA and Angie’s List in wrongfully removing the PCS profile and all of

   the 54 ratings and reviews from HA and the 34 ratings and reviews from Angie’s List

   without any notice dr reason is causing great financial harm for PCS; unless relief is

   provided, PCS will soon be driven out of business and many DC consumers who have



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        work in progress will be harmed because PCS will not be able to complete their projects;

        in that event, PCS will most certainly have to file for bankruptcy protection.

    39.1 certify that the exhibits to this Declaration present true and correct copies of documents

       as I have received them.


       I declare under penalty of perjury under the laws of the United Slates that the foregoing is

true and correct.

        Executed at Washington D.C. this         day of September 2019.



                                             'Derrick Sieber




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                          EXHIBIT 1
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Precision Contracting Solutions
5-Star Ratings (54) Published on the Homeadvisor website for Precision Contracting Solutions
As of 07/25/2019


5.0 I 07-20-2019
Review by Aldo B. in Washington, DC
Project: Renovate or Repair a Home
Derrick and Steve did a fantastic job for us. We were under a short timetine to get repairs done in anticipa^on
of the sale of our townhouse and they responded professionally in a timely manner allowing us to complete all
work to engineer s specifications and moreso. Would highly recommend this company as they are superior to
other contractors that we had contacted for quotes and completion times. They mounted an excellent team
who vsForked tirelessly to get the job done on time. Thank you for your diligence and professional service.

5.0 i 07-10-2019
Review by Vontella M. in Washington, DC
Project: Repair a Concrete Foundation
Precision fixed the front wall in front of my home within a week of signing the contract; and I am very pleased
with the results of their work. I would definitely recommend them for home improvement.

5.0 I 06-18-2019
Review by Paul M. In Washington. DC
Project: Remodel or Renovate One or More Rooms
Derrick and his team at Precision did quality work in a timely manner, and provided excellent service along the
way. Derrick made himself available by phone whenever I had an issue, and his team completed the work to a
very high standard. In addition to providing excellent service, when a (minor) part of a design was not how 1
pictured it. Precision made the change without any questions or extra chaige. Furthermore, they were flexible
and provided great assistance in working with our condo board to get permits for our project. I highly
recommend Precision for whatever job you need completed.

5.0 I 06-07-2019
Review by William L. in Washington. DC
Project: Repair a Concrete Foundation
Precision responded to my request for service with courtesy, skill, knowledge, and overall effectiveness. As my
needs continue. Precision wilt be first on my list of experts to call and I will recommend they to my friends and
neighbors!
5.0 I 04-09-2019
Review by Isabel M. in Washington. DC
Project: Remodel a Basement
It s not often that you meet a contracting company and crew that change your life in such a positive and
significant way. My hone is over a 100 years old and since we ve owned it water in the basement has always
been an issue, to such an extent that by last summer you could smell the dampness upstairs. Precision both
waterproofed the basement and turned the 1000 square feet into a beautiful apartment. Though the process
took longer than expected, both the crew, the designerand myself worked in tandem to create a beautiful
design and space. The value added to the property was considerable, and better yet I never want to leave my
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new apartment! The crew worked hard to trouble shoot all the water problems and helped me develop my
plans for the space. They re always willing to go the extra step for a client I highly recommend them!!!!

5.0 I 03-18-2019
Review by Makoto J. In Washington. DC
Project: Repair a Concrete Foundation
Derrick vi,nth Precision Contracting Solutions did a superb job in both communication and the work conducted. I
used him to contract foundation and masonry work in a DC rowhome. Throughout the initial proposal all the
way through the completion of work. Derrick was helpful and easy to contact. He checked in regularly with his
contractors to ensure that the work was being completed as directed and was quick to solve any issues that
arose. I would 100% recommend him to friends, family, or anyone that needed home renovations completed.

5.0 I 01-16-2019
Review by Joyce J. in Washington. DC
Project: Repair Structural Problems with Steei Beams
Derrick and Julio worked with me and my mother to ensure that her home was safe and sound! Her bearing
wall and floor beams were weakened from a fire over 35 years ago. The work was excellent! They promised 3
days; it was done in 2! Couldn t have been done without Precision Consulting!!

5.0 j 11-13-2018
Review by Sharon M. in Washington. DC
Project: Manage a Construction Project
My home dining room and kitchen ceiling needed leveling and had structural damage. Precison sent in two
teams, one specializing in carpentry and structural repairs that did an excellent job in repairing and leveling the
ceilings. The last team completed the drywali and extensive plastering of the ceilings leveling them to a look
without an seams showing. Beautiful job! Although this process was a bit dusty. I voiced my concerned over
the dust. Derrick Immediately sent a cleaning service of 3 that cleaned my entire 1st floor. I would recommend
Derrick and his team. His folks had years of experience and it showed in the results of this job.

5.0 I 10-11-2018
Review by Jennifer L. in Washington. DC
Project: Renovate or Repair a Home
We highly recommend Precision Contracting Solutions. LP. We had an excellent experience working with
Precision. Most importantly, our project was completed ahead of schedule. We would definitely utilize
Precision for future projects.

5.0 I 09-04-2018
Review by Sylvia R. in Washington. DC
Project: Remodel or Renovate One or More Rooms
PCS re-did my staircase to the second floor of the house. Great quality of work and It looks fantastic. They
were also willing to work within my budget. A great experience from beginning to end. Very professional. I will
definitely work with them again in the future.


5.0 I 06-12-2018
Review by John A.
Project: Renovate or Repair a Home
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Precision Contracting Solutions (PCS) repaired extensive damage to the extehor wall of my Washington. DC
row house in April 2018. The entire team was professional, talented, and committed to first-rate work, which
ranged from resealing a roof to reinforcing a 100-year-old decaying brick wall to restore the structural integrity
of the house. However, it was their customer service that truly set PCS apart from other contracting firnis we
interviewed. Throughout the entire three-week project, the team - from the foreman to the owner - was
available to discuss the work and preview next steps in the process. I would certainly recommend PCS to
others who are looking for top-notch craftsmanship from a customer-focused team.
5.0 I 12-11-2017
Review by Leo D. in Washington. DC
Project: Remodel a Basement
Stevie and his crew at Precision Contracting Solutions really went beyond our expectations. We started with a
simple and basic renovation of our second floor home and ending with a gem. The project was to turn our two
smaller rooms into a master suite, add a laundry room in the hallway and install new wood ftoors. while still
maintaining the charm of our 105 year old home. What Precision did was nothing but amazing, they brought
back life into an area that was dull and cramped and showed the true charm of what our home was made of.
One area of the renovation, was that they removed part of our ceiling to access the attic and expose windov/s
that were otherwise just cosmetic to the exterior of the house and made them practical by bringing in more
light to the bedroom and creating truly amazing aesthetics. This was done with impeccable craftsmanship and
design. We were so impressed by their work we hired them to renovate our basement.
5.0 I 12-10-2017
Review by Maurice W. in Washington. DC
Project: Remodel or Renovate One or More Rooms
PCS Transformed my blah basement common area into a beautiful storage area. They also repaired plumbing
issues and installed several electrical outlets and new led lights under my kitchen cabinets. Also painting.
Great value, fantastic customer service. Highly recommended.
5.0 I 11-02-2017
Review by Helen S. in Washington, DC
Project: Remodel or Renovate One or More Rooms
I hired Precision to do a major renovation on my 100 year old house including adding on to the back of the
house on the first and second floor, remodeling the kitchen, adding a second bath, refurbishing the front porch
and reconfiguring the floorspace of the house. Working with Precision has been a phenomenal experience.
They took the time to understand what mattered to me and were able to come up with a design for the house
that maximizes the use of the space and will make the house infinitely more livable than it was before.
Precision went the extra mile and worked to find out just how far they could expand the back of the house and
figured out innovative solutions to expand the house further and yet meet DC building codes. Even better, their
creativity in design has added elements to the house that add to the elegance of the house and will make it
truly a showpiece home. Working with Precision has been a great experience, they are responsive and
collaborative and a very professional company. I would recommend highly recommend Precision and
recommend them to anyone looking to remodel/renovate their home.
5.0 I 10-23-2017
Review by Dr gwendolyn T. in Washington. DC
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Project: Repair a Concrete Foundation
Another contractor said , our house had a foundation issue. We put the issue off. Finally called Precision
ContracUng Solutions. We received prompt same day service. I must say. Steve assured me we didnt have a
problem with the foundation of our house. Saved us thousands of dollars...Good to know they’re still honest
people. Oh. BTW. Yes ) hired them &#128525:
5.0 I 10^-2017
Review by Tonya H. In Washington, DC
Project: Build a Garage
Precision tore down and then built a beautiful new garage for me. The quality was exceptional and the service
was professional and collaborative. I felt secure in my decision to hire Precision every step of the way. They
will be my go to builders from here on out.
5.0 I 09-30-2017
Review by Charles X. in Washington. DC
Project: Remodel or Renovate One or More Rooms
I hired Precision Contracting Solutions to repair the water damage of the upper back portion of my elder
sister's home. Their estimator was thorough, straightforward, cordial and considerate to our family needs. They
were very considerate on the pricing of the project. After the demo it there was considerable water damage to
the masonry,framing, joists and flooring in the back of the house. Working to develop a scope of work that both
met our construction goals and budget restrictions without cutting comers was a win-win situation. I want tell
you that after the punch-out was completed we were very satisfied with the work completed. I would definitely
hire Precision for my next project.

5.0 1 05-26-2017
Review by Yvonne W.
Project: Remodel a Kitchen
He's already done 3 projects for me and it's great!

5.0 I 02-09-2017
Review by Lincoln A. in Washington. DC
Project: Repair Structural Problems with Steel Beams

0 of 1 users found this review helpful.

5.0 ( 11-17-2016 .
Review by St elmo C. in Washington. DC
Project: Repair Structural Problems with Steel Beams
Great to work with, very skilled, very flexable. Would definitely use them again for future projects.


5.0 I 11-13-2016
Review by Melissa C. in Washington. DC
Project: Remodel or Renovate One or More Rooms
We hired Derrick. Stevie, and Precision to renovate the majority of our house. They did outstanding work from
beginning to end. Precision installed a brand-new kitchen and master bathroom, reconfigured other rooms to
get the most out of our space, installed new hardwood floors throughout, and added two new staircases. The
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Precision team was responsive, creative, and dependable. Our house feels like an entirely new (and better)
place! We were thrilled with the quality and value we received, and highly recommend Precision.

5.0 I 10-20-2016
Review by Brenda J. in Washington. DC
Project Renovate or Repair a Home
Project still in progress, but very satisfied with how it is coming together.

5.0 1 09-23-2016
Review by Tao N. In Washington. DC
Project: Remodel a Basement
1 .Good customer care, responsiveness, with a network of designers and contractors guiding you through the
project Their network of contractors allowed me to get a number of things at cost 2. Scope of work; Transform
old basement into a modem one-bedroom basement apartment 3. Design. Precision's team of engineers and
architects provided a number of different deigns based on my input. 4. Permits and inspections. They took
care of all the inspections. 5. Demolition. The demolition took less than a couple of days. 6. Basement dig out.
They were able to lower the basement floor to get past the 7-foot ceiling regulation in a week. 7. Kitchen and
Bathroom. Precision has a network that allowed me to work with kitchen and bathroom designers, who
provided a number of 3-D rendering. As a part of the deal with Precision, I got the supplier price for the
bathroom and kitchen cabinets and other deals.
Response by : This was a great job and well done

2 of 2 users found this review helpful.

5.0 I 09-03-2016
Review by Gretchen B. in Washington Dc. DC
Project: Remodel or Renovate One or More Rooms
We hired Precision to convert our garage into a mudroom and to renovate our laundry room. They did
excellent floor tile work as well as beautiful carpentry. In addition to custom shelving, several custom benches
were constructed. The end result is a stunning entry way with a crystal flushmount in what was before a
cement garage. The laundry room is also more of a pleasant place to be with the new black and white tiling,
yellow walls, new lighting, shelving and fresh sink. Precision definitely has skilled craftsman on their team.

5.0 I 08-25-2016
Review by Marcl G. in Washington. DC
Project: Renovate or Repair a Home
As a busy Washingtonian, Precision was extremely compatible with my schedule. They were spot on in terms
of the schedule they promised and lived up to their name in terms of the quality of their work. I'll hire them
again in a heartbeat!

5.0 I 05-08-2016
Review by Yvonne W. in Washington. DC
Project: Install or Completely Replace Vinyl Siding
I give Precision Contracting Solution an A+ on my project. I have a three story row house in the historic Adams
Morgan district in NW Washington DC and Precision performed a major restoration to the front of my home. I
have received numerous compliments on the finished product, which is beautifully crafted with extreme
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attention to detail. Derrick and his team also did slnjctura! concrete repairs on the front entry of my home and
fixed a nagging electrical problem that had been ongoing for years. I would highly recommend Precision to
others potential clients without hesitation. Precision is a company that honors its word. I look forward to the
possibility of working with Precision on another major project in my home.

5.0 I 04-07-2016
Review by Brooke M. in Washington, DC
Proiecl: install a Brick. Stone or Block Wat!
Hired to replace a severely damaged retaining wall in front of our house. They were extremely professional
and despite city delays in permits performed the work in record time. Derrick was incredibly responsive to any
concerns and even helped with last minute modifications. I would not hesitate to hire this company again.

5.0 I 04-01-2016
Review by a homeowner in Washington. DC
Project: Remodel or Renovate One or More Rooms
Job completed
Response by : Precision is very proud of this completed project.

1 of 2 users found this review helpful.

5.0 I 01-02-2016
Review by Lisa B. In Washington, DC
Project: Renovate or Repair a Home
We are extremely pleased and grateful to Precision Contracting for the outstanding job that was performed on
our home. The rear addition to our house had water and structural problems in several areas. Precision
diagnosed the problems and came up with cost effective solutions and delivered a great finished product. We
interviewed several contractors and ultimately went with Precision. They worked every day until completion,
communicated professionally about the progress of the job, and we are Uirilled with the finished product. We
would recommend them without hesitation to anyone.

5.0 I 10-05-2015
Review by Brett S. In Washington. DC
Project: Build a Garage
Precision Contracting Solutions was responsive in every aspect and the quality of their work was top shelf.
They did all of the design drawings, obtained all of the permits in conformance with DC code, and completed
the project in a timely manner. Great job!



5.0 I 09-17-2015
Review by Olusoji A. in Washington. DC
Project: Install Concrete Driveways & Floors
The project consisted of a driveway and apron for my home. I got several estimates and was careful to check
references in the search for quality and a professional work ethic. PCS delivered and earned this rating. I
would use them again for other projects in Uie future. I highly recommend Derrick and his company.

2 of 2 users found this review helpful.
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5.0 I 08-05-2015
Review by Jonathan B. In Washington. DC
Project: Repair a Concrete Foundation
I had a very pleasant experience with Derrick at Precision. He was very knowledgable and helpful in helping
me dedde the best way to approach the repair that I needed. Derrick was on-time, and I would definitely
recommended his services to someone else.

2 of 2 users found this review helpful.

5.0 I 07-16-2015
Review by Art C. In Washington. DC
Project: Build an Addition
I am a retired Marine Colonel who demands reliability, focus, and honor when doing business. Precision
Contracting Solutions met those standards in the execution of my project, which consisted of a side porch
conversion into a room addition for my recently purchased home in N.W. Washington D.C. The attention to
detail reflected the highest level of quality and care by making the addition look as if it was built when the
house was built, thus maintaining the historic architectural value of my property. From the development of the
preliminary design to tweaking that design, to the actual execution of the project. Precision met - and in some
cases - exceeded my expectation. The owner and his design team were always accessible at all times for
questions and were highly respectful throughout. My wife and I would highly recommend them.

4 of 4 users found this review helpful.

5.0 I 06-23-2015
Review by Amar M, in Washington. DC
Project: Build an Addition
Derrick and Precision were great to vyork with. They listened to your ideas and thoughts and offered solutions
to make things work. If some idea of yours was not possible, they offered alternatives and did not force
anything upon me. the consumer. I will definitely be hiring them again for my rooftop addition! Would highly
recommend this company to friends and others.

2 of 2 users found this review helpful.

5.0 I 06-20-2015
Review by Zofia B. in Washington. PC
Project: Install Concrete Patios. Walks and Steps
It was a big job, and PCS got it done quickly, all the while making sure that everything got done right. Bosses
and crew alike take pride in the high quality of their work. They go out of their way to make sure the client is
always happy.

2 of 2 users found this review helpful.

5.0 I 06-13-2015
Review by Lesego L. in Washington. DC
Project; Remodel a Basement
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I am a senior citizen and a woman and handle all of my own affairs, i must say that Precision Contracting did
an amazing job for me. 1 had a lot of work done in my basement and rear yard They were honest reliable and
respectful at all times. They did everything in the contract and more. They even gave me a senior citizens
discount at the completion of the job and purchased and installed an air conditioner and put furniture together
for me that was not in the contract at no charge. I highly recommend Precision.

1 of 1 users found this review helpful.

5.0 I 06-08-2015
Review by Angela A. in Washington. DC
Project: Remodel or Renovate One or More Rooms
PCS did an excellent job, specialty for stone work, iron railing and Coppola.

1 of 1 users found this review helpful.

5.0 I 05-13-2015
Review by Deborah V. In Washington, DC
Project: Remodel or Renovate One or More Rooms
I am very happy with the design and construction services provided by Precision Contracting Solutions. My
project included a floating architectural staircase, the removal of watis, new hardwood flooring, custom wrought
iron railings, and designer paint finishes. Everyone in Derrlck???s company was always respectful,
professional, and trustworthy and I would highly recommend Precision to anyone for design/build services.

1 of 1 users found this review helpful.

5.0 I 01-13-2015
Review by a homeowner in Washington. DC
Project: Remodel a Basement
Everything has been great and will definitely recommend him to friends and family.

1 of 1 users found this review helpful.

5.0 I 01-03-2015
Review by David C. In Washington. DC
Project: Install Concrete Patios. Walks and Steos
Derrick and his staff are all incredibly professional and have great attention to detail. Negotiating the scope of
work through total execution was a very simple and transparent process. I am currently having Derrick conduct
a bathroom revision and have recommended him to many friends in need of superior general contracting
services.


5.0 I 12-21-2014
Review by Lara I. in Washington. DC
Project: Remodel a Basement
We had a major project that included converting our basement into a rentable apartment. Prectsion???s
design build team has been a blessing to our fomily. We contracted the first phase of the heavy construction
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with them that also included the design and building permits. They did a wonderful job and did so in a timely
manner and within budget. The owner Derrick, as well as his workers and supervisors, were always polite and
respectful to us and our neighbors and the workmanship was top shelf. We have now entered into a second
contract with them to complete the project, including a front entrance to the basement and completely finishing
the apartment. Based upon the work they have done so ^r and how easy they have been to work with, we
highly recommend Precision

1 of 1 users found this review helpful.

5.0 i 12-08-2014
Review by a homeowner in Washington, DC
Project; Build a Garage
I would like to thank Home Advisors for linking me to Precision Contracting Solutions. The design build
services were on the highest quality, They worked weekends and even on Sunday to finish the project on time.
The are honest and you can trust what they say. I am letting them photograph my project to post the pictures
for my neighbors to see. I would recommend this company to any and all of my fellow D.C. residents.

5.0 I 08-02-2014
Review by Roberta C. in Washington. DC
Project: Install or Completely Replace Vinyl Siding
They did a great job and were very careful. This was a vinyl repair and plumbing repair and they did a great
job.

1 of 1 users found this review helpful.

5.0 I 05-27-2014
Review by Deleon W. in Washington. DC
Project: Waterproof a Basement or Foundation
It was a consultation on waterproofing for my home. Honest, concise, will solve the problem for me, everything
he told me in comparison to other companies included solutions that will work just as well or better than those
that would cost more money.

1 of 1 users found this review helpful.

5.0 I 05-21-2014
Review by Marco B. in Washington, DC
Project; Build a Garage
Derrick went above and beyond to create what is easily the best looking garage on the block, in addition, he
took care of the surrounding neighbors issues, and concerns so that the whole neighborhood was happy. I
plan on using his company again immediately to remodel the basement.

1 of 1 users found this review helpful.

5.0 I 05-18-2014
Review by Aryana K. in Washington. DC
Project: Repair Structural Problems with Steel Beams
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Derrick and his staff were extremely professional, easy to work with, and their work was of high quality. I would
definitely recommend them. There were no hidden costs or fees.

1 of 1 users found this review helpful.

5.0 I 03-14-2014
Review by Odessa W. in Washington. DC
Project: Build or Replace a Deck or Non»Masonrv Porch
Oenidt and his staff was truly professional and their work ethic is untouchable. He completely followup and
answers any and all questions his team is very competent and maintain a very professonal manner when
addressing concerns. I was very indecisive about what type of room I wanted; but Derrick and his team
designed the perfect SUNROOM/DECK the design was exact;(y as I requested. A magnificant job upon
completion. As a homeowner I will surety use their services for other projects.

3 of 3 users found this review helpfol.

5.0 I 11-22-2013
Review by Dorothy J. In Washington, DC
Project: Renovate or Repair a Home
I would highly recommend Precision Contracting Solutions. My mother is 92 years old and needed a variety of
repairs done to her house. I contacted HomeAdvisors, and through them, I found Precision Contracting
Solutions. It was wonderful to learn that Precision had such great respect for the elderly. Not only did they do a
fantastic job in a timely manner, they made the whole process hassle-free and gave my mom a meaningful
senior citizen discount. The work was top-quality and the positive experience.

3 of 3 users found this review helpful.

5.0 I 10-28-2013
Review by Jacqueline A. in Washington, DC
Project: Brick or Stone Tuck-Pointing
Derrick and his team were very competent and professional. They were willing to answer all of our questions.
The brick work and tuck-pointing was a fine job at completion. I am considering this company for other
projects.

1 of 1 users found this review helpful.

5.0 I 09-14-2013
Review by Vallaria M. in Washington. DC
Project: install or Replace Exterior Trim
Derrick and his team did a great job on the siding of my house, and I would hire them againg.


5.0 I 08-23-2013
Review by Sam S. in Washington Dc. DC
Project: Install or Replace Metal Stairs and Railings
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Derrick and his team did an outstanding job and completed the project on time and on budget. They are
competent, creative and very professional. I am extremely happy with the results and have recommended
Precision Contracting Solutions to friends and family, i will hire them again for my next project.

5.0 I 07-16-2013
Review by Julian T. In Washington, DC
Project: Soundproof a Room or Window
Derrick and Julio were always very responsive and accommodating to my requests, they showed genuine care
and strived to provide excellent customer service. I made additional requests to the original contract and they
were always ready to change the schedule to accommodate my requests accordingly, I would definitely
recommend them!

5.0 I 05-20-2013
Review by Victoria T. In Washington. DC
Project: Install Concrete Patios. Walks and Steps
Derrick is very fest to respond and will work with you on the project. If he sees a different way to do something
he will suggest it. In this instance I went along with his suggestion but after looking at what needed to be done.
I decided that the project needed to go back to the way that I had first suggested. This was told to him on the
first day of work and he did not gripe or anything but just said if that is what you want then that is what you get.
I needed a landing with stairs and t do have to say I was not expecting what I got but it was a very good job
and would suggest him to anyone who needs the same type of work done.

2 of 2 users found this review helpful.

5.0 I 03-02-2013
Review by Nancy W. In Washington. DC
Project: Remodel a Bathroom
We are 100% satisfied with the bathroon remodel. They very honest, friendly and tnjstworthy. Their attention
to detail, quality and workmanship is first class. The results exceeded our exspectations.
1 of 1 users found this review helpful.
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                          EXHIBIT 2




                             /
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Ed Lyle
From:                     Derrick Sieber [derrick.precision@gmail.com]
Sent:                     Wednesday, August 07. 2019 3:31 PM
To:                       HomeAdvisor
Subject:                  Home Improvement Salespersons' License Renewal Issued by DCRA Today
Attachments:              HIS license.pdf


Dear HomeAdvisor, Corrine, The President of HomeAdvisor, & All of the Board of Directors at HomeAdvisor

Please find attached my new salespersons' license that was issued by DCs Department Of Consumer &
Regulatory Affairs (DCRA) this afternoon. Please immediately restore my account. Despite the baseless
lawsuit that was filed against my company by the Attorney General's Office here in Washington DC last week,
the DC government agency that oversees the issuance of licenses, DCRA, has issued my newly renewed license
today. Certainly if DCRA is not taking these outrageously false accusations seriously, neither should
HomeAdvisor. Representatives from HomeAdvisor have contacted me several times in the last couple of weeks
to get a copy of the license renewal and I AM NOW providing the license that was issued today and is attached.

PLEASE RESTORE MY ACCOUNT IMMEDIATELY. I look forward to your prompt response.

I have an outstanding reputation servicing DC consumers as illustrated by the 54 “verified 5-star ratings**:
more than any other DC contractor on your platform alone. I have had an uninterrupted A+ rating with the
BBB for almost 10 years. I have been a loyal HomeAdvisor member for over 7 years and have paid you close
to $250,000 over the course of our relationship until you shadow-banned me yesterday over completely bogus,
unfounded, and unsubstantiated accusations. We live in a country where we all are entitled to the presumption
of innocence, the right to due process, and the right to seek from the government redress for grievances. I will
have my day in Court and will defeat these baseless accusations. Please do not prejudice me by scrubbing your
platform clean of any mention of my company. Please do not simply take all of the content down that I work so
hard for over 7 years to establish and of which so many homeowners that went to HomeAdvisor and relied upon
and are pleased with us for. The AG's Office is under intense political pressure to cover up criminal activity by
their office. Their lead investigator, Timothy Shirey, broke into my attorneys private residence to serve a copy
of the lawsuit in question. There's been a police report filed on the incident, declarations from witnesses that
saw it happen are before the Court, and irrefutable video support of this allegation exists and will be released
publicly in the near term. My point in all of this is this:

1. Do not be judge, jury, and executioner of Precision Contracting Solutions by shadow-banning all of my
content from your website. Let the Courts do their job and render judgement through trial, evidence, witnesses,
and a jury of my piers.

2. We are counter-suing the AG's Office on multiple causes of action that will be filed with the Court in the
coming weeks.

3. The AG's complaint fails to even list any names of consumers allegedly harmed in their bogus complaint.

4. Standup for your loyal members. If they take notice of this injustice your levying upon me, IT WILL
backfire on HomeAdvisor both politically and legally when this matter is put before the Court on an emergency
basis.

5. Don’t cower to a malicious, rogue AG’s Office that plays loose and fast with the rules and the law and is
purely driven by a political agenda; you have NO allegiance to their out-of-control and criminal conduct.

                                                        1
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all of the leadership at HomeAdvisor. Corrine at HomeAdvisor won't even give me her last name or even
her HomeAdvisor email address, much less the email addresses of people in the leadership structure. My new
license is attached.

Finally, I have been in contact with my legal team who will immediately go to the Court to file for a Temporary
Restraining Order and long-term injunctive relief if my content is not restored in 24 hours. Furthermore, we
will instantly file litigation against HomeAdvisor and individual HomeAdvisor Board Members, including
Angie Hicks - who is no stranger to litigation with my father, Stephen Sieber. The lawsuit will seek damages
for defamation and tortious interference with business relations and issue a press release through PR Newswire
and other media outlets about the knee-jerk reaction of HomeAdvisor without any findings of fact, conclusions
of law, or dispositive judgement from the Court. You are also interrupting the 1st amendment rights of those
well-intentioned DC residents who posted honest reviews of their experiences with the quality, value, and
performance of Precision. Six of those 5-star rating homeowners so far have already agreed to sign on to the
lawsuit expressing their outrage with HomeAdvisor.

You have 24 hours to do the right thing here or legal action will ensue. Newly renewed License attached.

Respectfully


Derrick Sieber
Owner
Precision Contracting Solutions, LP
202-302-1990




                                                                   2
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                 SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                 Civil Division


PRECISION CONTRACTING
 SOLUTIONS, LP, et al.

       V.                                                    Case No.

ANGI HOMESERVICES, INC., et al.



                      DECLARATION OF EDWARD W. LYLE

       I, Edward W. Lyle, declare as follows:

        1.     I am counsel for Plaintiffs Precision Contracting Solutions, LP and

Carolyn Torsell in the above-referenced matter.

       2.      Attached to this Declaration are the following five exhibits:

               Exhibit No. 1 - A Memorandum Opinion dated February 26, 2019 in Seibert v.

Precision Contracting Solutions. LP (D.D.C., February 26, 2019 (Collyer, J.).

               Exhibit No. 2 - Home Advisor Terms and Conditions (for consumers), as

currently appearing on the internet at www.homeadvisor.com.

               Exhibit No. 3 - Home Advisor Terms and Conditions (for Service Providers),

as currently appearing on the internet at https://pro.homeadvisor.com/terms/terms-conditions.

               Exhibit No. 4 - Angie's List Terms of Use (for consumers), as currently appearing

on the internet at www.angieslist.com.

               Exhibit No. 5 - Angie’s List Service Provider's User Agreement, as currently

appearing on the internet at Agreementhttps://vault.pactsafe.io/s/a84adJ2b-7245-4al2-9fc5

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Precision Contracting Solutions, LP, et al. v
 ANGIHomeservices. Inc., et al.
Declaration of Edward W. Lyle
Page Two

       3.      I hereby certify that the documents contained in all exhibits listed in Paragraph 2

immediately above are true and correct copies of such documents as I have taken them from their

designated addresses on the internet.


       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.
       Executed at Washington D.C. this^2^day of September 2019.




                                                Edward W. Qjip
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                        EXHIBIT 1
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EIBERT V. PRECISION CONTRACTING
SOLUTIONS, LP
Email I Print I Comments (0)
Civil Action No. 18-818 (RMC).


    •   View Case
    •   Cited Cases

MICHAEL SEIBERT, Plaintiff, v. PRECISION CONTRACTING SOLUTIONS, LP, et al..
Defendants.

United States District Court, District of Columbia.

February 26, 2019.

Editors Note
Applicable Law: 28 U.S.C. § 1332
Cause: 28 U.S.C. § 1332 Diversity - Contract Dispute
Nature of Suit: 190 Contract: Other
Source: PACER



Attorney(s) appearing for the Case

MICHAEL SEIBERT, Plaintiff, represented by Timothy B. Hvland > HYLAND LAW PLLC.

PRECISION CONTRACTING SOLUTIONS, LP & DERRICK SIEBER, Defendants,
represented by Edward West Lvle . LAW OFFICE OF EDWARD W. LYLE.



MEMORANDUM OPINION

ROSEMARY M. COLLYER, District Judge.

Michael Seibert seeks a stay of arbitration demanded by Precision Contracting Solutions, LP and
 its sole owner and partner. Derrick Sieber, arising out of a construction contract dispute.
Defendants both oppose the stay and move to dismiss for lack of subject-matter jurisdiction.
Defendant Precision Contracting Solutions, LP also moves to dismiss for lack of personal
jurisdiction due to insufficient service. Under the Federal Arbitration Act, the Court’s authority is
distinctly limited. Here, however, Mr. Seibert alleges that the arbitration clause in the
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construction contract contains illegal and unconscionable terms that render it unenforceable. In
such a case, the saving clause of the Federal Arbitration Act "allows courts to refuse to enforce
arbitration agreements." Epic Sys. Corp. v. Le'wis, 138 S.Ct. 1612.1622 (2018). Because the
Court finds that service was made and the arbitration clause is unconscionable and
unenforceable, it will enter a stay of the arbitration and any award and will deny Defendants’
motions to dismiss.

I. FACTS

Michael Seibert and Precision Contracting Solutions, LP (PCS), signed a contract on December
8, 2017, by which PCS agreed to make certain upgrades to Mr. Seibert's residential property in
Washington, D.C. Compl. [Dkt. 1] 16; see also Ex. 1, Compl., Precision Construction Contract
(Contract) [Dkt. 1-!]. Mr. Seibert paid for most of the work but refused to make the last payment
because the work was allegedly shoddy, incomplete, and performed without the necessary
permits. See Compl.     11-15. PCS initiated arbitration to collect the unpaid balance of the
Contract under the following clause:

Binding Arbitration: The parties to this contract agree that any and all disputes that cannot be
settled in good faith by the parties shall be resolved through binding arbitration that is initiated
under the Construction Industry Arbitration Rules of the American Arbitration Association
(AAA) within 30 days of such dispute. No legal action may be initiated before the AAA or in
any other arbitral or judicial forum against any director, officer, employee or agent of, or anyone
else associated with, one of the principals to this contract in connection with any dispute related
to this contract. The party's [sic] sole recourse under this contract shall be against each other
before the AAA. If the parties do not file a claim with the AAA within the 30-day period stated
herein, then all claims are barred from being brought by the parties in any and all legal forums. It
is further agreed that the cost of binding arbitration shall be shared equally by PCS and the
Client. It shall be clearly understood that any disputes that may arise are confidential with no
public comment permitted in any form by either party relating to the dispute. The results of any
Arbitration proceeding shall also be confidential with no public comment by either party
permitted in any form relating to any award. The parties agree that any breach of this provision
shall constitute a willful breach of contract.

Contract at 3. The Contract was signed by Derrick S. Sieber, "Owner, Precision Contracting
Solutions," and Mr. Seibert. See id. at 4.

Mr. Seibert sued PCS, Derrick Sieber, and Stephen Sieber^ on April 10, 2018, seeking a
declaratory judgment that the arbitration clause is unenforceable and raising claims of fraud in
the inducement, reformation, breach of contract, and unlav^ul trade practices. See Compl.       17-
43. Mr. Seibert moved to stay the arbitration initiated by PCS on the same day. Mot. to Stay
Arbitration [Dkt. 2]; Mem. of P. & A. in Supp. of Mot. to Stay Arbitration (Stay Mem.) [Dkt. 2-
1]. Defendants oppose. Opp'n of Defs. to Pl.’s Mot. to Stay [Dkt. 34].

Multiple procedural motions have been filed. The Clerk of Court entered default against PCS
after Mr. Seibert filed a motion alleging that PCS had been served and failed timely to answer or
otherwise respond. See Mot. for Entry of Default as to PCS [Dkt. 8]; Clerk's Entry of Default as
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to PCS [Dkt. 9]. PCS moves to vacate the Clerk's entry of default and argues it had not been
properly served. Mot. to Vacate Clerk's Entry of Default [Dkt. 11].- That motion is fully briefed.

 Additionally, both Defendants separately moved to dismiss for lack of subject-matter
jurisdiction. Mot. of Def. Derrick S. Sieber to Dismiss or Stay this Proceeding for Lack of
 Subject-Matter Jurisdiction (D. Sieber MTD) [Dkt. 14]; Mot. of Def PCS to Dismiss this
 Proceeding for Lack of Subject-Matter Jurisdiction (PCS MTD) [Dkt. 24].^ Both motions are
 ripe for review.

11. LEGAL STANDARDS

A. Federal Arbitration Act

The Federal Arbitration Act (FAA), 9 U.S.C. § 1 et seq., states the direction of Congress that
"federal courts [are] to enforce arbitration agreements according to their terms...Epic Sys.,
 138 S. Ct. at 1619. Section 2 of the FAA makes arbitration agreements "valid, irrevocable, and
enforceable." 9 U.S.C. § 2. Section 2 also provides a "saving clause [that] allows courts to refuse
to enforce arbitration agreements 'upon such grounds as exist at law or in equity for the
revocation of any contract.'" Epic Sys., 138 S. Ct. at 1622 (quoting 9 U.S.C. § 2). The saving
clause "permits agreements to arbitrate to be invalidated by generally applicable contract
defenses, such as fraud, duress, or unconscionability." Id. (quoting        Mobility LLC v.
Concepcion, 563 U.S. 333. 339 (2011)).

The saving clause of Section 2 of the FAA has been given a limited reading by the Supreme
Court.

[I]f the claim is fraud in the inducement of the arbitration clause itself—an issue which goes to
the 'making' of the agreement to arbitrate—the federal court may proceed to adjudicate it. But
the statutory language does not permit the federal court to consider claims of fraud in the
inducement of the contract generally.... We hold, therefore, that in passing upon [an FAA] § 3
application for a stay [of litigation] while the parties arbitrate, a federal court may consider only
issues relating to the making and performance of the agreement to arbitrate.

Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S. 395.403-04 (1967); see also Kindred
NursingCtrs. Ltd. P'shipv. Clark, 137 S.Ct. 1421. 1426 (2017) ("A court may invalidate an
arbitration agreement based on 'generally applicable contract defenses' like fraud or
unconscionability, but not on legal rules that apply only to arbitration or that derive their
meaning from the fact that an agreement to arbitrate is at issue.'") (quoting Concepcion, 563 U.S.
at 339).

Because they direct the Court's analysis, the relevant sections of the FAA are quoted in full
below:

§ 2: A written provision in ... a contract evidencing a transaction involving commerce to settle
by arbitration a controversy thereafter arising out of such contract or transaction ... shall be
valid, irrevocable, and enforceable, save upon such grounds as exist at law or in equity for the
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revocation of any contract. § 3: If any suit or proceeding be brought in any of the courts of the
United States upon any issue referable to arbitration under an agreement in writing for such
arbitration, the court in which such suit is pending, upon being satisfied that the issue involved in
such suit or proceeding is referable to arbitration under such an agreement, shall on application
of one of the parties stay the trial of the action until such arbitration has been had.... § 4: A
party aggrieved by the alleged failure, neglect, or refusal of another to arbitrate under a written
agreement for arbitration may petition ... for an order directing that such arbitration proceed in
the marmer provided for in such agreement.... The court shall hear the parties, and upon being
satisfied that the making of the agreement for arbitration or the failure to comply therewith is not
in issue, the court shall make an order directing the parties to proceed to arbitration.... If the
making of the arbitration agreement or the failure, neglect, or refusal to perform the same be in
issue, the court shall proceed summarily to the trial thereof If no jury trial be demanded by the
party alleged to be in default,... the court shall hear and determine such issue. § 9:... If no
court is specified in the agreement of the parties [to confirm an award], then such application
may be made to the United States court in and for the district within which such award was
made.... § 16 (a) An appeal may be taken from — (I) An order — (A) refusing a stay of any
action under section 3 of this title, (B) denying a petition under section 4 of this title to order
arbitration to proceed, (C) denying an application under section 206 of this title to compel
arbitration, (D) confirming or denying confirmation of an award or partial award, or (E)
modifying, correcting, or vacating an award; •.. (b) Except as otherwise provided..., an appeal
may not be taken from an interlocutory order — (1) granting a stay of any action under section 3
of this title; (2) directing arbitration to proceed under section 4 of this title; (3) compelling
arbitration under section 206 of this title; or (4) refusing to enjoin an arbitration that is subject to
this title.

9U.S.C. §§2,3,4, 9,16.

The FAA creates a strong presumption in favor of enforcing arbitration agreements and "any
doubts concerning the scope of arbitrable issues should be resolved in favor of arbitration."
Moses H. Cone MemH Hosp. v. Mercury Constr. Corp., 460 U.S. 1. 24-25 (1983). However,
parties cannot be forced into arbitration to which they have not agreed. See AT&T Techs., Inc. v.
Commc'ns Workers of Am., 475 U.S. 643. 648-49 (1986). Courts have the authority to decide
whether the parties are bound by a given arbitration clause. See Howsam v. Dean Witter
Reynolds, Inc., 537 U.S. 79. 84 (2002) (holding that, absent the parties' clear agreement
otherwise, "a gateway dispute about whether the parties are bound by a given arbitration clause
raises a question of arbitrability for a court to decide") (internal quotation omitted).

B. Motion to Stay Arbitration

A motion to compel arbitration pursuant to § 4 of the FAA is evaluated through the summary
judgment standard of Federal Rule of Civil Procedure 56, "as if it were a request for 'summary
disposition of the issue of whether or not there had been a meeting of the minds on the agreement
to arbitrate."’ Aliron Int'l, Inc. v. Cherokee Nation Indus., Inc., 531 F.3d 863. 865 (D.C. Cir.
2008) (citations omitted). Although motions to stay arbitration proceedings are not specifically
addressed in § 4, the analysis is essentially the same as a motion to compel because the argument
that "no agreement to arbitrate was entered ... effectively raises the issue whether there was a
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meeting of the minds on the agreement to arbitrate." Booker v. Robert HalfInt% Inc., 315
F.Supp.2d 94. 99 (D.D.C. 2004), affd, 413 F.3d 77 (D.C. Cir. 2005); see also Bensadoun v.
Jobe~Riat, 316 F.3d 171. 175 (2d Cir. 2003) ("[T]he summary judgment standard is appropriate
in cases where the District Court is required to determine arbitrability, regardless of whether the
relief sought is an order to compel arbitration or to prevent arbitration.").

Summary judgment shall be granted "if the movant shows that there is no genuine dispute as to
any material fact and the movant is entitled to judgment as a matter of law." Fed. R. Civ. P.
56(a). A fact is "material" if it is capable of affecting the substantive outcome of the litigation.
See Anderson v. Liberty Lobby, Inc., 477 U.S. 242. 248 (1986). A dispute is "genuine" if there is
sufficient admissible evidence such that a reasonable jury could return a verdict for the non­
moving party. See Scott v. Harris, 550 U.S. 372. 380 (2007). The moving party bears the initial
burden of showing the absence of a disputed material fact. See Celotex Corp. v. Catrett, 477 U.S.
317. 323 (1986). In determining whether there is a genuine issue of material fact which would
preclude summary judgment, "[t]he evidence is to be viewed in the light most favorable to the
nonmoving party and the court must draw all reasonable inferences in favor of the nonmoving
party." Talavera v. Shah, 638 F.3d 303. 308 (D.C. Cir. 2011) (citing Anderson, 477 U.S. at 255).
"The mere existence of a scintilla of evidence in support of the plaintiffs position will be
insufficient" to avoid summary judgment. Anderson, 477 U.S. at 252.

C. Motion to Dismiss — Personal Jurisdiction/Inadequate Service

Pursuant to Federal Rule of Civil Procedure 12(b)(5), "[i]f the plaintiff does not properly effect
service on a defendant, then the defendant may move to dismiss the complaint.... Upon such a
motion, the plaintiff canies the burden of establishing that he has properly effected service."
Hilska V. Jones. 217 F.R.D. 16, 20 (D.D.C. 2003). Personal service of process (or waiver of
service) is a prerequisite to the Court's exercise of personal jurisdiction over a defendant. See
Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344. 350 (1999). The requirement is
meant to ensure that defendants receive adequate notice of proceedings against them. See
Dusenbery v. United States, 534 U.S. 161. 167 (2002). To satisfy the constitutional requirements,
notice must be "reasonably calculated, under all the circumstances, to apprise interested parties
of the pendency of the action and afford them an opportunity to present their objections."
Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306. 314 (1950). Actual receipt of notice
is constitutionally sufficient, though not required. See United Student Aid Funds, Inc. v.
Espinosa, 559 U.S. 260. 272 (2010). In addition, service of process must satisfy the requirements
imposed by the Federal Rules of Civil Procedure. See Fed. R. Civ. P. 4.

D. Motion to Dismiss — Subject Matter Jurisdiction

Pursuant to Federal Rule of Civil Procedure 12(b)( 1), a defendant may move to dismiss a
complaint, or any portion thereof, for lack of subject-matter jurisdiction. Fed. R. Civ. P. 12(b)(1).
The party claiming subject-matter jurisdiction bears the burden of demonstrating that such
jurisdiction exists. See Khadr v. United States, 529 F.3d 1112. 1115 (D.C. Cir. 2008). When
reviewing a motion to dismiss for lack ofjurisdiction under Rule 12(b)(1), a court must "assume
the truth of all material factual allegations in the complaint and 'construe the complaint liberally,
granting plaintiff the benefit of all inferences that can be derived from the facts alleged.'" Am.
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Natn Ins. Co. v. FDIC, 642 F.3d 1137. 1139 (D.C. Cir. 2011) (quoting Thomas v. Principi, 394
F.3d 970.972 (D.C. Cir. 2005)). Nevertheless, "the court need not accept factual inferences
drawn by plaintiffs if those inferences are not supported by facts alleged in the complaint, nor
must the Court accept plaintiffs' legal conclusions." Speelman v. United States, 461 F.Supp.2d
71, 73 (D.D.C. 2006).

III. ANALYSIS

A. Jurisdiction and Motion to Vacate Default

The Court has subject-matter jurisdiction over this matter under 28 U.S.C. § 1332, as the claim
arises between citizens of different states and the amount in controversy exceeds $75,000. 28
U.S.C. § 1332(a)(1). Mr. Seibert is a citizen of the District of Columbia, and Derrick Sieber,
PCS's sole partner, is a citizen of Maryland as is, therefore, PCS. See Carden v. Arkoma
Assocs., 494 U.S. 185. 195-96 (1990) (finding a limited partnership is a citizen of the state or
stales of which its partners are citizens). Venue is proper in the District of Columbia because a
substantial part of the events at issue occurred in the District because the home under renovation
is located in the District. See 28 U.S.C. § 1391(b)(2).

PCS challenges this Court’s personal jurisdiction over the partnership, arguing that improper
service resulted in no personal jurisdiction. Mr. Seibert responds that service was completed by
sending a copy of the summons and complaint via certified mail to Edward Lyle, PCS’s
registered agent, at his home, the registered office for PCS.

PCS is a partnership and must be served as defined in Federal Rule of Civil Procedure 4(h):

Unless federal law provides otherwise or the defendant's waiver has been filed, a domestic or
foreign corporation, or a partnership or other unincorporated association that is subject to suit
under a common name, must be served: (1) in a judicial district of the United States: (A) in the
manner prescribed by Rule 4(e)(1) for serving an individual; or (B) by delivering a copy of the
summons and of the complaint to an officer, a managing or general agent, or any other agent
authorized by appointment or by law to receive service of process and—if the agent is one
authorized by statute and the statute so requires—by also mailing a copy of each to the
defendant.

Fed. R. Civ. P. 4(h). Federal Rule of Civil Procedure 4(e)(1) provides that an individual may be
served "following state law for serving a summons in an action brought in courts of general
jurisdiction in the state where the district court is located or where service is made." Fed. R. Civ.
P. 4(e)(1). The District of Columbia Superior Court Rule of Civil Procedure for serving a
partnership substantially embodies the Federal Rule of Civil Procedure:

Unless applicable law provides otherwise or the defendant’s acknowledgment has been filed, a
domestic or foreign corporation, or a partnership or other unincorporated association that is
subject to suit under a common name, must be served: (1) in the United States: (A) in the manner
prescribed by Rule 4(e)(1) for serving an individual; or (B) by delivering a copy of the summons,
complaint. Initial Order, any addendum to that order, and any other order directed by the court to
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the parties at the time of filing to an officer, a managing or general agent, or any other agent
authorized by appointment or by law to receive service of process and if the agent is one
authorized by statute and the statute so requires by also mailing a copy of each to the defendant.

D.C. R. R.C.P. Rule 4(h). District of Columbia Rule 4(c)(4) pennits service on any defendant
described in Rule 4(h), which includes a partnership like PCS, via registered or certified mail:

Any defendant described in Rule 4(e), (f), (h), (i), (j)(l), or (j)(3) may be served by mailing a
copy of the summons, complaint, Initial Order, any addendum to that order, and any other order
directed by the court to the parties at the time of filing to the person to be served by registered or
certified mail, return receipt requested....

D.C. R. R.C.P. Rule 4(c)(4). Rule 4 also details how service via registered or certified mail may
be proved:

If service is made by registered or certified mail under Rule 4(c)(4), the return must be
accompanied by the signed receipt attached to an affidavit which must specifically state: (i) the
caption and number of the case; (ii) the name and address of the person who posted the
registered or certified letter; (iii) the fact that the letter contained the summons, complaint, Initial
Order, any addendum to that order, and any other order directed by the court to the parties at the
time of filing; and (iv) if the return receipt does not purport to be signed by the party named in
the summons, then specific facts from which the court can determine that the person who signed
the receipt meets the appropriate qualifications for receipt of process set out in Rule 4(e)....

D.C. R. R.C.P. Rule 4(1)(I)(B). However, "[f]ailure to prove service does not affect the validity
of service. The court may permit proof of service to be amended." D.C. R. R.C.P. Rule 4(1)(3).

Mr. Seibert filed an Affidavit of Service on May 14,2018, stating under oath that a copy of the
summons and complaint had been sent via certified mail on April 27,2018 and that United States
Postal Service records show that the "item was delivered to an individual at the address at 4:53
pm on May 2, 2018." Aff. of Service — PCS [Dkt. 5]. Additionally, counsel for Mr. Seibert
received a voicemail from Stephen Sieber on May 3, 2018, which stated that Stephen Sieber
accepted service of the summons delivered to Mr. Lyle's address. See Opp’n to Vacate at 2-3.
Stephen Sieber is an adult living at the residence of Mr. Lyle and has also put himself forward to
Mr. Seibert's counsel in the pending arbitration as Mr. Lyle's "co-counsel" for PCS. Id.

PCS submitted a declaration from Stephen Sieber in which he states that he believed the copy of
the Complaint and summons delivered to PCS at Mr. Lyle's residence was intended for him
personally and that when he accepted service via voicemail, he was accepting as an individual.
Second Deck of Stephen Sieber [Dkt. 17-1] ^ 2. Mr. Sieber further declares that he put the
documents aside and did not share them with Mr. Lyle until after default was entered against
PCS. Id. 3. Mr. Sieber also denies having any employment or counsel relationship with PCS,
Id. f 5, which directly contradicts his statement in an email to counsel for Mr. Seibert. See Opp'n
to Vacate at 2; see also Ex. 1, Opp'n to Vacate, Email from Stevie Marco (Stephen Sieber) to
Timothy Hyland (S. Sieber Email) [Dkt. 15-1]. The Court accepts statements in briefs submitted
for PCS by its counsel Edward Lyle because an officer of the Court is required to address the
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Court with candor and the Court assumes that Mr. Lyle is abiding by that professional obligation.
Mr. Sieber's statements about the delivery of the Complaint and summons—addressed to PCS
but which he thought were intended for him personally—were made under penalty of perjury in
his declaration. Nonetheless, it is evident from the information before the Court that at some
point Mr. Sieber prevaricated. He either failed to speak the truth when he left a voicemail for Mr.
Seibert’s counsel accepting service and when he claimed in a written email that he was co­
counsel for PCS, or he has prevaricated in his declaration to this Court, or both. Having no way
to determine which statement is a falsehood, the Court finds that service on PCS was proper and
attributes Mr. Sieber's confusion about the documents to PCS as good cause for its failure to
appear timely. Therefore, the Court has personal jurisdiction over PCS. The Court will grant
PCS's motion to vacate default and deny its motion to dismiss for lack of personal Jurisdiction.-

B. Motion to Stay

Mr. Seibert moves to stay the arbitration, arguing that the Contract was procured by fraud
because PCS concealed the true identity of Stephen Sieber, who presented himself as Stevie
Marco, the PCS professional designer. Because Mr. Seibert was unable to discover Stevie
Marco's true identity, he was unaware that he was contracting with Stephen Sieber who "has
been adjudicated to have committed fraud and dishonesty in the past," and with whom Mr.
Seibert would never have agreed to contract. See Stay Mem. at 3. Mr. Seibert also argues that by
concealing Stephen Sieber's identity, PCS violated District of Columbia Municipal Regulation,
16 DCMR § 808, which governs the mandatory contents of home improvement contracts and
requires parties to include the names and license number of "salespersons who participated in
negotiating the contract." 16 DCMR § 808.4.^ However, under the FAA, the Court can only be
concerned now with challenges specific to the enforceability of the arbitration clause. As Prima
Paint makes clear, general complaints about the terms of the underlying contract do not obviate a
written agreement to arbitrate. See Prima Paint, 388 U.S. at 403-04.

In addition to his general complaints, Mr. Seibert specifically challenges the arbitration provision
itself He contends: (1) that the 30-day limitations period to seek arbitration is "unreasonable,
unenforceable, unconscionable, and void as against public policy" because its "practical effect"
would bar Mr. Seibert from proceeding, "thereby destroying mutuality of obligation," Stay Mem.
at 6-7; (2) that the bar against bringing actions against PCS partners directly "has the effect of
barring any action by Mr. Seibert, and thereby again destroys mutuality of contract," Id. at 7; and
(3) that the confidentiality mandate in the PCS arbitration clause is void and unenforceable under
the Federal Trade Commission Act (FTCA), 15 U.S.C. § 45b. Id. at 7-8.-

The confidentiality mandate in the contract states:

It shall be clearly understood that any disputes that may arise are confidential with no public
comment permitted in any form by either party relating to the dispute. The results of any
Arbitration proceeding shall also be confidential with no public comment by either parly
permitted in any form relating to any award. The parties agree that any breach of this provision
shall constitute a willful breach of contract.
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 Contract at 3. Arbitration agreements construed under the FAA "shall be valid, irrevocable, and
 enforceable, save upon such grounds as exist at law or in equity for the revocation of any
 contract." 9 U.S.C. § 2. Mr. Seibert argues that the confidentiality mandate in the PCS arbitration
 clause violates public policy as expressed in § 45b(b), which explicitly protects consumers' rights
 to communicate their opinions on work or services provided under a form contract and that the
 confidentiality mandate is, therefore, unenforceable. Stay Mem. at 7-8.-

 Section 45b, upon which Mr. Seibert relies, is a section of the law that established the Federal
 Trade Commission and prevents unfair methods of competition. Section 45b explicitly protects
 consumer reviews related to the provision of goods and services when the consumer agrees to a
 form contract. See 15 U.S.C. § 45b(a)(2) (defining "covered communication"). The law defines a
 form contract as one with "standardized terms" that is "used by a person in the course of selling"
 his services and "imposed on an individual without meaningful opportunity for such individual to
 negotiate the standardized terms." Id. § 45b(a)(3)(A).® Congress has directed that "a provision of
 a form contract is void from the inception of such contract if such provision (A) prohibits or
 restricts the ability of an individual who is a party to the form contract to engage in a covered
 communication [or, as relevant] (B) imposes a penalty or fee against an individual who is a party
 to the form contract for engaging in a covered communication...." Id. § 45b(b)(l). It is
 "unlawful for a person to offer a form contract containing a provision described as void in
 subsection (b)." Id. § 45b(c).

  While § 45b is subject to enforcement by the Federal Trade Commission or the States, no private
  right of action is suggested. See id. § 45b(d) (enforcement by the Commission) and 45b(e)
  (enforcement by the States). Nonetheless, § 45b speaks clearly to the public policy of the United
  States. The Court also finds that there is no conflict between § 45b and the FAA since the broad
  confidentiality condition in the contract under review is neither "fundamental" to arbitration,
  Concepcion, 563 U.S. at 339, nor consistent with the public nature of federal court dockets,
. except in limited instances which do not apply, should an award need confirmation. See LCvR
  5.1(h)(1) ("Absent statutory authority, no case or document may be sealed without an order from
  the Court."); LCvR 5.4(f) (requiring parties to exclude personal identifiers such as Social
  Security numbers, names of minor children, dates of birth, and financial account numbers from
  filings with the Court).

 It appears that PCS and Derrick Sieber mean every word of the confidentiality provision and it is
 no small part of the arbitration clause in the contract. Mr. Seibert cites Toland v. Derrick Sieber,
 et al., D.C. Superior Court, Case No. 16-6458, a suit in which Lamar Toland sought confirmation
 of an arbitration award against Derrick and Stephen Sieber. PCS responded with a counterclaim
 against Mr. Toland, the Law Firm of Bar-Adon & Vogel which was representing Mr. Toland,
 and the Law Finn's individual attorneys in a motion to vacate the arbitration award for
 "intentionally violating the confidentially [sic] provision in the contract." Opp'n to D. Sieber
 MTD at 13; see also Ex. C, Opp'n to D. Sieber MTD, D. Sieber Toland Counterclaim [Dkt. 16-3]
 at 37. Because the FAA permits a clause to be voided for any reason in law or in equity, and the
 relevant facts surrounding the arbitration clause and confidentiality agreement are not in dispute,
 the Court finds that violation of § 45b provides an equitable and public policy reason to void the
 arbitration clause in the contract between Mr. Seibert and PCS.
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The arbitration clause further bars any legal action against "any director, officer, partner,
employee or agent of, or anyone else associated with, one of the principals to this contract."
Contract at 3. Mr. Seibert argues that "[t]his sentence purports to, in effect, change PCS to a
corporation, and to insulate its partner from liability, even for fraud." Opp'n to D. Sieber MTD at
 14. Contrary to the expansive protection of the arbitration clause, Derrick Sieber is a necessary
party to any claim against the partnership, such as an effort to confirm an arbitration award. See
Country ClubAssocs. Ltd. P'ship v. FDIC, 918F.Supp. 429.438-39 (D.D.C. 1996) ("The settled
rule in the District of Columbia is that a partnership is not a jural entity capable of suing or being
sued. Therefore, individual partners have been held to be proper and perhaps necessary plaintiffs
in any lawsuit brought by a partnership."). Mr. Seibert emphasizes that the arbitration clause
attempts to make it impossible for him to bring a valid claim against PCS, including for fraud,
because Derrick Sieber would be required by law to be a party to any lawsuit against PCS, but
the contract with PCS prohibits suing Mr. Sieber. See Mero v. City Segway Tours of Washington
DC, LLC, 962 F.Supp.2d 92. 97 (D.D.C. 2013) (noting that a prospective waiver of tort liability
is unenforceable in D.C. unless clearly and unambiguously stated and only to the extent conduct
is not grossly negligent, reckless, or intentional). As with the confidentiality provision,
Defendants slate that this portion of the arbitration clause is indispensable. See Pl.'s Suppl. Info,
Aug. 1,2018 email from Defendants’ counsel to AAA [Dkt. 28-1] (stating that "the disputes
provision of Mr. Seibert's contract with PCS prohibits any attempt to join in the arbitration any
individual associated with either of the parties therein.... PCS would not have entered into that
contract with Mr. Seibert if that disputes provision and its protections for individual personnel
had not been included in the contract"). This provision in the arbitration clause is also undisputed
and weighs in favor of its unconscionability.

C. Motion to Dismiss

Defendants insist that since the contract contains an arbitration provision, the Court is required to
dismiss Mr. Seibert's Complaint for lack of subject-matter jurisdiction. However, the arbitration
provision in the contract does not divest the Court of subject-matter jurisdiction to determine
whether the parties must submit their claims to arbitration. See Nelson v. Insignia/ESG, Inc., 215
F.Supp.2d 143, 146 (D.D.C. 2002). As the above discussion of the FAA, FTCA § 45b, and Mr.
Seibert's arguments demonstrates, while arbitration is generally preferred, courts may review the
validity of an arbitration agreement. Epic Sys., 138 S. Ct. at 1622 (noting the saving clause
"permits agreements to arbitrate to be invalidated by generally applicable contract defenses, such
as fraud, duress, or unconscionability") (citation omitted).

Derrick Sieber advanced numerous additional arguments, which PCS adopted in full. See PCS
MTD at 4 ("Defendant PCS now adopts all arguments that Derrick Sieber has made in [his]
filings and makes them part of this Motion."). Mr. Sieber's additional arguments are that: (1) the
parties intended to arbitrate "any and all disputes" and a valid arbitration has been initiated, D.
Sieber MTD at 5-6; (2) there is no basis to revoke or reform the contract. Id. at 6-7; (3) once
arbitration is underway, questions of arbitrability belong to the arbitrator, D. Sieber Reply at 3-4
(citing Howsam, 537 U.S. at 84); (4) the confidentiality provision in the contract would not
"prevent [Mr. Seibert] from seeking ... relief in either this Court or the D.C. Superior Court
through a motion to proceed under seal. . .," Id. at 6; (5) a "special arbitrator" could be authorized
to join Derrick Sieber to the arbitration if needed, id. at 6-8; (6) the merits arbitrator could
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declare the confidentiality provision unenforceable, id. at 8; (7) the merits arbitrator could
declare the 30-day period for making claims unenforceable, id. at 8-9; and (8) the merits
arbitrator could order appropriate relief if allegations of fraud, threats, or intimidation were
found convincing. Id. at 9.

The Court is unpersuaded. It finds, as counsel for Defendants and Defendants' past conduct have
made clear, that the confidentiality provision in the arbitration clause was critical to the
Contract's acceptance by PCS. However, as enforced by Defendants, such a confidentiality
provision interferes with a client's right to challenge its obligation to arbitrate, as here, or to gel
any arbitral award enforced.- Since both of these rights are part and parcel of the FAA §§ 4 and
9, availing oneself of these rights in court does not and cannot interfere with the policy goals of
the statute. The attempted protection of "any director, officer, employee or agent of, or anyone
else associated with, one of the principals to this contract" interferes with the same client rights
under the FAA because Derrick Sieber is a necessary party to actions under §§ 4 or 9.

Further, Defendants have misread Howsam v. Dan Witter Reynolds. Inc. What the Supreme
Court held was that "a gateway dispute about whether the parties are bound by a given
arbitration clause raises a 'question of arbitrability' for a court to decide." 537 U.S. at 84 (citing
First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938. 943-46 (1995)). Thus, "[t]he question
whether the parties have submitted a particular dispute to arbitration, i.e., the 'question of
arbitrability,' is 'an issue for judicial determination unless the parties clearly and unmistakably
provide otherwise.'" Id. at 83 (quoting AT&T Techs., 475 U.S. at 649). Howsam distinguished
"'procedural' questions which grow out of the dispute" which are presumptively for an arbitrator
to decide. Id. at 84. Inasmuch as Mr. Seibert seeks to benefit from the express provisions of the
FAA, his Complaint arises under federal law and asks the most fundamental of questions, that is,
is the arbitration clause in the PCS contract enforceable as a matter of law?

IV. CONCLUSION

The Court concludes, for the reasons stated, that this particular arbitration clause is
unconscionable and in violation of federal law. It cannot be enforced. The Court will grant Mr.
Seibert's Motion to Stay [Dkt. 2] and order a stay of the arbitration and any award. The Court
will also grant PCS's Motion to Vacate Clerk's Entry of Default [Dkt. 11] and deny Defendants'
Motions to Dismiss [Dkts. 14 and 24]. A memorializing Order accompanies this Memorandum
Opinion.

FootNotes


1. Stephen Sieber is no longer a defendant as the parties voluntarily dismissed him on May 23,
2018. See Notice of Voluntary Dismissal [Dkt. 7].
2. See also Mem. in Opp'n to Mot. of PCS to Vacate the Pending Default Notice (Opp'n to
Vacate) [Dkt. 15]; Reply of Def. PCS in Supp. of its Mot. to Vacate [Dkt. 17].
3. See also Mem. in Opp'n to Mot. of Derrick S. Sieber to Dismiss or Stay (Opp'n to D. Sieber
MTD) [Dkt. 16]; Reply of Def. Derrick S. Sieber in Supp. of his Mot. to Dismiss or Stay (D.
Sieber Reply) [Dkt. 18]; Mem. in Opp'n to Mot. of PCS to Dismiss or Stay [Dkt. 29].
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4. The Court also notes that Mr. Seibert filed an Amended Affidavit of Service as to PCS on May
31,2018 and a Second Amended Affidavit of Service as to PCS on July 9, 2018. See Amended
Affidavit of Service [Dkt 13]; Second Amended Affidavit of Service [Dkt. 22]. The First
Amended Affidavit explained Stephen Sieber's acceptance of service and the Second Amended
Affidavit indicated that Mr. Seibert sent a second copy of the summons and complaint via
certified mail to Mr. Lyle, PCS's registered agent, at the address of record and the delivery was
refused.
5. Mr. Seibert also complains that PCS "failed to obtain required permits to perform the work
and intentionally misrepresented this fact." Stay Mem. at 6.
6. Because it resolves these motions on other grounds, the Court does not address the 30-day
limitation on bringing claims against the contractor.
7. Mr. Seibert further claims that PCS aggressively threatens to employ the confidentiality
provisions against unhappy consumers. Stay Mem. at 7-8; see also S. Sieber Email at 2 (warning
that "PCS's statement of claims in the AAA matter calls for Mr. Siebert [sic] to pay not only for
the extra work he ordered, but also $200,000 in damages caused by the public filing of the
Federal lawsuit.... As the damage increases we will amend our claim upwards accordingly.")
(emphasis in original); see also Opp'n to D. Sieber MTD at 13 (referencing litigation in D.C.
Superior Court, see infra, in which Derrick Sieber counterclaimed under the confidentiality
provision when a client attempted to sue to enforce an arbitration award).
8. There is no contention that the clause for binding arbitration in the construction contract at
issue here was not form language (as is obvious from its appearance) and presented to Mr.
Seibert without individual negotiation.
9. Defendants suggest access to the courts for enforcement of an award can be obtained by filing
under seal. But the federal courts are public places. Sealed cases are highly unusual in the federal
courts and nothing about a run-of-the-mill arbitration award enforcement would easily receive
such treatment.
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                         EXHIBIT 2
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HomeAdvisor Terms and Conditions
This Website and the services of HomeAdvisor (the "Services") are offered to you, conditioned
on your acceptance without modification, of the following terms, conditions, and notices
contained in this agreement (the "Terms and Conditions"). Your use of this Website or
submission of service requests via telephone constitutes your agreement to all such terms,
conditions, and notices in effect at such time. These Terms and Conditions apply to any Services
or properties such as websites or apps owned and operated by HomeAdvisor (including but not
limited to HomeAdvisor.com, the DesignMine website and app, ProFinder app, HomeSavvy app,
Home911 app, etc) and collectively referred to herein as "HomeAdvisor," on which a link to
these Terms & Conditions appears. If you have any questions regarding these Terms &
Conditions, you may contact us at www.HomeAdvisor.com. We may amend these Terms &
Conditions at any time by posting a revised version of these Terms and Conditions. These Terms
& Conditions were last updated on August 8,2019.

IMPORTANT; PLEASE REVIEW THIS AGREEMENT CAREFULLY. IN
PARTICULAR, PLEASE REVIEW THE MUTUAL ARBITRATION PROVISION IN
SECTION 19.

   1. INTRODUCTION TO HOMEADVISOR
      Upon registration, you may choose your own password or HomeAdvisor will assign you
      a password to access the Services through the HomeAdvisor website or apps.

   2. THE STANDARD SERVICES (FIXED PRICE SERVICES ARE SET FORTH IN
      SECTION 12)
      At HomeAdvisor we are committed to making your total HomeAdvisor experience a
      positive one. There are several ways you can find service professionals through
      HomeAdvisor (collectively, "Service Professionals"). Profinder is our service where you
      request a referral for a specific task, and we refer you to up to four Service Professionals.
      Also you may select or search for individual Service Professionals from our Live
      Directory (a.k.a. Pro Reviews), a directory of Service Professional members along with
      their ratings and reviews.

          1. ProFinder. Upon entering your information and the request for which you would
             like a Service Professional, we will attempt to match you with up to four Service
             Professionals in your area, who may be interested in fulfilling your service need.
             However, we do not guarantee that we will be able to match your service needs
             with a Service Professional or that there are Service Professionals in your area
             that are either capable or willing to complete your service needs.
          2. LiveDirectory (a.k.a. ProReviews). You can view a directory of Service
             Professionals in your selected zip code who provide services in the project
             categories that you select. These listings include ratings and reviews of those
             Service Professionals from their customers, when available.
          3. Instant Connect. With Instant Connect, you can request that HomeAdvisor
             connect you with a Service Professional by phone immediately. If you request.
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          HomeAdvisor will search for a Service Professional and connect you with them
          by phone.
     4.   Instant Booking. You can choose to schedule appointments \vith certain of our
          Service Professionals right on the HomeAdvisor website. Please be aware that
          HomeAdvisor does not guarantee that the Service Professionals will be on time
          for, or show up for, any such booked appointments, as the Service Professionals
          are not the employees, contractors or agents of HomeAdvisor. HomeAdvisor is
          solely providing the platform to facilitate scheduling of appointments between
          you and the Service Professionals.
     5.   No Guarantees or Endorsements. Although we take certain steps to examine the
          credentials of the Service Professionals listed on our website or whom you may
          book using our Services, we make no guarantees, warranties or representations
          regarding the skills or undertakings of such Service Professional or the quality of
          the job that he or she may perform for you if you elect to retain their
          services. HomeAdvisor does not endorse or recommend the services of any
          particular Service Professional. Except as set forth below in Paragraph 11 and
          Paragraph 12, we do not independently verify their representations about their
          services, nor validate any reviews. It is entirely up to you to evaluate the Service
          Professional and the Service Professional's qualifications, and to enter into a
          direct contract or othervsise reach agreement with a Service Professional. We do
          not guarantee or warrant any Service Professional's performance on the job or the
          outcome or quality of the services performed. The Service Professionals are not
          employees or agents of HomeAdvisor, nor is HomeAdvisor an agent of the
          Service Professionals.
     6.   No Contracting via the HomeAdvisor Website. HomeAdvisor may inform you
          of certain offers or discounts provided by a Service Professional. Such offers or
          discounts are made solely by the Service Professional, and HomeAdvisor does not
          guarantee or warrant the pricing or discounts that a Service Professional may offer
          you. Any quotes provided by Service Professionals via the HomeAdvisor or apps,
          or which you find on the HomeAdvisor or apps, are not contractually binding
          offers, are for informational purposes only, and cannot be accepted on or via
          HomeAdvisor. No contractual arrangement is created based upon the quotes
          provided to you from Service Professionals (or your scheduling of an appointment
          with a Service Professional) via HomeAdvisor. To contract with a Service
          Professional, you must work directly with the Service Professional. HomeAdvisor
          does not perform, and is not responsible for, any of the Services requested by you
          in your service request. Your rights under contracts you enter into with Service
          Professionals are governed by the terms of such contracts and by applicable
          federal, state, provincial and local laws. HomeAdvisor is not a party to such
          agreements. All payments and applicable taxes must be made to the Service
          Professional in accordance with the agreements.
     7.   Release from Damages or Claims. Should you have a dispute with respect to
          any services provided by a Service Professional or the fees charged by any
          Service Professional, you must address such dispute with the Service Professional
          directly (although you may copy HomeAdvisor on the fee disputes). YOU
          HEREBY AGREE TO RELEASE HomeAdvisor (AND OUR OFFICERS,
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           DIRECTORS, SHAREHOLDERS, AFFILIATES, EMPLOYEES AND
           AGENTS) FROM ANY DAMAGES OR CLAIMS (INCLUDING
           CONSEQUENTIAL AND INCIDENTAL DAMAGES) OF EVERY KIND OR
           NATURE, SUSPECTED AND UNSUSPECTED, KNOWN AND UNKNOWN,
           AND DISCLOSED OR UNDISCLOSED, ARISING OUT OF OR IN ANY
           WAY CONNECTED WITH SUCH DISPUTES AND YOUR DEALINGS WITH
           SERVICE PROFESSIONALS.

3. YOUR USE OF THE HOMEADVISOR SERVICES AND PROHIBITED USES
   You acknowledge and agree that your use of HomeAdvisor is for your personal use and
   not for advertising or commercial purposes. You agree not to copy/collect HomeAdvisor
   content via robots, spiders, scripts, scrapers, crawlers, or any automated or manual
   equivalent (e.g., by hand). You may not use HomeAdvisor to recreate or compete with
   HomeAdvisor, to solicit or harass Service Professionals, or for any other purpose not
   contemplated herein. You acknowledge that a violation of the foregoing could result in
   significant damages, and you agree that you are liable to HomeAdvisor for any such
   damages, and will indemnify HomeAdvisor in the event of any claims against
   HomeAdvisor based on or arising from your violation of the foregoing. We reserve the
   right to revoke your access to any HomeAdvisor Services, products or properties at any
   time. All information about Service Professionals is confidential and for your personal
   use only. If it is determined or suspected by HomeAdvisor in its sole discretion that you
   are misusing or attempting to misuse or circumvent the HomeAdvisor services or system,
   or are using or attempting to use them for any inappropriate or non-personal purposes,
   including but not limited to activities such as hacking, scraping content, infiltrating,
   fraud, advertising, jamming or spamming, HomeAdvisor reserves the right, in its sole
   discretion, to immediately terminate your access without notice and to initiate without
   notice appropriate legal actions or proceedings to seek appropriate remedies and/or
   damages, including but not limited to lost revenue, repairs, legal fees, costs and expenses,
   and to seek injunctions or other equitable remedies.

4. PAYMENTS
   We may allow you to pay for goods or services provided by Service Professionals,
   through the HomeAdvisor website, apps, or services. Should you have any dispute with
   the goods or services provided by the Service Professional(s) you select, as set forth in in
   Section 2, #7, you must contact the Service Professional and resolve such dispute with
   the Service Professional. However, if the dispute is regarding the amount of money that
   you paid for the services by the Service Professional (including that you were not charged
   the amount you agreed to in your agreement with the Service Professional) please advise
   us immediately. If we have not heard from you with documented proof of any issues
   provided within ten (10) days after the payment has been made for the Service
   Professional services, the purchase of the services is final and you will not be entitled to a
   refund, except as may expressly be limited by Federal, state or local law.

5. INFORMATION YOU PROVIDE TO US/TCPA CONSENT
   Upon using HomeAdvisor, you will be prompted to disclose certain information
   about yourself and your service requirements, and you will be able to store information,
   such as home services records, on our website or apps. Some of this information will be
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   sent to Service Professionals, including Home Depot, who will need this information to
   respond to your request. By providing this information to us, or by submitting a service
   request, you are requesting, and you expressly consent to being contacted by us and by
   our Service Professionals, including Home Depot, via phone, fax, email, mail, text (SMS)
   messaging, push notifications, or other reasonable means, at any of your contact numbers
   or addresses, even if you are listed on any federal, state, provincial or other applicable
   "Do Not Call” list, in order that we may provide the Services set forth on our site, to
   service your account, to reasonably address matters pertaining to your account, including
   but not limited to notifying you of, or confirming, appointments that you have scheduled,
   or for other purposes reasonably related to your service request and our business,
   including marketing related emails. You also authorize HomeAdvisor to send you an
   automated prerecorded call confirming your service request, along with calls from up to
   four service professionals that can help you with your request to the land-line or mobile
   phone number you provided, and you understand that either HomeAdvisor or the Service
   Professionals may use automated phone technology (including autodialed and
   prerecorded messages) to provide you with operational communications concerning your
   account or use of the Services, updates concerning new and existing features on the
   HomeAdvisor website, communications concerning promotions run by us, and news
   concerning HomeAdvisor and industry developments, and that your consent is not
   required to purchase products or services. For complete details on our use of your
   information, please see our privacy statement. You agree that by completing a service
   request, you are entering into a business relationship with HomeAdvisor and/or a Service
   Professional and thus agree to be contacted by HomeAdvisor and/or a Service
   Professional. You promise that all information you provide (including but not limited to
   your contact information, and any Ratings and Reviews of Service Professionals that you
   provide) will be accurate, current and truthful to the best of your knowledge. If you
   provide any information that is untrue, not current or incomplete, or HomeAdvisor has
   reasonable grounds to suspect that such information is untrue, inaccurate, not current or
   incomplete, HomeAdvisor has the right to refuse any current or future use of the
   HomeAdvisor Services (or any portion thereof) by you. You are responsible for any use
   of the HomeAdvisor Services by persons to whom you intentionally or negligently allow
   access to your password. You acknowledge that you are not required to consent to
   receive promotional messages as a condition of using the Services. If a contact number
   you have provided to us is no longer your number, you agree to notify us promptly that
   you can no longer be reached at that number. You represent that you have received, and
   are authorized to convey to us, the consent of any authorized users on your account to be
   contacted by us as described in this Section. You agree that all consents provided in this
   Section will survive cancellation of your account. You may opt-out of receiving
   promotional or marketing texts or calls from HomeAdvisor at any time. You may opt-out
   of receiving all text (SMS) messages from HomeAdvisor (including informational or
   transactional messages) by replying with the word "STOP" to a text message from us;
   however you acknowledge that opting out of receiving all texts may impact your use of
   the Services. You also acknowledge that HomeAdvisor or its third party service providers
   may record customer service calls after notice to you and with your consent, in order to
   assist you when you contact our customer support services. You agree to HomeAdvisor's
   use of a service provider to mask your telephone number when you call or exchange text
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   (SMS) messages with a Service Professional using a telephone number provided by
   HomeAdvisor. During this process, HomeAdvisor and its service provider will receive in
   real time and store call data, including the date and time of the call or text (SMS)
   message, the parties' phone numbers, and the content of the text (SMS) messages. You
   agree to the masking process described above and to HomeAdvisor's use and disclosure
   of this call data for its legitimate business purposes.

   TO KNOWINGLY INPUT FALSE INFORMATION, INCLUDING BUT NOT
   LIMITED TO NAME, PHONE NUMBER, ADDRESS OR E-MAIL ADDRESS IS A
   VERY SERIOUS AND FRAUDULENT MATTER THAT COULD RESULT IN
   SIGNIFICANT COSTS AND DAMAGES INCLUDING INVASION OF PRIVACY
   RIGHTS, TO HomeAdvisor AND THE SERVICE PROFESSIONALS, AND TO
   CONSUMERS, AS WELL AS THE LOSS OF TIME, EFFORT AND EXPENSE
   RESPONDING TO AND PURSUING SUCH FALSE INFORMATION AND
   REQUEST, AND FURTHER, COULD RESULT IN REGULATORY FINES AND
   PENALTIES. ACCORDINGLY, IF YOU KNOWINGLY INPUT FALSE
   INFORMATION IN A SERVICE REQUEST, INCLUDING BUT NOT LIMITED TO
   SOME ONE ELSE'S NAME, E-MAIL ADDRESS, PHYSICAL ADDRESS OR PHONE
   NUMBER OR A RANDOM OR MADE UP NAME, ADDRESS, E-MAIL OR PHONE
   NUMBER YOU AGREE TO FULLY INDEMNIFY AND BE LIABLE TO
   HomeAdvisor AND EACH SERVICE PROVIDER WHO ACCEPTS SUCH SERVICE
   REQUESTS, FOR THE GREATER OF: (I) A MINIMUM AMOUNT OF $11,000 TO
   EACH OF HomeAdvisor AND EACH OF THE AFFECTED SERVICE
   PROFESSIONALS AND FOR EACH OF THE ACTUAL PERSON(S) AFFECTED BY
   ANY OF THE IMPROPER, INCORRECT OR FRAUDULENT INFORMATION YOU
   ENTER (FOR EXAMPLE THE ACTUAL OWNER OF THE E-MAIL ADDRESS OR
   PHONE NUMBER, ETC.), PER IMPROPER SUBMISSION, PLUS ANY
   ATTORNEYS FEES COSTS AND EXPENSE RELATING THERETO, IF
   APPLICABLE, OR (2) THE ACTUAL DAMAGES, DIRECT, PUNITIVE AND
   CONSEQUENTIAL, AND ANY REGULATORY OR JUDICIAL FINES OR
   PENALTIES THAT MAY ARISE FROM SUCH INTENTIONAL, MISLEADING,
   HARMFUL AND FRAUDULENT ACTIVITY, PLUS REASONABLE LEGAL FEES,
   COST AND EXPENSES RELATING THERETO, WHICH EVER IS GREATER.

6. PLATFORM MESSAGING
   By submitting a service request, you agree that HomeAdvisor and the Service
   Professionals may send you informational text (SMS) messages as part of the normal
   business practice of HomeAdvisor. These text (SMS) messages shall not be used for
   marketing purposes. You may choose to opt-out of receiving text (SMS) messages from
   HomeAdvisor at any lime by texting the word STOP to 62508 from the mobile device
   that is receiving the messages. You acknowledge that by opting out of receiving text
   (SMS) messages from HomeAdvisor and the Service Professionals, your use of
   HomeAdvisor Services may be impacted. HomeAdvisor and its affiliates may view,
   store, access and disclose messages exchanged between you and consumers transmitted
   via HomeAdvisor's messaging platform.
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7. DISPUTE RESOLUTION ASSISTANCE
   While we cannot guarantee the work performed by a listed Service Professional, and
   while we have no obligation to you with regard to your relationship with a Service
   Professional, the HomeAdvisor resolution process has been developed to try and assist
   you in resolving any disputes that may arise in the course of a home improvement repair
   or maintenance project with a Service Professional who you learned about through the
   HomeAdvisor Services. Without modifying our statements under this Agreement, we
   may, upon your request, provide limited assistance in resolving disputes between you and
   a Service Professional. You must participate and use good faith efforts to resolve
   problems through the HomeAdvisor resolution process. Such limited assistance in no way
   nullifies the release and indemnification described in these Terms & Conditions. You
   agree not to refuse to pay a Service Professional without a good faith basis for doing so.
   You agree that HomeAdvisor is not responsible for the accessibility or unavailability of
   any Service Professional or for your interactions and dealings with a Service
   Professional.

8. CALL RECORDING
   You acknowledge and agree that HomeAdvisor may monitor and/or record any telephone
   calls between you and HomeAdvisor.

9. USER GENERATED CONTENT
   You agree that all of the content and information posted by you or your agents or
   designees on HomeAdvisor, including but not limited to:

       o   Photographs or Images,
       o   Comments, Questions and/or Answers,
       o   Any other content
           (known collectively as "Content") is the sole and exclusive property of
           HomeAdvisor, and that you have no right to reproduce, post, publish, or otherwise
           use such information other than for your personal use relating to your service
           request.

       4. Our Right to Use Your Content. You acknowledge and agree that any Content
          you post or provide may be viewed by the general public and will not be treated
          as private, proprietary or confidential. You authorize us and our affiliates,
          licensees and sub-licensees, without compensation to you or others, to copy,
          adapt, create derivative works of, reproduce, incorporate, distribute, publicly
          display or otherwise use or exploit such Content throughout the world in any
          format or media (whether now known or hereafter created) for the duration of any
          copyright or other rights in such Content, and such permission shall be perpetual
          and may not be revoked for any reason. Further, to the extent permitted under
          applicable law, you waive and release and covenant not to assert any moral rights
          that you may have in any Content posted or provided by you.
       5. Grant of License. You hereby grant HomeAdvisor and its users a perpetual, non­
          exclusive, royalty-free, transferable, assignable, sub-licensable, worldwide license
          to use, store, display, reproduce, modify, create derivative works, perform,
          distribute, print, publish, disseminate and place advertising near and adjacent to
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       your Content in any format or media (whether now know or hereafter created) on
       the HomeAdvisor and apps in any manner that we deem appropriate or necessary,
       including, if submitted, your name, voice and likeness throughout the world, and
       such permission shall be perpetual and cannot be revoked for any reason.
    6. Representation of Ownership and Right to Use Content. By posting or
       providing any Content to HomeAdvisor, you represent and warrant to
       HomeAdvisor that you own or have all necessary rights to use the Content, and
       grant to HomeAdvisor the rights granted below. The forgoing representation
       includes, but is not limited to a representation and warranty that you own or have
       the necessary rights (including any necessary releases) to grant all rights granted
       below in relation to any persons, places or intellectual property pictured in any
       photographic Content that you provide. In addition, if you post or otherwise
       provide any Content that is protected by copyright, you represent that you have
       obtained any necessary permissions or releases from the applicable copyright
       owner.
    7. Content Guidelines. HomeAdvisor reserves the right, but not the obligation, to
       edit or abridge, or to refuse to post, or to remove any content that you or any other
       users post on any HomeAdvisor owned or operated websites or apps if
       HomeAdvisor determines (in its sole discretion) that such content contains or
       features any of the following:

            1. Offensive, harmful and/or abusive language, including without limitation:
                expletives, profanities, obscenities, harassment, vulgarities, sexually
                explicit language and hate speech (e.g., racist/discriminatory speech.)
           2.   References to illegal activity.
           3.   Language that violates the standards of good taste or the standards of this
                Site.
           4.   Statements that are or appear to be false.
           5.   Comments that disparage HomeAdvisor.
           6.   With respect to Ratings and Reviews of service professionals, all of the
                above and in addition the following:

                   1. Reviews that do not address the goods and services of the business
                      or reviews with no qualitative value (e.g., "work has not started
                      yet").
                   2. Comments concerning a different Service Professional.
                   3. Information not related to work requested in the service request.
                   4. If a dispute arises between a consumer and professional, the rating
                      submitted may be held in pending status until resolution is reached.
                      You represent and warrant that any Rating and Review provided
                      by you is accurate and truthful, and that your will only provide a
                      Rating and Review for a service professional that has performed
                      services for you pursuant to your applicable service request.

    8. Ratings Explanation. Where Angie's List Service Professionals are displayed,
       the star rating is calculated based on a conversion of their Angie's List letter grade
       as follows:
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           Angie's List Grade         HomeAdvisor Star Rating
           A                         5
           B                         4
           C                         3
           D                         2
           F                         1

10. SERVICE PROFESSIONAL PRE SCREENING PROCEDURES AND
    DISCLAIMERS (DOES NOT APPLY TO FIXED PRICE SERVICES. PLEASE
    SEE SECTION 12 FOR SCREENING FOR FIXED PRICE SERVICES)
    Unless otherwise noted on the screening tab of a Service Professional's profile page,
    HomeAdvisor.com uses the following criteria as part of its registration enrollment
    process ("registration") for new Service Professional businesses, with the exception of
    Corporate Accounts (as described below) and service professionals providing services in
    Canada (neither of which are screened) applying for membership in our network. We
    perform the below screening at the time of the Service Professional business' enrollment,
    and every two years thereafter:

       0. Licensing • We confirm that a prospective new SP business has any applicable
          required state-level trade licensing for the services for which we match them to
          consumers. Certain states may require state-level licensing for projects above
          specified dollar amounts. We recommend you confirm these licensing
          requirements with the business and the applicable state and local licensing
          authorities. In some states, licensing may be required by the county or local
          authority in which the work is being performed. We recommend you confirm
          these licensing requirements before proceeding with your project. Larger projects
          often require the use of sub-contractors for specific types of work (for example, a
          kitchen remodel may require an electrician or plumber). We recommend you
          verify that all the sub-contractors doing work on your project carry the
          appropriate licensing. Given the unique nature of California licensing,
          HomeAdvisor relies on representations of service professionals that are using a
          California General building contracting license to cover home improvement tasks
          that such service professionals are performing more than one task as defined and
          required by California licensing rules. We always recommend that you ask the
          business to provide you with a copy of their license.
       1. State Business Filings - For service professionals that are corporations or limited
          liability companies, we confirm that the business is registered in the state in which
          it is located.
       2. Criminal Records Search - We use third party data sources to conduct a criminal
          search, in the state in which the owner/principal of the company is located, for
          any relevant criminal convictions associated with the owner/principal of the
          business, within the three years prior to such service professional's application for
          membership in the HomeAdvisor network and every two years thereafter.
          HomeAdvisor's third-party vendor uses a national criminal database ("NCD") to
          screen our service professionals. The comprehensiveness of the NCD varies by
          state. Please be aware that the reporting in the NCD is particularly limited in the
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        following states: AL, CO, DE, GA, ID, KS, LA, ME, MA, MI, MS, MT, NE, NV,
        NH, NM, SD, UT, VA, VT, and WY.
     3. Sex Offender Search - We check the websites that consolidate state sex offender
         information in the state in which the owner/principal of the company is located to
        confirm that there is not a match based solely on the name of the owner/principal
        of the company. We do not run sex offender searches in any other states. Please
        note that only a fingerprint match can guarantee an accurate match for a sex
        offender search. We recommend that you check the applicable state sex offender
        websites for any individuals that will be performing work in your home.
     4. Identity Verification (Social Security Number) - HomeAdvisor verifies the
        social security number of the business owner/principal to confirm their identity.
        (This applies primarily to small businesses.)
     5. Legal Search for Civil Judgments - We use third party data sources to check,
        within the 12 months prior to the service professional's application for
        membership in the HomeAdvisor network, for significant state-level civil legal
        judgments or liens entered against the owner/principal by business customers and
        for bankruptcy filings by or against the owner/principal, in the state in which the
        owner/principal of the company is located.

        WE PERFORM THE ABOVE SCREENING BASED UPON
        INFORMATION PROVIDED TO US BY THE SERVICE PROFESSIONAL
        (E.G. NAME OF OWNER, BIRTHDATE, SOCIAL SECURITY NUMBER)

        NOTE: HOMEADVISOR PERFORMS SCREENING SOLELY AT THE TIME
        THE SERVICE PROFESSIONAL APPLIES FOR MEMBERSHIP IN THE
        HOMEADVISOR NETWORK, AND EVERY TWO YEARS THEREAFTER,
        AND THEREFORE A SERVICE PROFESSIONAL'S INFORMATION MAY
        CHANGE OR EXPIRE OVER TIME, AND BETWEEN SCREENINGS. THUS,
        HOMEADVISOR CANNOT AND DOES NOT WARRANT OR REPRESENT
        THAT PROFILE AND SCREENING INFORMATION IS UP TO DATE.
        HOMEADVISOR IS UNDER NO OBLIGATION TO UPDATE A SERVICE
        PROFESSIONAL'S SCREENING INFORMATION. WE RECOMMEND THAT
        BEFORE WORKING WITH A SERVICE PROFESSIONAL YOU VERIFY
        THAT INFORMATION PRESENTED IN THE SERVICE PROFESSIONAL'S
        PROFILE IS STILL ACCURATE, CURRENT AND ACCEPTABLE TO YOU.

        Corporate Accounts: Some Service Professionals are employees, franchisees,
        dealers, or independent contractors ("Corporate SP's") of larger national or
        corporate accounts ("Corporate Accounts"). In such event, you may be matched
        with the Corporate Account entity or with one of their Corporate SP's. The above
        screening criteria is not applicable to Corporate Accounts, and therefore,
        HomeAdvisor does not screen the Corporate Accounts or Corporate SP's.

        Service Professionals Profiles: HomeAdvisor allows Service Professionals to post
        profiles about themselves and their business on the HomeAdvisor or apps.
        HomeAdvisor does not review or verify the information or representations set
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           forth in those profiles, except as expressly set forth above, as they are self-
           reported by the Service Professional. HomeAdvisor therefore makes no
           representations or warranties regarding any information posted by a Service
           Professional, and assumes no liability for such information.

           The above procedures may change from time to time at the sole discretion of
           HomeAdvisor. HomeAdvisor believes that it uses commercially reasonable
           methods to check these matters but does not make any representations or
           warranties that members continue to meet the above screening criteria after the
           date of their enrollment in the HomeAdvisor network. When it comes to
           screening, every system has its flaws. That is because no background system in
           the U.S. is one hundred percent accurate. HomeAdvisor does not represent or
           warrant that the information received from state, provincial or other government
           agencies or from third party sources is accurate, error free, or that it is up to date
           or updated at the time that HomeAdvisor checks such information. Most agencies
           have periodic update cycles or schedules and this information is not updated on a
           real-time basis by such agencies and third party sources.

           DISCLAIMER: HOMEADVISOR EXPRESSLY DISCLAIMS ANY AND
           ALL WARRANTIES, EXPRESS OR IMPLIED RELATING TO THE
           SCREENING PROCESS, CRITERIA, PROCEDURES, OR
           INFORMATION OBTAINED OR PRESENTED IN THE SCREENING
           PROCESS OR DISCLOSURES INCLUDING BUT NOT LIMITED TO
           ANY WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
           PARTICULAR USE, OR THAT THE SCREENING OR VERIFICATION
           PROCEDURES OR STANDARDS ARE SUFFICIENT OR THAT THE
           INFORMATION RECEIVED IN THESE SCREENING OR
           VERIFICATION PROCEDURES IS ACCURATE, TIMELY OR ERROR
           FREE.

11. AFFILIATE SERVICE PROFESSIONAL PRE-SCREENING. While we will not
    match you with a service professional from our affiliates, we may display to you service
    professionals from our affiliates, including but not limited to Angie's List. These service
    professionals have NOT been screened by HomeAdvisor using the screening set
    forth in Section 10. Rather, these service professionals have been screened as follows:

   HomeAdvisor will only display Angie’s List Service professionals that

       0. Have an Overall "A" or "B: rating from member reviews;

       1. Have passed all background checks established by Angie’s List (as described
          below);

       2. Attest that they possess all applicable state and local licensing, registration, or
          other trade requirements to provide service for the Project or the project described
          in the Lead; and
       3. Are in good business standing with Angie's List
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         Angie's List has criminal background checks performed annually on the
         principal/owner or relevant manager of all "A"- and "B"-rated companies that are
         Certified Service Providers, that offer ecommerce offers, that receive leads
         through the Projects Submissions platform, or that are granted the Super Service
         Award. The background check currently is performed by American Business
         Services ("ABS"), a third-party screening company. Upon processing the
         background check, ABS will provide Angie's List with a simple "pass" or "fail"
         designation. A failed background check is one that finds one or more of the
         following: (1) any violent or theft conviction at a felony level in the last 7 years;
         (2) any sexual felony conviction or on a sexual offender registry at any time (no
         time limit); or (3) any pending felony charges involving any of types (1) or (2).

         ABS will provide Angie's List with only a pass or fail designation. Angie's List
         and its members will never see any content from background check results. Since
         we can only perform these background checks annually, we ask anyone with
         knowledge of legal, ethical or financial concerns regarding a company contact us
         by either logging in and selecting Send A Message using our contact form.
         Angie's List will investigate any information we receive regarding a company's
         background.

          While we always strive to provide the most current information, we also
          recommend that you perform your own research on the companies you hire.



12. FIXED PRICE SERVICES
       0. HomeAdvisor (through its affiliate, Handy, Inc.), provides certain services
          labeled "Fixed Price Services." Through Fixed-Price Services, you will pay
          for your home service upfront and book the time and date of your service
          through our secure online portal. HOMEADVISOR, THROUGH THE
          HOMEADVISOR PLATFORM, OFFERS INFORMATION AND A
          METHOD TO OBTAIN PROFESSIONAL SERVICES AND/OR
          MERCHANDISE, BUT DOES NOT AND DOES NOT INTEND TO
          PROVIDE SUCH PROFESSIONAL SERVICES OR MERCHANDISE
          ITSELF OR ACT IN ANY WAY AS A RETAILER OR
          MANUFACTURER, OR AS A CLEANING, HANDYMAN, OR OTHER
          HOME-RELATED OR MOVING-RELATED SERVICE PROVIDER, AND
          EXPRESSLY DISCLAIMS ANY RESPONSIBILITY OR LIABILITY FOR
          ANY PROFESSIONAL SERVICES AND/OR MERCHANDISE
          PROVIDED TO THE REQUESTER, INCLUDING, BUT NOT LIMITED
          TO, A WARRANTY OR CONDITION OF GOOD AND WORKMANLIKE
          SERVICES, WARRANTY OF FITNESS FOR A PARTICULAR PURPOSE
          OR COMPLIANCE WITH ANY LAW, REGULATION, OR CODE.
          HOMEADVISOR IS NOT AFFILIATED WITH, ENDORSED OR
          SPONSORED BY ANY THIRD PARTY MERCHANDISE PROVIDER OR
          RETAILER.
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       1. SCREENING FOR FIXED PRICED SERVICES (NOTE: SCREENING
          FOR STANDARD SERVICES CAN BE FOUND IN SECTION 10).
          For Fixed Price Services, we use a multi-step process to screen potential cleaning
          and handyman service professionals. The process is designed to filter qualified
          potential cleaning and handyman service professionals with appropriate
          backgrounds in compliance with applicable law. The potential cleaning and
          handyman service professional must provide detailed personal information. These
          service professionals must provide their full name, address, date of birth, social
          security number, and a valid form of identification and validate their applicable
          home services experience. We verify these potential service professional's
          identities. For Fixed Price Services, we utilize Jumio, an identification
          verification company, to match the photographs and confirm the integrity of the
          identification documents. These service professionals then submit to a
          background check. For Fixed Price Services, we currently use a third-party
          background check provider, Checkr, Inc., to conduct the background checks.

          Checkr's Background Check Process

          Checkr, a third-party background check provider accredited by the National
          Association of Professional Background Screeners, conducts a record search
          which looks back at least seven years or longer in other jurisdictions when
          permitted by applicable law and available records. Checkr specifically conducts
          the following checks and searches:

          IDENTITY VERIFICATION Social Security Number (SSN) verification is the
          most efficient way to verify these potential service professional's identities. If an
          identity cannot be verified, the Checkr system alerts these potential service
          professionals to request additional documentation.

          ADDRESS HISTORY Checkr's Identity Check includes a trace of all known
          domestic addresses over the past seven years. Based on this information, Checkr
          searches relevant court jurisdictions for the same time period.

          Criminal Records Check

         COUNTY CRIMINAL RECORDS CHECK Checkr performs direct searches of
         county court records. Results include felony and misdemeanor criminal cases as
         well as, charges, disposition, dates and sentencing information.

         NATIONAL CRIMINAL RECORDS CHECK This check scours over 30 million
         records and is run concurrent with the county criminal records check.

         GLOBAL WATCHLIST CHECK This check searches known domestic and
         international terrorist watchlists as well as the records of the Office of Inspector
         General (OIG), Excluded Parties List (EPL) and additional domestic and
         international agency lists.
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       SEX OFFENDER REGISTRY CHECK Checkr searches registries for every state.
       In certain states, the information publicly available does not include all registered
       sex offenders and may not include all out-of-state sex offenders, depending on
       variations in state law.

       Review & Activation

       For Fixed Price Services, we review the background checks in compliance with
       applicable law before determining whether such applicant should be activated to
       use the platform.



    2. Fixed Price Services Recommendations Explanation. All recommended Fixed
       Price Professionals have received a "star" rating of at least four stars. These Fixed
       Price Professionals are recommended by other consumers, not by HomeAdvisor,
       and the number of reviews represents the number of reviews for all Fixed Price
       Services rather than for a particular category of Fixed Price Services or a
       particular Fixed Price Professional.

    3. Fixed Price Payments

           1. Payments. Users of the HomeAdvisor Platform for Fixed Price Services
              purchased and paid for on the HomeAdvisor website, contract for
              Professional Services directly with other Users. HomeAdvisor is not a
              party to any contracts for Professional Services. The HomeAdvisor
              Platform facilitates these contracts by supplying a medium through which
              individuals seeking to obtain services ("Requesters") can connect with
              individuals seeking to provide services ("Professionals"), schedule certain
              services requested by the Requesters, which are to be completed by the
              Professionals, are hereinafter referred to as "Professional Services", and
              make payments for Professional Services ("Payments"). Requesters are
              obligated to pay in advance for the Professional Services they order
              through the HomeAdvisor Platform. Prior to the scheduled Professional
              Service, we will charge the Requester's credit card according to the
              amount the Requester has agreed to on the HomeAdvisor Platform with
              respect to all Professional Services, the Requester has ordered, and for all
              purchases and payments for reimbursement costs, fees or expenses
              associated with a Professional Service as well as the Trust and Support
              Fee (as defined in Section 12.e. below), and the Requester hereby
              authorizes us to charge the credit card on file in the Requester's
              HomeAdvisor Platform account for such amounts. We will use third party
              services to process credit card information. By accepting this Agreement,
              you are giving HomeAdvisor (or a third-party payment processor on
              HomeAdvisor's behalf) permission to charge your on-file credit card, debit
              card, or other approved methods of payment for fees that you owe
              HomeAdvisor. Depending on the transaction you selected or services
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              requested, HomeAdvisor may charge you on a one-time or recurring basis.
              Ail information that you provide in connection with a purchase or
              transaction or other monetary transaction interaction with the Professional
              Services must be accurate, complete, and current. You agree to pay all
             charges incurred by users of your credit card, debit card, or other payment
             method used in connection with a purchase or transaction or other
              monetary transaction interaction with HomeAdvisor at the prices in effect
              when such charges are incurred. We retain the right, in our sole discretion,
              to place a hold on the Requester's credit card for an ordered or completed
              Professional Service transaction. Seventy-two (72) hours after a
              Professional Service is completed, if there is no complaint by the
             Requester, we will mark the Professional Service as closed. If the
              Requester has agreed with the Professional to extend or reduce the hours
              in or to reschedule a requested Professional Service, the Requester bears
             the responsibility for notifying HomeAdvisor. Requesters must notify
             HomeAdvisor by changing the date or hours of the requested Professional
             Service through the HomeAdvisor Platform. All Payments by Requesters
             must be made through the HomeAdvisor Platform. Any Payments paid or
             Professional Services scheduled outside of the HomeAdvisor Platform are
             not subject to our HomeAdvisor Happiness Guarantee in Section 12.d.
             below. Except for the HomeAdvisor Happiness Guarantee in Section
              12.d., no refunds or credits will be provided once the Requester's credit
             card has been charged, except that at our sole discretion, refunds or credits
             may be granted in extenuating circumstances, as a result of specific
             promotions, or to correct any errors we have made. While we will use
             commercially reasonable efforts to ensure the security of all credit card
             and all other personal information, we expressly disclaim any liability for
             any damage that may result should any information be released to any
             third parties, and you agree to hold us harmless for any damages that may
             result therefrom. Requesters will be liable for all transaction taxes on the
             Professional Service(s) provided (other than taxes based on
             HomeAdvisor’s income). If we determine that your actions or performance
             may result in returns, chargebacks, claims, disputes, violations of our
             terms or policies, or other risks to HomeAdvisor or third parties, then
             HomeAdvisor may withhold any payments to you for as long as we
             determine any related risks to HomeAdvisor or third parties persist. For
             any amounts that we determine you owe us, we may (a) offset any
             amounts that are payable by you to us (in reimbursement or otherwise)
             against any payments we may make to you or amounts we may owe you;
             (b) invoice you for amounts due to us, in which case you will pay the
             invoiced amounts upon receipt; (c) reverse any credits to your bank
             account; or (d) collect payment or reimbursement from you by any other
             lawful means. If we determine that your account has been used to engage
             in deceptive, fraudulent, or illegal activity, or to repeatedly violate this
             Agreement, then we may in our sole discretion permanently withhold any
             payments to you.
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            2. Job Rate. The rate per hour for a Professional Service ("Job Rate")
               depends on factors, such as location and how frequently a Recurrent
               Service is ordered, and payment terms may increase. Therefore, the same
               Professional Service may cost more in a different location or if the
               Professional Service is ordered less frequently. However, you will be
               notified prior to any such payment increase with sufficient notice to enable
               you to cancel the Recurrent Service as set forth herein.

            3. Recurrent Service. When requesting a Professional Service, Requesters
               may have the option of choosing that the Professional Service be repeated
               on a regular basis ("Recurrent Service"). For example, a Requester may
               choose that a cleaning be performed every two weeks. When a Requester
               chooses a Recurrent Service, the HomeAdvisor platform will
               automatically schedule that Recurrent Service to occur on future dates
               indefinitely at the frequency requested by Requester. Requester's credit
               card will be charged the same non-promotional amount, as originally
               disclosed to Requester at the time of signing up for Recurrent Service for
               the Recurrent Service as the Professional Service appointments occur and
               for any applicable cancellation fees. HomeAdvisor cannot guarantee that
               the same Professional will be available for each Recurrent Service
               appointment or that Recurrent Service appointments will not be canceled.
               Requesters may cancel the Recurrent Service at any time by visiting the
               HomeAdvisor Contact Center at
               https://www.homeadvisor.eom/contact/https://www.homeadvisor.com/con
               tact/ or by mailing a notice of cancellation to HomeAdvisor, Inc. Attn.:
               Legal, PO Box #1122, New York, NY 10159. Requesters must cancel
               more than twenty-four hours prior to the Professional Service in order to
               avoid being charged any cancellation fees and/or for the next Professional
               Service. After signing up for a Recurrent Service, you will be provided an
               email acknowledgment which includes information on how to cancel.

     4. HomeAdvisor Happiness Guarantee (APPLIES ONLY TO FIXED PRICE
        SERVICES); Claims
           1. The HomeAdvisor Happiness Guarantee provides certain limited
              additional protections for Professional Services. Pursuant to the
              HomeAdvisor Happiness Guarantee and subject to the below terms and
              conditions and limitations, HomeAdvisor will compensate Requesters: (a)
              subject to the exclusions below, up to USD $5,000 per occurrence for
              losses arising from property damage as a direct result of negligence of a
              Professional during performance of a Professional Service or (b)„
              provided, however, for losses arising from damage to floors and items
              containing granite, marble or any other stone work as a direct result of
              negligence of a Professional during performance of a Professional Service
              the amount shall be limited to up to USD $1,000; or (b) subject to the
              exclusions below, up to USD $5,000, in the aggregate, for losses arising
              from theft of a Requester's property by a Professional during performance
              of a Professional Service. The Service Requester is eligible for the
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              HomeAdvisor Happiness Guarantee provided that the Requester reports
              the issue within seventy-two (72) hours of the Professional Service
              appointment to our Requester service by visiting the Handy Contact
              Center at https://www.homeadvisor.com/contact/. If the Service Requester
              does not report the issue within seventy-two (72) hours of the Professional
              Service appointment, the claim is ineligible for the HomeAdvisor
              Happiness Guarantee. For Recurring Services, each Professional Service is
              treated as a separate occurrence.
           2. If you carry insurance that would cover you in the event of a claim, such
              as renter's insurance, homeowner’s insurance, automobile insurance or an
              umbrella policy ("Personal Insurance"), You agree that your Personal
              Insurance is primary and the HomeAdvisor Happiness Guarantee is
              secondary. The HomeAdvisor Happiness Guarantee will only compensate
              for losses to the extent not otherwise covered by your Personal Insurance
              and only as permitted herein
           3. A Requester will be covered under the HomeAdvisor Happiness
              Guarantee for a Professional Service, subject to the exclusions in
              subsection (iv) below, provided:
                  • The Professional Service is agreed to between a Requester and a
                      Professional using the HomeAdvisor Platform, performed by the
                      Professional hired by the Requester and paid for in full through the
                      HomeAdvisor Platform;
                  • The Requester has not violated this Agreement;
                  • The Requester has reported the claim within 72 hours of the
                      Professional Service; and
                  • The Requester's HomeAdvisor account is in good standing with no
                      outstanding balances owed to HomeAdvisor.
                  • The Requester has identified fragile and other breakable items and
                      communicated the location and identity of those items to the
                      Professional prior to the start of the Professional Service; andThe
                      Requestor has accounted for and secured all valuables prior to the
                      start of a Professional Service.
           4. What is excluded from the HomeAdvisor Happiness Guarantee? The
              "HomeAdvisor Happiness Guarantee" does not cover the following:
                  • losses arising out of acts of nature, including, but not limited to,
                      pollution, earthquakes and weather related events such as
                      hurricanes and tornadoes;
                  • losses arising out of interruption of business, loss of market, loss of
                      income and/or loss of use;
                  • losses for property damage and theft exceeding the original value
                      and/or replacement value for such property, less any standard
                      depreciation;
                  ■ losses arising from the acts or omissions of a Requester or third
                      party;
                  • losses arising from the negligence or misconduct of a third parly;
                  • losses arising from a manufacturer's or a product's defects;
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                 •   losses from pre-exisiing damages or conditions of the item or
                     property;
                 •   losses arising from items supplied by the Requester or due to
                     Requester recommendations (e.g., if a manufacturer recommends
                     affixing furniture to a wall and a Requester declines to have
                     furniture affixed, etc);
                 •   losses arising from flooding and/or water damage including mold,
                     fungi or bacteria;
                 •   losses arising from products containing hazardous or harmful
                     materials, acts of terrorism, product liability, or pollution;
                 ■   losses of cash, third party gift cards, and securities;
                 ■   losses as a result of an intentional wrongful act by a Professional;
                 ■    losses arising from normal wear and tear;
                 •    losses for items that retain their functionality; (e.g., minor cosmetic
                     damage, ordinary wear and tear, a t.v. that has a scratch on the
                     bezel);
                 •   losses for fine arts, which includes but is not limited to paintings,
                     etchings, printed photos, pictures, tapestries, rare or art glass, art
                     glass windows, valuable rugs, statuary, sculptures, antique
                     furniture, antique jewelry, bric-a-brac, porcelains, antique
                     automobiles, coins, stamps, other collectibles, collections, furs,
                     jewelry, precious stones, precious metals, and similar property of
                     rarity, historical value;
                 •   losses for damage beyond the specific damaged area (e.g., should
                     flooring sustain damage, any loss is limited to the replacement cost
                     of the square footage that was damaged after deducting for
                     obsolescence and physical depreciation);
                 ■   loss of use damages, including without limitation, loss of use such
                     as property, furniture and the costs of any storage, movement and
                     insurance of furniture in connection with loss of use;
                 •   losses excluded pursuant to Section 2 and Section 20 of the
                     Agreement;
                 •    losses based on sentimental and/or undocumented intangible value;
                 •   losses or damages associated with the unauthorized acquisition of,
                     access to, destruction of, and/or loss of electronic data, including
                     but not limited to films, records, manuscripts, drawings or
                     photographs, data, information, audio or video recordings, files,
                     facts, programs or other materials stored as or on, created or used
                     on, or transmitted to or from, computer software, including
                     systems and applications software, hard or floppy disks, CD-
                     ROMs, tapes, drives, cells, data processing devices, cloud storage,
                     or any other media which are used with electronically-controlled
                     equipment;
                 •   losses related to repairs outside of the area where the Professional
                     Services were performed;
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                  •   losses of pets, personal liability or damage to shared or common
                      areas;
                   • losses arising from shipping costs and/or shipping of replacement
                      items and/or taxes incurred in purchasing the original and/or
                       replacement items;
                   • losses of theft without a valid police report, if requested by
                      HomeAdvisor; and losses with insufficient documentation; and
                   • losses occurring after, or unrelated to, the performance of a
                       Professional Service;
                   • losses involving products or services, or uses of either, that are
                      prohibited by law;
                   • losses due to unforeseeable or latent defects in the premises;
                   • losses related to services not explicitly booked through the
                       HomeAdvisor Platform; and
                   ■ losses reported by third parties.
           5. How do I submit a Claim? First report of a claim must be made within 72
              hours from when the Professional Service occurs. After the first report,
              you will be asked to complete the full claim form within 7 days of receipt.
              If you do not complete the claim form in its entirety within 7 days of
              receipt, your claim will no longer be eligible for the HomeAdvisor
              Happiness Guarantee. We urge you to read through these terms and
              conditions prior to submitting a claim. All claims will be reviewed on a
              case-by-case basis. During HomeAdvisor's claims assessment process, you
              may be required to provide written detailed: (I) proof of ownership of
              damaged/missing item; (2) proof of value of damaged/missing item; and
              (3) proof of damage or loss. If such information is requested, you will
              have 30 days from the date of the request to send HomeAdvisor the
              requested information. If you fail to provide the requested information
              within the 30 day time period and/or fail to contact HomeAdvisor to
              arrange for an extension of time. Your claim will be considered closed and
              no longer eligible for the HomeAdvisor Happiness Guarantee. You also
              agree to: (A) protect and preserve any damaged property that is the basis
              of a claim from further damage; (B) assist and allow HomeAdvisor or its
              insurers access to inspect and make copies, photographs and recordings of
              anything relating to the claim; (C) accept repairs and/or remediation by a
              Professional; (D) accept a replacement only if repairs are proven not to be
              an option; (E) submit requested materials by the dates outlined by the
              HomeAdvisor resolutions team; and (F) accept a replacement item subject
              to the standard depreciation of that item. If any part of Your claim is
              approved, then as a condition to any payment to You under the
              HomeAdvisor Happiness Guarantee, You will be required to execute and
              deliver to HomeAdvisor the release agreement within 14 days of receipt of
              the release agreement from HomeAdvisor, and assign to HomeAdvisor or
              its insurer any rights and remedies you may have to recover amounts paid
              to you with respect to an approved claim from any party that is financially
              responsible for the approve claims and any rights in any property that is
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                recovered. The release agreement shall be rescinded and considered null
                and void if not signed and returned to HomeAdvisor within 14 days of
                Your receipt and the claim shall no longer be eligible for the Handy
                Happiness Guarantee.
     5. HomeAdvisor Trust and Support Fee. HomeAdvisor may assess an additional
        "Trust and Support Fee" to support the Fixed Price services, including costs
        related to background checks, insurance, customer support, and related services
        provided to you by the HomeAdvisor Fixed Price services The Trust and Support
        Fee will be applied to each appointment of a Professional Service requested
        through the Fixed Price services (e.g., if you requested a Recurring Service, a
        Trust and Support Fee may be assessed on each Recurrent Service appointment).
        The amount of the Trust and Support Fee may vary but shall be retained by
        HomeAdvisor in its entirety.
     6. Cleaning Plan with a Minimum Commitment.
            1. Minimum Commitment Plan Term: If you have selected a Professional
                Services cleaning plan with a minimum commitment, your minimum
                commitment plan term commences on the date of your first appointment.
            2. Minimum Commitment Plan Cancellation Fee: If you have selected a
                Professional Services cleaning plan with a minimum commitment, you
                will be subject to and charged a cancellation fee up to USD $150 in the
                US should you elect to terminate the Professional Services cleaning plan
                prior to the expiration of your minimum commitment period.
            3. Rescheduling Cleaning Plan appointments during the Minimum
                Commitment Period: If you have selected a Professional Services cleaning
                plan with a minimum commitment, you can reschedule any cleaning plan
                appointment for free at least 24 hours in advance of the scheduled start
                time, provided such rescheduled appointment will occur within the
                minimum commitment period. If you reschedule between 2-24 hours
                before a scheduled Professional Service appointment, you will be charged
                a USD $15 fee. If you reschedule during the 2 hours before a scheduled
                Professional Service appointment, you will be charged the full
                Professional Service amount. If you skip any cleaning plan appointment
                within the minimum commitment period or reschedule any cleaning plan
                appointment within the minimum commitment period to outside of the
                minimum commitment period, your credit card will be charged for the
                amount of the appointment and in addition, your account will be credited
                the amount you are charged. Such merchandise credit will be available for
                your use during the minimum commitment period only as a merchandise
                credit to use to book one-off replacement cleaning appointments or
                handyman appointments, and after the minimum commitment period ends,
                you may apply such merchandise credits to cleaning appointments and
                handyman appointments. No monetary refunds will be provided for
                cleaning plan appointments that are skipped within the minimum
                commitment period or any cleaning plan appointment within the minimum
                commitment period that is rescheduled to outside of the minimum
                commitment period. In addition to the foregoing, if you skip any cleaning
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                 plan appointment between 2-24 hours before a scheduled appointment,
                 you will also be charged an additional USD $15 cancellation fee and if
                 you skip any cleaning plan appointment during the 2 hours before a
                 scheduled appointment, you will be charged the full amount of the
                 appointment, and will not be eligible for any credit.
             4. Expiration of Cleaning Plan with Minimum Commitment. Once your
                 minimum commitment period is complete, your selected plan will remain
                 active and the HomeAdvisor Platform will automatically schedule
                 Professional Service appointments to occur on future dates indefinitely at
                 the frequency requested by you and will charge your credit card based on
                 your selected time and frequency. You may cancel your plan in
                 accordance with the cancellation policy set forth in Section 3.g. below.
      7. Cancellation Policy for Service Cancellation by Requester of Cleaning Plans
         without a Minimum Commitment, Cleaning Plans after completion of the
         Minimum Commitment period and One-Time Professional Service
         appointments. HomeAdvisor’s cancellation policy for specific Professional
         Services is as follows: Requesters may cancel their scheduled Professional
         Service appointments through the HomeAdvisor Platform at any time, subject to
         the following conditions; (i) if a Requester cancels more than 24 hours before a
         scheduled Professional Service appointment, there is no cancellation fee; (ii) if a
         Requester cancels between 2-24 hours before a scheduled Professional Service
         appointment, the Requester will be charged a $15 cancellation fee; and (iii) if the
         Requester cancels during the 2 hours before a scheduled Professional Service
         appointment, the Requester will be charged the full Professional Service amount.
         This cancellation policy applies both for one-time Professional Service bookings
         and for recurring Professional Service appointments. A Professional Service
         appointment may be canceled through the HomeAdvisor Contact Center at
         https://www.homeadvisor.com/contact/ or by mailing a notice of cancellation to
         HomeAdvisor, Inc. Attn.; Legal, PO Box #I 122, New York, NY 10159.
      8. HomeAdvisor Select.
             1. Membership: HomeAdvisor may from time to time offer Requesters the
                 opportunity to purchase one-time cleaning Professional Services provided
                 the Requester first agrees to purchase an annual or monthly HomeAdvisor
                 Platform Select Membership ("HomeAdvisor Select").
             2. Billing and Renewal: When you first sign up and purchase HomeAdvisor
                 Select, you will be billed immediately for your initial HomeAdvisor Select
                 subscription period. By enrolling in HomeAdvisor Select, in addition to
                 any Professional Services you purchase through HomeAdvisor Select, you
                 authorize HomeAdvisor to charge you for your initial HomeAdvisor
                 Select subscription period and a recurring annual or monthly membership
                 at the then current rate, which may change from time to time. Your
                 HomeAdvisor Select will automatically renew and prior to the start of the
                 next subscription period, you will be charged the applicable HomeAdvisor
                 Select fee to your provided payment method on a recurring basis until
                 canceled as set forth herein.
                 UNLESS YOU NOTIFY US BEFORE A CHARGE THAT YOU WANT
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                TO CANCEL OR DO NOT WANT YOUR HOMEADVISOR SELECT
                TO AUTO RENEW, YOU UNDERSTAND THAT YOUR
                HOMEADVISOR SELECT WILL AUTOMATICALLY CONTINUE
                AND YOU AUTHORIZE HOMEADVISOR (WITHOUT NOTICE TO
                YOU UNLESS REQUIRED BY APPLICABLE LAW) TO COLLECT
                THE THEN APPLICABLE MEMBERSHIP FEE AND ANY TAXES,
                USING ANY ELIGIBLE PAYMENT METHOD WE HAVE ON
                RECORD FOR YOU.
           3.   Cancellation Fees: The cancellation and rescheduling of any cleaning
                Professional Service while you are enrolled in HomeAdvisor Select is
                subject to the cancellation policy, including the payment of any
                cancellation fees, as further described in Section 3.g. above.
           4.   Declination of Payment: If an eligible payment method HomeAdvisor has
                on file for you is declined for payment, you must provide us with a new
                eligible payment method promptly or your HomeAdvisor Select will be
                canceled. If you provide us with a new eligible payment method and are
                successfully charged, your HomeAdvisor Select period will be based on
                the original enrollment or renewal date and not the date of the successful
                charge.
           5.   Cancellation of HomeAdvisor Select: You will not be charged a
                HomeAdvisor Select fee for the subsequent period if you cancel your
                HomeAdvisor Select at least three days before your next HomeAdvisor
                Select renewal date. You may cancel your HomeAdvisor Select by visiting
                the Handy Contact Center at
                https://www.homeadvisor.eom/contact/https://www.homeadvisor.com/con
                tact/ or by mailing a notice of cancellation to HomeAdvisor, Inc. Attn.;
                Legal, PO Box #1122, New York, NY 10159. Following cancellation of
                your HomeAdvisor Select you will continue to have access to your
                HomeAdvisor Select through the end of your current paid HomeAdvisor
                Select period. Should you cancel your HomeAdvisor Select, HomeAdvisor
                reserves the right to cancel any Professional Service appointments
                scheduled outside the current paid HomeAdvisor Select period.
           6.   HomeAdvisor Select Refunds: The HomeAdvisor Select fees are
                nonrefundable except as only permitted pursuant to this subsection (vi).
                Subject to the following sentence, if you cancel your purchase of
                HomeAdvisor Select within three days of (1) signing up for HomeAdvisor
                Select or (2) converting from a free HomeAdvisor Select trial to a paid
                HomeAdvisor Select, wc will refund your HomeAdvisor Select fee.
                Notwithstanding the preceding sentence, you are not eligible for any
                refund of the HomeAdvisor Select fee (a) if you purchased HomeAdvisor
                Select prior to the expiration of the minimum commitment period of a
                Professional Services cleaning plan with a minimum commitment or (b) if
                you have used your HomeAdvisor Select membership to purchase any
                Professional Services.
           7.   Membership Plans/Promotional Trial Memberships: HomeAdvisor
                sometimes offers certain Requesters various trial or other promotional
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                memberships, which are subject to these Terms except as otherwise stated
                in the promotional offers.
     9. Policy for Service Cancellation by Professional. When a Professional cancels a
         scheduled Professional Service appointment, HomeAdvisor generally notifies the
         Requester and makes the Requester's Professional Service request available for
         another Professional to select. However, HomeAdvisor cannot guarantee that a
         canceled Professional Service appointment will be selected by another
         Professional and rescheduled or that the Professional Service request will be
         completed. For Recurrent Service Requesters, if a Professional Service
         appointment is canceled by a Professional, Requester will not be charged for that
         Professional Service appointment. Professionals who cancel a scheduled
         Professional Service appointment may incur fees as provided in the Service
         Agreement.
     10. Special Promotions; Gift Cards and Vouchers.
             1. Changes to Promotions. We may from time to time provide certain
                promotional opportunities to Requesters. All promotions will be run at our
                sole discretion, and can be activated, modified or removed at any time by
                us without advance notification.
            2. Promotional Credit. Promotional credit is only eligible for the specific
                services designated by HomeAdvisor. Promotional credit is valid for a
                limited time only and expires on the date indicated when you receive the
                applicable promotional credit. Failure to use promotional credit before
                such expiration date v^ll result in the forfeiture of promotional credit.
                HomeAdvisor reserves the right to cancel promotional credit at any time.
                No refunds will be granted for any expired or canceled promotional credit.
                HomeAdvisor promotional credit has no intrinsic value, is not redeemable
                for cash, has no cash value, and serves merely as a means to recognize and
                provide an incentive to use the HomeAdvisor Platform. Promotional
                credits may not be purchased for cash and HomeAdvisor does not sell
                promotional credit. Promotional credit is nonrefundable. Promotional
                credits will not be applied against any sales, use, gross receipts or similar
                transaction based taxes that may be applicable to you, and/or fees or
                charges for use of any ineligible services. Your HomeAdvisor account will
                be billed for all fees and charges for use of any ineligible services. Each
                promotional credit can only be used once and your HomeAdvisor account
                will be billed for all fees and charges for use of any eligible service in
                excess of the amount of available promotional credit- Promotional credit
                you receive is personal to you. You may not sell, license, rent, or
                otherwise transfer promotional credit. Promotional credit may be applied
                only to your account, and may not be applied to any other account.
            3. Referral Credits. In the event that you are given a code through which you
                may refer a friend to HomeAdvisor in exchange for a referral credit, you
                shall not use any online marketing or advertising to promote such code or
                to artificially increase the amount of credits awarded. By way of example,
                you may not post, or cause, request or permit a third party to post any such
                code on a coupon website, nor use any paid search marketing, online
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              advertising, forum posting, newsgroup posting or bulk email to
              disseminate such code. You may only share such code with your personal
              friends and acquaintances for legitimate referral purposes, as determined
              by us in our sole discretion. HomeAdvisor referral credits are redeemable
              only for Professional Services. HomeAdvisor referral credits have no cash
              value and are not redeemable for cash unless otherwise required by law.
              Without limiting our other rights and remedies, we may terminate such
              code and/or your account for any breach of this Section. For questions or
              additional information, contact us at
              https://www.homeadvisor.com/contact/.
           4. Vouchers. HomeAdvisor vouchers or promotional codes for special offers
              or discounts ("Vouchers") may be available and can be used to pay in part
              or in full for Professional Services. You agree that you will only use one
              Voucher per person and will use Vouchers in accordance with the
              Voucher terms and conditions. You agree that you will comply with all
              Voucher terms and conditions. Use of Vouchers is further subject to the
              below terms and conditions regarding Gift Cards.
           5. Gift Cards. HomeAdvisor Gift Cards ("Gift Cards") are redeemable only
              for Professional Services. Gift Cards have no cash value and are not
              redeemable for cash unless otherwise required by law. Gift Cards must be
              presented at the time of purchase and any available balance will be applied
              to your purchase. Gift Cards do not expire and there are no inactivity,
              dormancy or service fees associated with Gift Cards. You agree that you
              will comply with all Gift Card terms and conditions. Gift Cards are not
              replaceable if lost or stolen, and cannot be combined with any other Gift
              Cards, Vouchers, gift certificates, or other coupons. Gift Cards cannot be
              used for previous purchases, credits, or the purchase of Gift Cards, and
              cannot be used to make a payment towards third parly items the balance
              on a credit card. We reserve the right to limit quantities of Gift Cards
              purchased by any person or entity and to cancel a Gift Card if we believe
              that the Gift Card was obtained through fraudulent or unauthorized means.
              Specifically, you may not purchase or obtain more than $10,000 in Gift
              Card value in any one day regardless of location, whether on a single Gift
              Card or multiple Gift Cards. Moreover, you may not purchase or obtain
              any one Gift Card with a value of more than $2,000 in any one day. No
              credit card, credit line, overdraft protection, or deposit account is
              associated with your Gift Card. Unused Gift Card balances are not
              transferable, and you may not sell a Gift Card or otherwise barter for its
              exchange although you may give a Gift Card to someone else as a gift. A
              Gift Card is void if copied, altered, transferred, purchased or sold.
              Purchases of Gift Cards are final and not refundable. All sales are final.
              We reserve the right to correct the balance of a Gift Card if we believe that
              a billing error has occurred, and we disclaim all liability for any such
              billing errors. Gift Cards and their use are subject to this Agreement
              (including the Privacy Policy) and use of a Gift Card constitutes
              acceptance thereof Applicable terms and conditions are subject to change
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                  without notice. If the laws pertaining to a Gift Card require additional or
                  different terms and conditions, then such terms and conditions shall apply.
                  For questions or additional information, contact us at
                  https;//www.homeadvisor.com/contact/. In the event you do not use your
                  Gift Card for a certain period of time, we may be required to turn over the
                  remaining Gift Card balance to a state under such state's unclaimed or
                  abandoned property law. Although your Gift Card does not expire, if we
                  are obligated to turn over the remaining balance of your Gift Card under a
                  state's unclaimed property law, by operation of law we will be released
                  from any further liability or obligation with respect to your Gift Card and
                  you may be required to contact the state's unclaimed property
                  administrator to attempt to recover your unused Gift Card balance. To
                  protect your right to continue to use your remaining Gift Card balance, we
                  will make reasonable efforts to exempt your Gift Card from state
                  unclaimed property laws.

13. RATINGS & REVIEWS ARE NOT ENDORSED BY HOMEADVISOR.COM
    All Ratings and Reviews of a Service Professional displayed to you reflect the opinions
    of other consumers, and do not reflect or represent the opinions or representations of
    HomeAdvisor. HomeAdvisor disclaims any and all representations or warranties with
    regard to the Ratings and Reviews. HomeAdvisor does not assume responsibility or
    liability for any Review or for any claims, damages, or losses resulting from any use of
    the Site or the materials contained therein.

14. ARTICLES AND OTHER CONTENT
    HomeAdvisor provides certain content relating to home improvement, repair,
    maintenance ("Articles"), on the HomeAdvisor or apps, and via mobile applications
    owned and operated by HomeAdvisor. Such Articles are provided "As-Is", without any
    warranties or representations, and you assume all liability and responsibility for your use
    of such Articles. You understand and agree that the Articles do not provide advice, and
    that such Articles are no substitute for the advice of a professional.

15. LINKS TO THIRD PARTY SITES
    The links in the HomeAdvisor or apps will let you leave HomeAdvisor's Web site. The
    linked sites are not under the control of HomeAdvisor and HomeAdvisor is not
    responsible for the contents or functionality of any linked site or any link contained in a
    linked site, or any changes or updates to such sites. Your use of such third party linked
    sites is governed by the terms and conditions, and privacy policies, of such linked sites.
    HomeAdvisor is not responsible for webcasting or any other form of transmission
    received from any linked site. HomeAdvisor is providing these links to you only as a
    convenience, and the inclusion of any link does not imply endorsement by HomeAdvisor
    of the site.

16. THIRD PARTY COPYRIGHTS AND OTHER RIGHTS
    HomeAdvisor respects the intellectual property rights of others. If you believe that your
    copyright has been infringed, please send us a notice as set forth in out Copyright and
    DMCA Policy, which is incorporated into these Terms and Conditions. For other
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    intellectual property claims, please send us a notice at
    dmcacODvrightnotice@.homeadvisor.com.
17. NOTICE SPECIFIC TO DOCUMENTS AND INFORMATION AVAILABLE ON
    THIS WEBSITE.
    Permission to use documents (such as press releases, datasheets, content, informational
    items and FAQs) from the HomeAdvisor server ("Server") is granted, provided that (1)
    the below copyright notice appears in all copies and that both the copyright notice and
    this permission notice appear, (2) use of such documents from the Web site is for your
    informational cind non-commercial or personal use only and will not be copied or posted
    on any network computer or broadcast in any media, and (3) no modifications of any
    Documents are made. Educational institutions (specifically K-12, universities and state
    community colleges) may download and reproduce the Documents for distribution in the
    classroom. Distribution outside the classroom requires express written permission of
    HomeAdvisor. Use for any other purpose is expressly prohibited by law, and may result
    in severe civil and criminal penalties. Violators will be prosecuted to the maximum extent
    possible. Documents specified above do not include the design or layout of the
    HomeAdvisor or apps or any other HomeAdvisor owned, operated, licensed or controlled
    site. Elements of the HomeAdvisor or apps are protected by trade dress, trademark, unfair
    competition, and other laws and may not be copied or imitated in whole or in part. No
    logo, graphic, sound or image from any HomeAdvisor web Site may be copied or
    retransmitted unless expressly permitted by HomeAdvisor. You may not use any deep-
    link, page-scrape, spider, robot, crawl, index, Internet agent or other automatic device,
    program, algorithm or technology which does the same things, to use, access, copy,
    acquire information, generate impressions, input information, store information, search,
    generate searches or monitor any portion of this website. HOMEADVISOR AND/OR
    ITS RESPECTIVE SUPPLIERS MAICE NO REPRESENTATIONS OR WARRANTIES
    ABOUT THE SUITABILITY OF THE INFORMATION CONTAINED IN THE
    DOCUMENTS AND RELATED GRAPHICS PUBLISHED ON THIS SERVER FOR
    ANY PURPOSE. ALL SUCH DOCUMENTS AND RELATED GRAPHICS ARE
    PROVIDED "AS IS" WITHOUT WARRANTY OF ANY KIND. HOMEADVISOR
    AND/OR ITS RESPECTIVE SUPPLIERS HEREBY DISCLAIM ALL WARRANTIES
    AND CONDITIONS WITH REGARD TO THIS INFORMATION, INCLUDING ALL
    IMPLIED WARRANTIES AND CONDITIONS OF MERCHANTABILITY, FITNESS
    FOR A PARTICULAR PURPOSE, TITLE AND NON-INFRINGEMENT. THE
    DOCUMENTS AND RELATED GRAPHICS PUBLISHED ON THE HOMEADVISOR
    WEB SITE COULD INCLUDE TECHNICAL INACCURACIES OR
    TYPOGRAPHICAL ERRORS. CHANGES ARE PERIODICALLY ADDED TO THE
    INFORMATION HEREIN. HOMEADVISOR AND/OR ITS RESPECTIVE
    SUPPLIERS MAY MAKE IMPROVEMENTS AND/OR CHANGES IN THE
    PRODUCT(S) AND/OR THE PROGRAM(S) DESCRIBED HEREIN AT ANY TIME.
18. INDEMNIFICATION
    YOU AGREE TO INDEMNIFY HOMEADVISOR, AND ITS SUBSIDIARIES,
    AFFILIATES, OFFICERS, EMPLOYEES, AGENTS, CO-BRANDERS, AND ANY
    PARTNERS AND HOLD THEM EACH HARMLESS FROM ANY AND ALL
    CLAIMS OR DEMANDS, INCLUDING ATTORNEY'S FEES, MADE BY ANY
    THIRD PARTY DUE TO OR ARISING FROM YOUR USE OF THE
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   HOMEADVISOR SERVICES IN CONNECTION WITH THE HOMEADVISOR WEB
   SITE, WITH REGARD TO ANY DISPUTE BETWEEN YOU AND A SERVICE
   PROFESSIONAL, OR YOUR VIOLATION OF THESE TERMS AND CONDITIONS,
   OR ARISING FROM YOUR VIOLATION OF ANY RIGHTS OF A THIRD PARTY.

19. AGREEMENT TO ARBITRATE ALL DISPUTES AND GOVERNING LAW

       0. The exclusive means of resolving any dispute between you and HomeAdvisor or
          any claim or controversy arising out of or relating to use of this Website and/or
          HomeAdvisor's services (including any alleged breach of these Terms and
          Conditions) shall be BINDING ARBITRATION administered by the American
          Arbitration Association, EXCEPT AS EXPRESSLY PROVIDED BY
          APPLICABLE FEDERAL OR STATE LAW. You may not under any
          circumstances commence, participate in or maintain against HomeAdvisor any
          class action, class arbitration, or other representative action or proceeding.

          *NOTICE OF RIGHTS*


       1. By using the Website and/or HomeAdvisor's services in any manner, you agree to
          the above arbitration agreement. In doing so, YOU GIVE UP YOUR RIGHT TO
          GO TO COURT to assert or defend any claims between you and HomeAdvisor.
          YOU ALSO GIVE UP YOUR RIGHT TO PARTICIPATE IN A CLASS
          ACTION OR OTHER CLASS PROCEEDING. Your rights will be determined
          by a NEUTRAL ARBITRATOR, NOT A JUDGE OR JURY. You are entitled to
          a fair hearing before the arbitrator. The arbitrator can grant any relief that a court
          can, but you should note that arbitration proceedings are usually simpler and more
          streamlined than trials and other judicial proceedings. Decisions by the arbitrator
          are enforceable in court and may be overturned by a court only for very limited
          reasons. For details on the arbitration process, see our Arbitration Procedures.

       2. Any proceeding to enforce this arbitration agreement, including any proceeding to
          confirm, modify, or vacate an arbitration award, may be commenced in any court
          of competent jurisdiction. In the event that this arbitration agreement is for any
          reason held to be unenforceable, any litigation against HomeAdvisor may be
          commenced only in the federal or state courts located in Denver County,
          Colorado. You hereby irrevocably consent to the jurisdiction of those courts for
          such purposes.

       3. These Terms and Conditions, and any dispute between you and HomeAdvisor,
          shall be governed by the laws of the state of Colorado without regard to principles
          of conflicts of law, provided that this arbitration agreement shall be governed by
          the Federal Arbitration Act.

20. GENERAL PROVISIONS
    You acknowledge and agree that the HomeAdvisor Services are provided to you on an
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         "AS IS" basis without any warranty whatsoever, and your sole and exclusive remedy, and
         HomeAdvisor's sole obligation to you or any third party for any claim arising out of your
         use of the HomeAdvisor Services or the HomeAdvisor or apps, is that you are free to
         discontinue your use of the HomeAdvisor Services or the HomeAdvisor or apps at any
         time. EXCEPT AS EXPRESSLY SET FORTH HEREIN, HomeAdvisor EXPRESSLY
         DISCLAIMS ANY IMPLIED WARRANTIES OF ANY KIND, INCLUDING, BUT
         NOT LIMITED TO, WARRANTIES OF MERCHANTABILITY OR FITNESS FOR A
         PARTICULAR PURPOSE, AND YOU AGREE THAT HomeAdvisor SHALL HAVE
         NO LIABILITY FOR DIRECT, INDIRECT, SPECIAL, INCIDENTAL,
         CONSEQUENTIAL (INCLUDING LOST PROFIT), EXEMPLARY OR PUNITIVE
         DAMAGES (EVEN IF HomeAdvisor HAS BEEN ADVISED OF THE POSSIBILITY
         OF SUCH DAMAGES) ARISING OUT OF THIS AGREEMENT OR ANY
         CONSEQUENCES WHICH FLOW FROM IT. SOME STATES AND PROVINCES
         DO NOT ALLOW LIMITATIONS ON OR EXCLUSION OF INCIDENTAL OR
         CONSEQUENTIAL DAMAGES. IN SUCH STATES AND PROVINCES, THE
         ABOVE EXCLUSIONS MAY NOT APPLY TO YOU. The Terms and Conditions will
         inure to the benefit of HomeAdvisor's successors, assigns and licensees. If any provision
         of these Terms and Conditions shall be deemed unlawful, void or unenforceable, for any
         reason, by any court of competent jurisdiction that provision shall be modified in order to
         make it enforceable, while maintaining the spirit of the provision. Alternatively, if
         modification is not possible, such provision shall be stricken and shall not affect the
         validity and enforceability of the remaining terms. The failure of HomeAdvisor to
         exercise or enforce any right or provision of the Terms and Conditions shall not
         constitute a waiver of such right or provision. You agree that regardless of any statute or
         law to the contrary, any claim or cause of action arising out of or related to use of the
         Services or the Terms and Conditions must be filed within one (1) year after such claim
         or cause of action arose or be forever barred. The section titles in the Terms and
         Conditions are for convenience only and have no legal or contractual effect. These Terms
         and Conditions are governed by the laws of the State of Colorado as such laws are
         applied to agreements entered into and to be performed entirely in the State of Colorado
         and between Colorado residents. You agree to submit to jurisdiction in Colorado and that
         any claim arising out of or related to these Terms and Conditions will be brought solely
         in a court in Denver County, Colorado. These Terms and Conditions constitute the entire
         agreement between you and HomeAdvisor and supersede all oral and written negotiations
         or representations of the parties with respect to the subject matter hereof. These Terms
         and Conditions may not be modified or amended other than by an agreement signed by
         both parties.

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                          EXHIBIT 3
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HomeAdvisor Terms and Conditions
Welcome to HomeAdvisor! This Agreement ("Agreement") governs your relationship with
HomeAdvisor, Inc. In this Agreement, we will refer to you, the member Service Professional,
and all of your d/b/a's, affiliates, agents, employees, representatives and subcontractors as "you,"
"SP," "Service Professional" or "member" and to HomeAdvisor, Inc. and its employees and
agents as "we" or "us" or "HomeAdvisor." Other Service Professionals who have joined
HomeAdvisofs network are referred to in this Agreement as "Service Professionals," "SPs," or
"members." Unless otherwise stated, all terms and conditions set forth in this Agreement that
apply generally to Service Professionals also apply to and bind you. References herein to the
HomeAdvisor "Website" include any and all websites now, or hereafter, owned or operated by
HomeAdvisor. These Terms & Conditions were last updated on October 1st, 2018. Updated
material terms are bolded and underlined.

IMPORTANT NOTICE: THIS AGREEMENT CONTAINS A BINDING ARBITRATION
PROVISION AND CLASS ACTION WAIVER. IT AFFECTS YOUR LEGAL RIGHTS
AS DETAILED IN THE ARBITRATION AND CLASS ACTION WAIVER SECTION
BELOW. PLEASE READ CAREFULLY.

    1. What We Agree.

           1. With Respect to Lead Purchasing Members.

                   1. HomeAdvisor receives requests from homeowners, consumers, properly
                      managers, individuals and other persons ("customers") expressing interest
                      in certain services relating to home improvement, repair, maintenance and
                      other types of tasks and projects ("service requests"). These service
                      requests from customers may be submitted directly or indirectly to
                      HomeAdvisor by customers via the HomeAdvisor Website, telephone
                      calls, third party websites or other means. In turn, HomeAdvisor may send
                      you a communication about a customer’s service request that contains
                      information about what service has been requested and the customer's
                      contact information (a "Lead"). We may also send your contact
                      information to the customer. The information we provide about you will
                      be based on the information you submit during the Company Profile
                      Interview (which you may amend from time to time) and Customer
                      Ratings & Reviews, and may be amended by HomeAdvisor from time to
                      time. Leads may also be sent to other member service professionals based
                      on the category of the service request.

                   2. We limit the number of Service Professionals that are matched to a
                      customer. We do not guarantee to provide you any specific number of
                      Leads, nor do we make guarantees, representations or warranties regarding
                      a customer's level of interest, their desire to have work completed, their
                      ability to pay you, the accuracy of the information provided by the
                      customers, or that any customers will hire you to perform services, nor do
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               we guarantee that you will successfully contact each customer. We are not
               involved in, nor do we have any responsibility for your contracts with
               customers, their creditworthiness, or any payments to you or any disputes
               they may have with you or you may have with them. HomeAdvisor is free
               to contract with other Service Professionals as this is not an exclusive
               contract.

           3. We provide customers with the ability to rate their experience working
              with you via Customer Ratings & Reviews. You will also have the ability
              to solicit and collect ratings and reviews from any of your customers,
              which may or may not be displayed in LiveDirectory (defined below), in
              HomeAdvisor's sole discretion.

           4. For Service Professionals using HomeAdvisor's Exact Match Services (not
              available in Canada), HomeAdvisor shall endeavor to generate click­
              throughs to the SP’s listing and online profile page and calls to the Exact
              Match Numbers (defined below), based upon the profile information
              supplied by SP. HomeAdvisor shall provide for the hosting of the SP
              online profile page (which may appear in the HomeAdvisor LiveDirectory
              (defined below) and elsewhere on the Internet, however, SP is solely
              responsible for all content provided by SP that appears on SP's online
              profile page. HomeAdvisor shall provide the telephone numbers unique to
              SP’s online profile page ("Exact Match Numbers"). In addition, customers
              will be able to complete a service request on the SP online profile page. A
              submission of a service request by a customer on SP's online profile page,
              or via a telephone call to SP's Exact Match Number shall constitute an
              "Exact Match Lead." In addition, a lead will be deemed to be an Exact
              Match Lead anytime a customer is presented with your information and
              indicates that they desire to be connected with you (whether by clicking on
              "Request a Quote", indicating to a HomeAdvisor representative that they
              would like to be connected to you, or otherwise indicating that they desire
              to contact you).

           5. If your HomeAdvisor rating drops to two (2) stars or below, you will no
              longer be permitted to purchase leads from HomeAdvisor until you raise
              your rating above two (2) stars (although your directory listing will remain
              active). You will have the ability to improve your rating by acquiring
              additional positive reviews to lift the rating. However, you will not be able
              to use references from non-HomeAdvisor consumers to increase your
              rating, you must obtain additional consumer reviews submitted through
              the HomeAdvisor platform. Once your rating is greater than two stars, you
              will regain your eligibility to purchase leads.

     2. With Respect to Subscription Members:

        You may purchase a subscription to receive services including: Placement in
        HomeAdvisor's directory product which is displayed on the HomeAdvisor
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         Website ("LiveDirectory") and Customer Ratings and Reviews solicitation. You
         may be displayed among service professionals who are members of
         HomeAdvisor aiTiliate companies^ including Angie’s List, some of whom may
         have been subject to different screenin2 criteria than the screening vou are
         required to undergo.

         In the event you purchase a subscription and elect to appear in the LiveDirectory,
         your business listing may appear on the Pro Reviews section of the HomeAdvisor
         Website, in response to requests from customers for contractors in the project
         categories that you have indicated to us that you perform, in geographic locations
         where you have told us your perform services. HomeAdvisor does not make any
         representations or warranties regarding how often your listing and/or profile
         (including any ratings or reviews) will appear or be viewed, or where or on what
         page of the Pro Reviews tab your listing will appear, or your conversion rate for
         impressions or views of your profile page. You will also have the ability to solicit
         and collect ratings and reviews from any of your customers, which may or may
         not be displayed in LiveDirectory, in HomeAdvisor's sole discretion. In addition,
         the telephone number displayed with your listing shall be your actual telephone
         number that you provide to HomeAdvisor (unless your listing is appearing as an
         Exact Match listing).

      3. Professional Website. You may purchase a Professional Website and hosting (see
         HomeAdvisor Website License & Services Asreemenl).

2. What You Agree.

  You agree to all terms and conditions of this Agreement and represent, on behalf of you,
  your company (including any predecessor entities of your company), employees,
  subcontractors, and any individuals performing work on your behalf, at the time you
  become a HomeAdvisor SP, and thereafter while this Agreement remains in effect, as
  follows:

      1. Membership in the HomeAdvisor network is available only to individuals who are
         at least 18 years old and can form legally binding contracts under applicable law.
         By applying to join HomeAdvisor, you represent and warrant that you are
         eligible.

     2. You are qualified and capable of performing the services, trade, or tasks you
         selected on the Service Professional Enrollment Form or during your Company
         Profile Interview, and any subsequent amendments you make to your Customer
         Profile.

     3. You are, and at all times will be, properly and fully licensed*, bonded and insured
         (at levels in accordance with applicable industry standards) under all applicable
         laws and trade regulations (and upon request will produce documentation to
         verify this), and further, that you have not been turned down for insurance
         coverage related to your provision of services. You will notify us promptly of any
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        such changes to your licensing, bonding or insured status.
        *If you or your company is operating under a license with special restrictions you
        agree and represent that you will at all times operate within the guidelines as
        specified by such restrictions.
     4. You will comply with the HomeAdvisor membership requirements as specified
        from time to time. If these requirements are amended, you will be advised and
        must comply with any changes immediately upon notification if no action is
        required on your part or within thirty (30) days if affirmative action is required of
        you.

     5. You hereby represent that you, any predecessor entities of your company, any
        other majority shareholders, partners or members, and your company, are free
        from any (i) bankruptcies, civil legal Judgments within the last 3 years, and (ii)
        felony criminal convictions. If at any time during your membership with
        HomeAdvisor you, any predecessor entities of your company, any other majority
        shareholders, partners or members or your company, should file for bankruptcy or
        be involved in bankruptcy proceedings, have a civil legal judgment entered
        against such party or a felony conviction entered against such party, you will
        promptly notify HomeAdvisor. You further represent that you have not been
        sanctioned or penalized by any governmental authorities in connection with your
        provision of services to any of your customers, and that you have not been denied
        membership to (or had your membership revoked from) any professional industry
        associations. You authorize HomeAdvisor to verify that all of the above
        representations are truthful and accurate at any time while this Agreement
        remains in effect.

     6. You agree to abide by and to follow the terms of the HomeAdvisor Resolution
        Process, as amended from time to time and appearing on our Website. You will
        cooperate with us if we attempt to facilitate the resolution of any customer
        complaints between you and your customers; however we are not liable to you or
        any customer if such matters cannot be resolved. We reserve the right to charge
        you for any amounts paid to a customer by HomeAdvisor in connection with a
        dispute between you and a customer, or based upon your performance of or
        failure to perform services for a customer, and you agree to reimburse us for any
        such payments and for any costs, expenses or attorneys' fees incurred by
        HomeAdvisor in connection with the dispute. You agree that we shall have the
        right to disclose any information we have regarding you and your company to any
        authorities requesting information from us regarding any work or services you
        have performed.

     7. If you provide any quotes to customers via the HomeAdvisor Website, such
        quotes are provided for informational purposes only. A customer cannot contract
        with you via the HomeAdvisor Website. In the event a customer selects you on
        our Website in response to a quote you provide (or schedules and appointment),
        such selection (or appointment) is merely an indication of the customer's interest
        in contacting or being contacted by you.
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     8. If you provide written comments or testimonials about our service or activities,
        you agree that we shall have sole ownership of any and all intellectual property
        rights in such comments or testimonials, and that we may post and publish your
        comments or portions thereof at our sole discretion on our Website or in
        marketing materials including your name and company or agency, and that you
        shall not be entitled to any payments associated with our use of the foregoing.
        You hereby authorize us to use your name, company name, and franchise name,
        as applicable, and any of the trademarks, service marks, trade names and logos,
        content including photographs, in the form or format that you supply to us or that
        you upload to our Website, for use and posting on our Website and for use in
        marketing materials to be presented to customers or prospective SPs in online
        postings, via emails or otherwise to help promote you or your services, and that
        you shall not be entitled to any payments associated with our use of the foregoing.
        HomeAdvisor reserves the right, in its sole discretion, to review, reject and
        remove any content that you upload to the HomeAdvisor Website or your
        company profile. You further represent that you have all necessary rights to
        display any of the logos, service marks, trademarks, and any other content that
        you upload to our Website, and you represent that your uploading for display of
        any such content, and the use by HomeAdvisor of such content as contemplated
        by this Agreement, shall not violate any third party's intellectual property rights.
        If there are any limitations or restrictions pertaining to the use or presentation of
        such logos, trade or service marks, it shall be your responsibility to provide us in
        writing with any such restrictions or limitations of use. If expressly authorized by
        us in writing in advance, you may be authorized during the term of this
        Agreement to use certain marks of HomeAdvisor as necessary to promote your
        business. You are expressly prohibited from registering any trademarks or domain
        names of HomeAdvisor.

     9. By posting or providing any content on the HomeAdvisor Website, including but
        not limited to photographs ("Content"), you represent and warrant to
        HomeAdvisor that you own or have all necessary rights to use the Content, and
        grant to HomeAdvisor the rights granted below. The forgoing representation
        includes, but is not limited to a representation and warranty that you have own or
        have the necessary rights (including any necessary releases) to grant all rights
        granted below in relation to any persons, places or intellectual property pictured
        in any photographic Content that you provide. In addition, if you post or
        otherwise provide any Content that is protected by copyright, you represent that
        you have obtained any necessary permissions or releases from the applicable
        copyright owner. You hereby grant HomeAdvisor and its users a perpetual,
        irrevocable, non-exclusive, royalty-free, transferable, assignable, sub-licensable,
        worldwide license to use, store, display, reproduce, modify, edit, abridge, crop,
        create derivative works, perform, distribute, and place advertising near and
        adjacent to your Content on the HomeAdvisor Website, and on any other websites
        owned or operated by HomeAdvisor. Nothing in this Agreement shall restrict
        other legal rights HomeAdvisor may have to the Content, for example under other
        licenses. HomeAdvisor reserves the right to remove or modify Content for any
        reason, including Content that HomeAdvisor believes violates this Agreement or
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        our policies. You further authorize us and our affiliates, licensees, sublicensees,
        and users, without compensation to you or others, to reproduce, print, publish and
        disseminate in any format or media (whether now know or hereafter created) the
        Content, including, if submitted, your name, voice and likeness throughout the
        world, and such permission shall be perpetual and cannot be revoked for any
        reason. In the event your HomeAdvisor account is terminated, or if you remove
        any Content from your HomeAdvisor account, HomeAdvisor and its users may
        retain your Content and may continue to use any of your Content (pursuant to the
        license granted above). You acknowledge and agree that any Content you post or
        provide may be viewed by the general public and will not be treated as private,
        proprietary or confidential. Further, to the extent permitted under applicable law,
        you waive and release and covenant not to assert any moral rights that you may
        have in any Content posted or provided by you.

     10. You acknowledge and agree that all of the content and information posted on the
         HomeAdvisor Website, including but not limited to Service Professional profiles,
         screening information, and Customer Ratings & Reviews for all HomeAdvisor
         Service Professional members (excluding any logos or trademarked materials, or
         other intellectual property of Service Professionals provided by Service
         Professionals), is the sole and exclusive property of HomeAdvisor. You
         acknowledge and agree that you have no right to reproduce, post, publish, display
         or otherwise use any Customer Ratings & Reviews (including those relating to
         you and your business), or any other content posted on the HomeAdvisor
         Website, other than content provided directly by you. You represent and warrant
         that all of the information you provide to HomeAdvisor, including any and all
         information you include on your profile page, is true and accurate. You
         acknowledge that a violation of any of the foregoing could result in significant
         damages, and you agree that you are liable to HomeAdvisor for any such
         damages, and will indemnify HomeAdvisor in the event of any third party claims
         against HomeAdvisor based on or arising from your violation of the foregoing.
         You acknowledge and agree that HomeAdvisor has the right, in its sole discretion,
         to contact customers about services you provide to gain their feedback and rating
         of you, and to display such Customer Ratings and Reviews on our Website.
         HomeAdvisor is not responsible or liable to you for any comments, ratings or
         communications of any kind from customers that we choose to post on our
         Website.

     11. You acknowledge and agree that in certain areas of the HomeAdvisor
         Website or its affiliates* sites, including the Angie*s List Website, the **star**
         rating that you have received from customers mav be converted to a "letter”
         rating, in HomeAdvisor*s sole discretion. If you are an Angie*s List service
         professional. HomeAdvisor mav convert your **letter” rating into a ”star'*
         rating for display on the HomeAdvisor site, in HomeAdvisor*s sole discretion.

     12. You vrill not engage in any illegal acts or acts of wrongdoing, dishonesty or
         unethical business practices with HomeAdvisor, any customer or other third party,
         including, but not limited to, disclosing any user personal information to any third
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        party. You will at all times be in full compliance with all applicable Federal,
        State, Provincial, local and other laws and regulations that apply to your activities.
        YOU ACKNOWLEDGE AND AGREE THAT TO KNOWINGLY SHARE,
        DISTRIBUTE. TRANSFER, OR SELL A HOMEADVISOR SERVICE
        REQUEST, OR LEAD (OR THE INFORMATION CONTAINED THEREIN)
        OTHER THAN AS EXPRESSLY SET FORTH IN THIS AGREEMENT, IS A
        VERY SERIOUS BREACH OF CONTRACT AND FRAUDULENT MATTER
        THAT COULD RESULT IN INVASION OF PRIVACY RIGHTS OR OTHERS,
        SIGNIFICANT COSTS AND DAMAGES TO OTHERS AND TO
        HOMEADVISOR AND OTHER SERVICE PROFESSIONAL MEMBERS.
        RESPONDING TO SUCH A VIOLATION WOULD ALSO RESULT IN THE
        LOSS OF TIME AND EFFORT ON THE PART OF HOMEADVISOR. THERE
        ALSO MAY BE REGULATORY FINES AND PENALTIES IMPOSED FOR
        CONTACTING CONSUMERS AND BUSINESSES IN A MANNER NOT IN
        ACCORDANCE WITH THE APPLICABLE LAWS AND REGULATIONS
        INCLUDING BUT NOT LIMITED TO FEDERAL STATE AND PROVINCIAL
        DO-NOT-CALL REGULATIONS AND FEDERAL STATE AND
        PROVINCIAL ANTI-SPAM REGULATIONS. ACCORDINGLY, IF YOU
        KNOWINGLY SHARE, DISTRIBUTE, TRANSFER, OR SELL A SERVICE
        REQUEST, OR LEAD (OR THE INFORMATION CONTAINED THEREIN)
        OTHER THAN AS EXPRESSLY SET FORTH IN THIS AGREEMENT. YOU
        AGREE TO FULLY INDEMNIFY AND BE LIABLE TO HOMEADVISOR, AS
        SET FORTH IN SECTION IV BELOW, FOR ALL THE DAMAGES,
        WHETHER DIRECT OR INDIRECT, PUNITIVE AND CONSEQUENTIAL,
        AND ANY REGULATORY OR JUDICIAL FINES OR PENALTIES OR
        ATTORNEYS’ FEES THAT MAY ARISE FROM SUCH ACTIVITIES.

     13. You agree to allow only employees of your company or independent contractors
         performing services directly on behalf of your business to contact or provide any
         service to customers you learn of via a Lead. To the extent you use any such
         subcontractors, you shall be responsible and liable for all acts and omissions of
         such subcontractors and for ensuring that such subcontractors comply with all the
         provisions of Section II of this Agreement. You agree not to sell, trade, gift,
         assign, or otherwise transfer any Service Requests, or Leads provided by
         HomeAdvisor to any other party, including any other HomeAdvisor Service
         Professionals.

     14. In addition to all of the other terms and conditions herein, SPs using
         HomeAdvisor's Exact Match services (not available in Canada) also agree to the
         following: (i) SP hereby represents and warrants that the information provided by
         SP in the SP profile on the SP’s online profile page is, and shall at all times be,
         maintained in an accurate, up-to-date and professional manner, and in compliance
         with all applicable laws and regulations; (ii) SP hereby agrees that it hereby has
         automatically pre-accepted any Exact Match Leads provided to it by
         HomeAdvisor; (iii) SP hereby agrees to pay for any and all Exact Match Leads, in
         accordance with the then current HomeAdvisor fee schedule; (iv) HomeAdvisor
         may provide SP's phone number to any individual calling the Exact Match
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        Numbers; (v) SP acknowledges and agrees that not all consumers calling the SP's
        Exact Match Number or visiting the SP's online profile page will be directed to
        SP for reasons including, but not limited to the Exact Match consumer's request
        not matching the SP’s profile, SP's account being on hold or no longer being a
        member of the HomeAdvisor network, or the SP not having any available spend
        target. In such event, HomeAdvisor may direct consumers from the SP's online
        profile page to the HomeAdvisor Website; (vi) SP hereby authorizes
        HomeAdvisor to take any and all actions necessary to generate click-throughs to
        SP’s online profile page and telephone calls to Exact Match Numbers, including
        contracting with search engines, Internet directories, and other online and offline
        advertising sources and making the representations herein on behalf of SP to such
        third parties, and (vii) SP authorizes HomeAdvisor to use, copy, reproduce, and
        sublicense SP's contact information, SP's profile, and any content on the SP's
        online profile page in furtherance of the foregoing. You further acknowledge, that
        in the event you are using HomeAdvisor’s Exact Match services, and you are also
        a LiveDirectory subscription member, you may appear in the LiveDirectory at
        different times as an Exact Match listing, or a LiveDirectory subscription member
        listing, but will only be charged Lead Fees when you receive a service request
        generated from your listing appearing as an Exact Match listing.

     15. In the event you participate in any promotion whereby HomeAdvisor promotes an
         offer or discount related to your services, whether on the HomeAdvisor Website,
         via direct mail, or otherwise, you agree to abide by the terms of such offer or
         discount.

     16. By enrolling in the HomeAdvisor network or otherwise becoming a member
         of HomeAdvisor. and/or by inquiring about membership in the
         HomeAdvisor network or other HomeAdvisor products or services, you are
         requesting, and vou expressly consent to being contacted bv us and bv our
         agents and representatives via phone, fax, email, mail or other reasonable
         means, at any of vour contact numbers or addresses, even if vou are listed on
         any federal, state, provincial or other applicable **Do Not Call” list, and even
         if vou have previously opted-out from receiving marketing emails from
         HomeAdvisor. in order that we may provide the services set forth on our site.
         to service vour account, to reasonably address matters pertaining to vour
         account or for other purposes reasonably related to our business, including
         marketing related emails. You agree to sign up for at least two methods of
         lead notification (for example SMS and email), and acknowledge that if vou
         do not sign up for at least two methods of lead notification. HomeAdvisor is
         not responsible for anv delayed or undelivered leads.

     17. HomeAdvisor*s mobile applications mav implement location features that, if
         vou consent, result in automatic collection of vour geolocation information, in
         which case our mobile application mav use such information to allow
         HomeAdvisor and customers to view and track vour location. We mav also
         use this location information for our internal business purposes, and for
         providing and enhancing our products and services and advertising. IF YOU
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           WANT TO STOP THE AUTOMATIC COLLECTION OF YOUR
           LOCATION INFORMATION. YOU MAY DO SO BY USING THE
           PRIVACY SETTINGS ON YOUR DEVICE. OR BY UNINSTALLING
           OUR MOBILE APPLICATION. CERTAIN FEATURES. SUCH AS SAME
           DAY SERVICE. WILL NOT BE AVAILABLE IF YOU OPT OUT OF
           LOCATION COLLECTION,

3. Fees.

      1. You agree to be bound by the then applicable pricing plan provisions (all fees are
         stated and payable in US dollars) for any and all Leads presented to you (as
         further described in Attachment A for lead purchasing service professionals), or
         for any inclusion in our LiveDirectory service or any other subscription offering.
         You will pay HomeAdvisor applicable non-refundable fees which may include:
         (i) an Enrollment/Screening Fee; (ii) Lead Fees, as set forth in the Lead Fee
         Schedule, for customer Leads accepted by you; (iii) HomeAdvisor Seal of
         Approval License Fees at the then current standard Seal of Approval license fee
         rates, (iv) Membership Fees; (v) Administrative Fees; (vi) Website development
         and hosting fees, if you have elected to have HomeAdvisor develop and host your
         company Website; (vii) Subscription Fees and (viii) any other applicable fees
         such as Custom URL Fees or e-mail account fees as applicable. HomeAdvisor
         reserves the right to charge your credit card for any fees immediately upon receipt
         of your credit card information by you or your representatives.

             1. Lead Fees. You agree that you will pay HomeAdvisor on a per Lead basis
                for all Leads. You agree that payment for Lead Fees will be made by
                HomeAdvisor initiating an ACH transfer or processing your credit card
                (for Canadian SP's, credit card only) each week for the previous week's
                activity. You may view a statement of your monthly lead activity on your
                HomeAdvisor account, at pro.HomeAdvisor.com. We may, in our sole
                discretion and in accordance with our then-existing Lead credit policies,
                issue you a credit ("Credit") for any Lead Fees that you dispute (by
                contacting HomeAdvisor via our Website, the HomeAdvisor Pro app, or
                by telephone), provided, however, that any and all requests for Credits
                must be received by HomeAdvisor within 30 days of the date that the
                Lead Fee charge was incurred. Credits that are issued to a Service
                Professional's account will be issued as store credits, which will be applied
                toward future charges to your account. Credits will expire, if not used,
                eighteen months after the date the Credit was issued. All Lead Fees
                constitute advertising fees paid by you to HomeAdvisor and are in no way,
                referral commissions based upon your successful completion of services.

             2. Subscription Fees; License Fees; Other Recurring Fees.

                For purchases of a subscription membership (monthly, quarterly, or
                annually), you shall pay such fees on a monthly, quarterly or annual basis,
                as applicable. You agree that payments will be made by HomeAdvisor
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              initiating an ACH transfer or processing your credit card, in advance, on a
              monthly, quarterly or annual basis, as applicable.

                  1. AUTOMATIC RENEWAL OF SUBSCRIPTION; After your
                     initial subscription period, and again after any subsequent
                     subscription period, your subscription will automatically
                     continue for an additional equivalent period (each a "Renewal
                     Term"), at the renewal price communicated to you at the time
                     your purchased your initial subscription ("Renewal Price"),
                     unless HomeAdvisor provides you with at least thirty (30)
                     advance notice of a change in your Renewal Price. You agree
                     that your account will be subject to this automatic renewal
                     feature. If you want to change or terminate your subscription,
                     you may do so solely by contacting HomeAdvisor Customer
                     Care at (877) 947-3676. If you cancel your subscription, you
                     may use your subscription until the end of your then-current
                     subscription term; your subscription will not be renewed after
                     your then-current term expires, and you won't be eligible for
                     any refund of any portion of the subscription fee paid for the
                     then-current subscription period. By subscribing, you
                     authorize HomeAdvisor to charge your provided payment
                     method now and again at the beginning of any Renewal Term.
                     You also authorize HomeAdvisor to charge you for any sales or
                     similar taxes that may be imposed on your subscription
                     payments. Upon the renewal of your subscription, if
                     HomeAdvisor does not receive payment from your payment
                     method or payment method provider, (i) you agree to pay all
                     amounts due on your account upon demand, and/or (ii) you
                     agree that HomeAdvisor may either terminate or suspend your
                     subscription and continue to attempt to charge your payment
                     method until payment is received.

                 2. Free Trials and Other Promotions. Any free trial or other
                    promotion that provides a subscription to the HomeAdvisor
                    services automatically renews in the same manner as set forth
                    above under the section titled "Automatic Renewal", provided,
                    however, that the Renewal Price for any Renewal Terms will be
                    higher than during the free trial or promotion initial term. You
                    must cancel your subscription before the end of the trial period in
                    order to avoid being charged the Renewal Price.

                  3. Discounts. When you purchase multiple product, you may be
                     eligible for certain discounts, as set forth on the then-current
                     pricing plan, provided, however, that cancellation of a
                     product/service for which you have received a discount, may result
                     in the discount being rescinded retroactively for the remaining
                     products/services, and an immediate additional payment to be
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                       charged to your method of payment. Purchases of prepaid lead
                       bundles are nonrefiindable, even after cancellation of membership.

            3. You acknowledge that it is your responsibility to ensure that the
               communication methods that you have selected in your HomeAdvisor
               profile, and all contact and billing information, are kept up-to-date and
               accurate. HomeAdvisor is not responsible, or liable, for undelivered
               customer notifications. You agree to promptly notify HomeAdvisor if your
               payment method is canceled (including if you lose your card or it is
               stolen), or if you become aware of a potential breach of security (such as
               an unauthorized disclosure or use of your payment method). In addition,
               you authorize us to obtain updated or replacement expiration dates and
               card numbers for you credit or debit card as provided by your credit or
               debit card issuer.

            4. You acknowledge that you will not receive a detailed account statement
               unless you provide HomeAdvisor with a valid email address or fax
               number. Your account balance is also available by calling (877) 947-3676
               or via the Account tab of the Pro.HomeAdvisor.com Website.
               HomeAdvisor will process your balance due at the end of your billing
               period via your selected payment method. Past due balances will be
               subject to a late charge equal to the lesser of 1.5% per month or the
               maximum amount allowed by applicable law. In addition, any returned
               payments will incur a $20 fee per transaction.

            5. Any disputes about charges to your account must be submitted to
               HomeAdvisor in writing within 30 days of the date such charges are
               incurred. You agree to waive all disputes not made within the 30 day
               period, and all such charges will be final and not subject to challenge.

            6. Past due accounts may be turned over to a third-party collection agency
               and reported to a credit rating agency and we may bill you for, and you
               agree to pay for any and all collection and related litigation fees.

            7. No fee is due or payable to the extent such fee is in violation of any
               applicable law.

            8. HomeAdvisor is not obligated to refund to you any amounts of prepaid
               Lead Fees or other prepaid fees such as subscription fees, except solely in
               the event you rescind or terminate your subscription within the seventy
               two (72) hour period following your agreement to purchase a subscription.

            9. You authorize HomeAdvisor to charge you for any sales or similar taxes
               that may be imposed on your subscription payments, lead fees, or any
               other fees charged by HomeAdvisor.

4. HomeAdvisor Seal of Approval.
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  License. While this Agreement remains in effect, and while you remain in full
  compliance with all terms set forth herein, HomeAdvisor hereby grants you a non­
  exclusive, non-transferrable, non-sublicenseable, license to use and display the
  HomeAdvisor Seal of Approval in connection with marketing your business. You agree
  that any use or display of the HomeAdvisor Seal of Approval must comply with all
  standards and guidelines of HomeAdvisor adopted from time to time with respect to the
  proper use and display of the HomeAdvisor Seal of Approval.

     1. Restrictions. You may only use the HomeAdvisor Seal of Approval in the event
        you pass HomeAdvisor's pre-screening criteria initially and annually thereafter,
        which shall be determined in HomeAdvisor's sole discretion. HomeAdvisor may
        also re-screen your business at any time in its sole discretion, and may terminate
        this Agreement in HomeAdvisor’s sole discretion. Further, you agree that you will
        use and display the HomeAdvisor Seal of Approval solely in connection with the
        tasks for which HomeAdvisor pre-screens you. For example, if you are pre­
        screened as a plumber, you may not use the HomeAdvisor Seal of Approval to
        advertise your business for any services other than plumbing services. Further,
        you may only use the HomeAdvisor Seal of Approval in the state or states for
        which you have been pre-screened by HomeAdvisor. You may only use the
        HomeAdvisor Seal of Approval for its intended use, and you may not
        misrepresent HomeAdvisor, HomeAdvisor's products or Services, your affiliation
        with HomeAdvisor, or the HomeAdvisor Seal of Approval. If at any time any of
        your screening status should change (i.e. state-level license terminated; fall out of
        good standing in your state of incorporation), you must immediately report such
        change to HomeAdvisor, and if such change causes your business to fail
        HomeAdvisor's screening criteria, in HomeAdvisor's sole discretion, then your
        license to use the HomeAdvisor Seal of Approval is immediately suspended, and
        if not remedied to HomeAdvisor's satisfaction within thirty days of notification,
        this Agreement shall automatically terminate. You also hereby agree to be re-
        screened by HomeAdvisor annually, and at any other time as desired by
        HomeAdvisor, and failure to allow such rescreening, or failing the re-screening,
        in HomeAdvisor's sole discretion, shall result in the immediate and automatic
        termination of this Agreement. The license granted hereunder is solely for the use
        of the HomeAdvisor Seal of Approval, and you do not have any right to use the
        HomeAdvisor name or logo separately or apart from the HomeAdvisor Sea! of
        Approval.

     2. Accessing the HomeAdvisor Seal of Approval. You agree that you shall access
        the HomeAdvisor Seal of Approval solely via the following methods: (a) via a
        code snippet provided to you by HomeAdvisor for use online on your website, or
        (b) any other method generally offered by HomeAdvisor. You may not make any
        changes or modifications to the HomeAdvisor Seal of Approval (including the
        code snippet), and shall only use the HomeAdvisor Seal of Approval in the exact
        form and format in which it is provided to you by HomeAdvisor.

     3. Review Magic. If you purchase a Professional Website, you will have the ability,
        via our "Review Magic" functionality, to select certain of your HomeAdvisor
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          consumer Ratings & Reviews from your HomeAdvisor profile page, to be
          displayed on your Professional Website. HomeAdvisor authorizes you to use the
          Review Magic functionality, and display such Ratings & Reviews on your
          Professional Website solely while you remain an active member, in good
          standing, of the HomeAdvisor network. If at any time your membership in the
          HomeAdvisor network is terminated, by either you or HomeAdvisor, you shall no
          longer be authorized to display such Ratings & Reviews on your Professional
          Website, and you agree to remove all such Ratings & Reviews immediately.

5.   Programs Where You May Receive Leads Over and Above Your Spend Target

       1. Instant Booking. Unless you expressly opt-out, HomeAdvisor may send you
          booked leads under HomeAdvisor’s Instant Booking program ("Instant Booking"),
          which allows consumers to book appointments with you, on a calendar set up for
          you on the HomeAdvisor Website ("Booked Appointments"). You may choose to
          sync your own online calendar with the HomeAdvisor Instant Booking calendar
          so that these bookings will show up in real-time on your own calendar. We will
          notify you and attempt to confirm these bookings with you, so if you choose not
          to sync with the HomeAdvisor calendar, we recommend that you log in to your
          HomeAdvisor account and update the HomeAdvisor calendar to block out dates
          and times when you are not available or do not wish to book appointments. As
          part of Instant Booking, you agree to the following: (i) you shall update, maintain,
          and keep current your schedule in the HomeAdvisor Online Calendar (or any
          other calendar with which HomeAdvisor has integrated), (ii) you will confirm
          every Booked Appointment, provided, however, that you shall be charged for all
          Booked Appointments, regardless of whether you confirm them or not, (iii) you
          shall honor every Booked Appointment, show up on time for all such
          appointments, and honor any quotes or estimates you provide to consumers, (iv)
          you shall pay a premium lead fee for Booked Appointments (v) you understand
          and agree that Booked Appointments are not guaranteed jobs, but merely
          consumer leads, and that you are obligated to pay the applicable lead fees
          regardless of whether the consumer hires you, or even shows up for, or cancels,
          the booked appointment, (vi) lead fees for Booked Appointments are in addition
          to, and do not count toward, your spend targets for Leads, and therefore, if you
          have reached your spend target, you would still be charged for any Booked
          Appointments received thereafter. HomeAdvisor reserves the right to terminate
          your participation in Instant Booking at any time, for any reason or no reason.

       2. Instant Connect. HomeAdvisor may offer you the opportunity to participate in
          HomeAdvisor's Instant Connect program ("Instant Connect"), which allows
          consumers to request to be connected to you directly via telephone. If you
          participate in Instant Connect, you agree to the following: (i) you shall pay a
          premium lead fee for Instant Connect leads, (ii) you understand and agree that
          Instant Connect leads are not guaranteed jobs, but merely consumer leads, and
          that you are obligated to pay the applicable lead fees regardless of whether the
          consumer hires you, (iii) lead fees for Instant Connect are in addition to, and do
          not count toward, your spend targets for Leads, and therefore, if you have reached
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         your spend target, you would still be charged for any Instant Connect leads
         received thereafter. HomeAdvisor reserves the right to terminate your
         participation in Instant Connect at any time, for any reason or no reason.

      3. Job Opportunities Program. HomeAdvisor mav offer you the opportunity to
         participate in HomeAdvisor*s Job Opportunities Program^ which allows you
         to view and select additional iob opportunities (consumer leads) submitted
         by consumers that mav be outside of your selected zip codes. If vou accept a
         Job Opportunities lead, you agree to the following: (i> vou shall pav a
         premium lead fee for Job Opportunities leads, tift vou understand and atgree
         that Job Opportunities leads are not guaranteed jobs, but merely consumer
         leads, and that vou are obligated to pay the applicable lead fees regardless of
         whether the consumer hires you. tiii> lead fees for Job Opportunities are in
         addition to. and do not count toward, vour spend targets for Leads, and
         therefore, if vou have reached your spend target, vou would still be charged
         for any Job Opportunities leads vou have accepted thereafter, tiv) vou must
         have the latest version of the HomeAdvisor mobile application to receive Job
         Opportunities leads, (v) even if vou have turned vour leads off, if vou select a
         Job Opportunities lead, vou will be charged for that lead, and (vh vou
         understand that Job Opportunities leads arc not exclusive to vou and mav
         also be sent to other service professionals. Elite 360 members and/or
         members enrolled in HomeAdvisor under a corporate membership account
         are not clieible to participate in the Job Opportunities program.

     4. Miscellaneous. If vou pause or turn off vour leads, when vou turn them back
        on, a new monthly spend target cycle will be created, such that it is possible
        vour monthly spend target could be exceeded in less than one calendar
        month. Additionally, vour exact spend target mav be exceeded in the normal
        course of events by a Lead or two because our matching algorithm will send
        a Lead up until the precise point vour spend target is exceeded (i.e. if vour
        spend target is $500, and vou are currently at $480, vou mav still receive at
        Lead valued at $40, at which point vou would not receive anv more leads as
        vou would have exceeded $500).



6. mHelpDesk.


  Unless vou opt out during enrollment in the HomeAdvisor network, vour annual
  Membership Fee paid to HomeAdvisor will include a one-month subscription with
  mHelpDesk, a field solutions software. After the first month of vour subscription
  with mHelpDesk, unless vou cancel, vou will automatically be subscribed on a
  month-to-month basis thereafter, and charged a monthly subscription fee for vour
  continuing mHelpDesk subscription. For more information on mHelpDesk, please
  see the User Agreement located at www.mhelpdesk.com/user-agreement. You mav
  opt out of an initial or continuing subscription with mHelpDesk bv making a
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   request to a HomeAdvisor Sales or Customer Care representative at the time of
   vour enrollment with HomeAdvison or bv contacting mHelpPesk in accordance
   with the mHelpPesk User Agreement.

7. Indemnification; Limitation of Liability; Disclaimer of Warranties.

      I. Indemnification. You shall fiilly protect, indemnify and defend HomeAdvisor and
         all of its agents, officers, directors, shareholders, suppliers, partners, employees
         and each of their successors and assigns ("Indemnified Parties") and hold each of
         them harmless from and against any and all claims, demands, liens, damages,
         causes of action, liabilities of any and every nature whatsoever, including but not
         limited to personal injury, intellectual property infringement, fraud, deceptive
         advertising, violation of any state, provincial or federal laws or regulations,
         property damage, attorneys' fees and court costs, arising in any manner, directly
         or indirectly, out of or in connection with or in the course of or incidental to (i)
         any of your work for or dealings with any customers, (ii) your advertising, or (iii)
         your services, representations, or obligations (including but not limited to your
         obligation to maintain the confidentiality of user personal information) set forth in
         this Agreement, including any extra work you perform for a customer for which
         HomeAdvisor has not matched you, and in connection with your use of the
         HomeAdvisor Seal of Approval, REGARDLESS OF CAUSE OR OF ANY
         FAULT OR NEGLIGENCE OF HOMEADVISOR OR THE INDEMNIFIED
         PARTIES AND WITHOUT REGARD TO CAUSE OR TO ANY
         CONCURRENT OR CONTRIBUTING FAULT, STRING LIABILITY OR
         NEGLIGENCE, WHETHER SOLE, JOINT OR CONCURRENT, ACTIVE OR
         PASSIVE BY HOMEADVISOR OR THE INDEMNIFIED PARTIES.

             1. Limitation of Liability. IN NO EVENT ARE WE LIABLE TO YOU FOR
                ANY CONSEQUENTIAL, INDIRECT, INCIDENTAL, PUNITIVE OR
                SPECIAL DAMAGES, LOST REVENUE, LOST PROFITS OR LOSS
                OF GOODWILL. IN NO EVENT WILL THE TOTAL AGGREGATE
                LIABILITY OF HomeAdvisor TO YOU EXCEED THE AMOUNT OF
                FEES ACTUALLY PAID BY YOU TO HomeAdvisor DURING THE
                PRECEEDING 12 MONTHS, REGARDLESS OF THE BASIS OR
                FORM OF CLAIM

             2. Disclaimer of Warranties. YOU ACKNOWLEDGE AND AGREE THAT
                THE HOMEADVISOR SERVICES AND HOMEADVISOR SEAL OF
                APPROVAL ARE PROVIDED TO YOU ON AN "AS IS" BASIS, AND
                HOMEADVISOR DISCLAIMS ANY AND ALL EXPRESS OR
                IMPLIED WARRANTIES, INCLUDING BUT NOT LIMITED TO ANY
                WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
                PARTICULAR PURPOSE, AND NON-INFRINGEMENT, TO THE
                MAXIMUM EXTENT PERMITTED BY LAW

8. AGREEMENT TO ARBITRATE ALL DISPUTES AND GOVERNING LAW.
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      1. The exclusive means of resolving anv dispute between you and HomeAdvisor
         or any claim or controversy arising out of or relating to or that have arisen
         based on use of this Website and/or HomeAdvisor*s services (including anv
         alleged breach of these Terms and Cooditions) shall be BINDING
         ARBITRATION administered bv the American Arbitration Association,
         EXCEPT AS EXPRESSLY PROVIDED BY APPLICABLE FEDERAL OR
         STATE LAW. You may not under anv circumstances commence, participate
         in or maintain against HomeAdvisor anv class action^ class arbitration, or
         other representative action or proceeding.

         *NOTICE OF RIGHTS*

      2. Bv using the Website and/or HomeAdvisor’s services in anv manner, you
         agree to the above arbitration agreement. In doing so, YOU GIVE UP YOUR
         RIGHT TO GO TO COURT to assert or defend anv claims between you and
         HomeAdvison YOU ALSO GIVE UP YOUR RIGHT TO PARTICIPATE
         IN A CLASS ACTION OR OTHER CLASS PROCEEDING. Your rights
         will be determined bv a NEUTRAL ARBITRATOR, NOT A JUDGE OR
         JURY. You are entitled to a fair hearing before the arbitrator. The
         arbitrator can grant anv relief that a court can, but vou should note that
         arbitration proceedings are usually simpler and more streamlined than trials
         and other judicial proceedings. Decisions bv the arbitrator arc enforceable in
         court and may be overturned bv a court only for very limited reasons.

             1. Anv proceeding to enforce this arbitration agreement, including anv
                proceeding to confirm, modify, or vacate an arbitration award, may
                be commenced in anv court of competent jurisdiction. In the event
                that this arbitration agreement is for anv reason held to be
                unenforceable, anv litigation against HomeAdvisor may be
                commenced only in the federal or state courts located in Denver
                County. Colorado. You hereby irrevocably consent to the jurisdiction
                of those courts for such purposes.

             2. These Terms and Conditions, and anv dispute between vou and
                HomeAdvisor. shall be governed bv the laws of the state of Colorado
                without regard to principles of conflicts of law, provided that this
                arbitration agreement shall be governed bv the Federal Arbitration
                Act.

9. Other Terms.

      1. This Agreement, and the HomeAdvisor Fee Schedule, including Lead prices, may
         be changed from time to time. By continuing to use any HomeAdvisor services
         you are agreeing to be bound by any such non-material changes. Material changes
         to this Agreement or to the HomeAdvisor Fee Schedule will be posted on the
         HomeAdvisor Website at pro.homeadvisor.com/tenns/terms-conditions/ and
         periodically communicated to you by email, text, the HomeAdvisor Pro app or
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        other reasonable means. By continuing to use any HomeAdvisor services after
        receiving any such notice of changes from HomeAdvisor, you are agreeing to all
        such changes.

           1. You may terminate this Agreement upon our receipt of your notice during
              normal business hours (such termination to be effective upon the close of
              business on the day properly delivered and received), but you shall be
              obligated to pay for any Leads or services delivered to you prior to us
              receiving your termination during normal business hours.

           2. HomeAdvisor, in its sole discretion, reserves the right to suspend your
              rights under this Agreement or terminate this Agreement and your
              membership in the HomeAdvisor network immediately at any time for any
              reason or no reason at all.

           3. If this Agreement is terminated or expires, your agreements and
              obligations under this Agreement shall continue; and any Leads provided
              to you during the term of this Agreement and relationships you enter into
              or create from those Leads will continue to be governed by this Agreement
              including but not limited to with respect to any disputes that may arise or
              claims that may be made against us and any indemnification of us by you
              for such claims. Further, in the event this Agreement is terminated or
              expires, (i) all licenses granted to you under this Agreement shall
              immediately terminate, and you shall have no further right to access, use
              or display the any HomeAdvisor content, including but not limited to the
              HomeAdvisor Seal of Approval in any manner, and (ii) you agree to
              destroy any materials containing the HomeAdvisor Seal of Approval.
              Upon any termination of this Agreement, you will no longer have access
              to your HomeAdvisor account.

           4. If it is determined or suspected by HomeAdvisor in its sole discretion that
              you are misusing or attempting to misuse or circumvent the HomeAdvisor
              services or system or any customer data, or are using or attempting to use
              it for any inappropriate, illegal, harmful, or anti-competitive, purposes,
              including but not limited to activities such as hacking, infiltrating, fraud,
              advertising, jamming or spamming, or any activities inconsistent with the
              services proposed to be offered by HomeAdvisor, in addition to our right
              to immediately terminate this Agreement, HomeAdvisor reserves the right,
              in its sole discretion, to instigate, without notice, appropriate legal actions
              or proceedings to seek appropriate remedies and/or damages, including but
              not limited to lost revenue, repairs, legal fees, costs and expenses, and to
              seek injunctions or other equitable remedies.

           5. In the event of termination of this Agreement, you shall not be entitled to
              any refund of any fees paid to us, including any prepayments.

           6. You will be liable for any attorneys' fees and costs if we have to take any
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                  legal action (including the retention of a lawyer) to enforce this
                  Agreement. The laws of the State of Colorado (excluding the laws and
                  principles with respect to conflicts of law) govern this Agreement. You
                  hereby consent and agree that the state or federal courts in Denver
                  Colorado are the exclusive forum for litigation of any claim by you arising
                  under this Agreement or your use of the HomeAdvisor Website and/or
                  Services, and you submit to sole and exclusive jurisdiction in the state of
                  Colorado, and hereby irrevocably waive and relinquish any right to bring,
                  or cause to be brought, any such action, or to have any such action
                  brought, in any judicial or administrative forum outside of such forum.

              7. You understand and agree that you are an independent contractor of
                 HomeAdvisor, and are not a HomeAdvisor employee, joint venturer,
                 partner, or agent. You acknowledge that you set or confirm your own
                 prices, provide your own equipment, and determine your own work
                 schedule. HomeAdvisor does not control, and has no right to control, the
                 services you provide (including how you provide such services) if you are
                 engaged by a consumer, except as specifically noted herein.

              8. If any provision of this Agreement is held by any court or other authority
                 of competent jurisdiction to be invalid, illegal or in conflict with any
                 applicable state or federal law or regulation, such law or regulation shall
                 control, to the extent of such conflict, without affecting the remainder of
                 this Agreement.

              9. Wireless data usage is subject to the fees and terms of your wireless
                 subscriber agreement or data service plan with your provider, and you may
                 incur charges from your telephone service provider for text messages,
                 phone calls, email communications and data transferred.

              10. HomeAdvisor and its affiliates mav view, store, access and disclose
                  messages exchanged between you and consumers transmitted via
                  HomeAdvisor*s messaging platform.

              11. HomeAdvisor has the right to use all information related to You in
                  accordance with its Privacy Policy, which can be found at
                  https://pro.homeadvisor.com/home/Privacy-Policy/.

              12. You agree not to copy/collect HomeAdvisor content via robots, spiders,
                  scripts, scrapers, crawlers, or any automated or manual equivalent (e.g., by
                  hand).

                    Handyman and Maid Service Programs.

1. Handvman/Maid Service Fees. Upon your approval into the Handyman Program or the
   Maid Service Program, your method of payment will be charged a subscription fee
   ("Subscription Fee") per month in advance. This Subscription Fee is subject to change in
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   HomeAdvisor's sole discretion with advance notice to you. You will also receive
   unlimited Handyman Leads or Maid Service Leads at no cost to you.

2. Per Lead Fees for Non-Handvman/Maid Service Leads. If you choose to expand your
   tasks beyond those included in the Handyman category or the Maid Service category, as
   applicable, you will be responsible for paying the then-current Lead Fee for each Lead
   you receive in those additional categories, in addition to your monthly Handyman or
   Maid Service Subscription Fee.

3- Term. HomeAdvisor may terminate the Handyman Program and/or the Maid Service
   Program at any time in its sole discretion. If HomeAdvisor terminates the Handyman
   Program or the Maid Service Program in the middle of a month, you will receive a pro­
   rated refund of your Subscription Fee. You may cancel your subscription at any time, but
   HomeAdvisor is not obligated to refund to you any Subscription Fees, except solely in
   the event you rescind or terminate your subscription within the seventy-two (72) hour
   period following your agreement to purchase a subscription.

4. Job Opportunities Leads (as set forth in section VI.c.) are not included in the unlimited
   leads provided under the Handyman Program or the Maid Service Program. Job
   Opportunities Leads will be charged at the rates presented at the time you elect to
   purchase such leads.

                                Appliances Program.

1. Appliances Program Fees. Upon your approval into the Appliances Program, your
   method of payment will be charged a subscription fee ("Appliances Subscription Fee")
   per month in advance. This Appliances Subscription Fee is subject to change in
   HomeAdvisor's sole discretion with advance notice to you. This Appliances Subscription
   Fee covers your placement in HomeAdvisor's directory product which is displayed on the
   HomeAdvisor website ("LiveDirectory"). Additionally, you will receive unlimited
   Appliances Leads at no cost to you for the first three (3) months from the date of your
   enrollment in the Appliances Program. After this three (3) month period, you may (i)
   continue to pay only the Appliances Subscription Fee and remain listed in the
   LiveDirectory, but you will not receive any additional Appliances Leads, or you may (ii)
   choose to additionally opt-in to receiving Appliances Leads at the then-current Lead
   Fees. Receipt of Appliances Leads will be subject to all applicable provisions of this
   Agreement with respect to Lead-purchasing members.

2. Lead Fees for Non-Appliance Category Leads. If you choose to expand your tasks
   beyond those included in the Appliances Category, you will be responsible for paying the
   then-current Lead Fee for each Lead you receive in those additional categories, in
   addition to your monthly Appliances Subscription Fee.

3. Term. HomeAdvisor may terminate the Appliances Program at any time in its sole
   discretion. If HomeAdvisor terminates the Appliances Program in the middle of a month,
   you will receive a pro-rated refund of your Appliances Subscription Fee. You may cancel
   your subscription at any time, but HomeAdvisor is not obligated to refund to you any
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   Appliances Subscription Fees, except in the event you rescind or terminate your
   subscription within the seventy-two (72) hour period following your agreement to
   purchase a subscription.

                               Gig Economy Program.

1. Gig Economy Fees and Payments. HomeAdvisor will set prices for jobs in its sole
   discretion, and if you accept and complete a job, you will receive a pre-assigned take-
   home amount per job. This take-home amount will be displayed prior to your accepting a
   job. In order to participate in the Gig Economy Program, you are required to sign up for
   Easy Pay, and agree to the Easy Pay terms and conditions, as all payments from
   consumers will be processed and distributed to you via Easy Pay.

2. Your Obligations.

       1. You authorize HomeAdvisor to send you SMS messages, which may include
          marketing messages. You also authorize HomeAdvisor to send you marketing
          emails from time to time.

       2. You are required to download and use the HomeAdvisor Pro mobile application
          in order to participate in the Gig Economy Program.

       3. You agree to honor the price that you accepted for the job during all business
          hours and as required by applicable law.

       4. You are responsible for scheduling the work according to your availability;

       5. You agree to use your best efforts to provide the best quality services or goods
          subject to the job;

       6. You agree to pay any and all state sales, use, or other tax due or imposed by any
          governmental authority with respect to the job.

3. Representations and Warranties. You represent and warrant that you have all requisite
   power and authority to enter into this Agreement and to sell the goods or provide the
   services which are the subject of the job; where applicable, you are legally and properly
   licensed to and possesses all requisite licenses and permits to complete the job in the
   geographic areas in which the job is located, and you are registered for sales, use, and
   other tax collection purposes in all states which you provide goods and services. You
   represent and warrant that you will not charge or attempt to charge a consumer a price
   other than the price HomeAdvisor has set for the job you have accepted, or refuse to
   complete a job in an effort to obtain a higher price.

4. Term. HomeAdvisor may terminate the Gig Economy Program at any time in its sole
   discretion.

5. Miscellaneous. HomeAdvisor is in no case liable to you for payment for a job you have
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       accepted, all liability with respect to payment lies with the consumer.

HomeAdvisor Pro Mobile App
Download Free
By using HomeAdvisor, you agree to our Terms & Conditions | Privacy Policy

HomeAdvisor Pro

   •   Home
   •   Lead Center
   •   Opportunities
   •   Reviews
   •   Mv Profile
   •   Articles & Tools
   •   Account

Find a Sub-Contractor

   •   Mv Projects
   •   ProFinder
   •   Pro Reviews
   •   True Cost Guide
   •   Emergency Repairs
   •   DesignMine

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                         EXHIBIT 4
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Legal Center
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    •   Service Provider's User Agreement
    •   Terms of Use
    •   Projects Submission Customer Agreement
    •   Advertising and Deals Agreement
    •   Angie’s List Mobile Alerts Terms and Conditions

Terms of Use
Effective April 24, 2017

Download

Angie’s List Terms of Use
Last Updated: April 24, 2017
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following Terms of Use outline your obligations when using the Angie’s List websites, mobile
applications, and services.
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The Angie’s List Internet site available at www.angieslist.com, the Angie’s List mobile
application, all related sites and mobile applications, and the various content, features, and
services offered on and in connection with these sites and applications, including the Angie’s
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BECOME BOUND BY THESE TERMS AND CONDITIONS. IF YOU DO NOT AGREE TO
ALL THE TERMS AND CONDITIONS, THEN YOU MAY NOT ACCESS AND USE THE
SITES AND SERVICES.
MODIFICATIONS OF TERMS OF USE
Angie’s List may, in its sole discretion, modify these Terms of Use at any time effective upon
posting the modified Terms of Use on and in connection with the Sites and Services, with or
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without additional notice to you. You are responsible for regularly reviewing information posted
on the Sites and Services to obtain timely notice of such changes. If you do not agree to the
amended terms, you agree to immediately stop using the Sites and Services and to provide
Angie’s List notice to remove you from any distribution lists or other communication list that are
available to you through your use of the Sites and Services. YOUR CONTINUED USE OF THE
SITE AND SERVICES AFTER SUCH POSTING (OR OTHER NOTIFICATION, IF ANY)
MEANS YOU ACCEPT AND AGREE TO BE BOUND BY THE MODIFIED TERMS OF
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and Services for your personal use. You agree to not access, reproduce, duplicate, copy, sell, re­
sell, modify, distribute, transmit, or otherwise exploit the Sites or Services or any of their content
for any purpose except for your personal use and as described in these Terms of Use, without the
express written consent of Angie’s List. Angie’s List may modify, update, suspend or
discontinue the Sites and Services, in whole or in part, at our sole discretion for any or no reason,
at any time and with or without notice. Angie’s List shall not be liable to any user or other third
party for any such modification, update, suspension or discontinuance.
USER CONDUCT
As a condition of your access and use of the Sites and Services and your submission or access to
any ratings, reviews, communications, information, data, text, photographs, audio clips,
audiovisual works, or other materials on the Sites and Services (collectively, the “Content”), you
agree not to use the Sites and Services for any purpose that is unlawful or prohibited by these
Terms of Use, or any other purpose not reasonably intended by Angie’s List. By way of
example, and not as a limitation, you agree not to:

   1. violate these Terms of Use, other applicable agreement with Angie’s List, and any
      applicable local, state, national or international law, and any rules and regulations having
      the force of law;
   2. use the Sites and Services in any manner that violates any relevant law or that infringes,
      misappropriates or violates any third party’s rights, including, but not limited to,
      transmitting any Content that may infringe, misappropriate or violate a third party’s
      rights of publicity, contractual rights, fiduciary rights or intellectual property rights;
   3. use the Sites and Services or its Content for any purposes not authorized by these Terms
      of Use, including commercial, political, or religious purposes, including the submission
      or transmission of any Content that contains advertisements, promotional materials, junk
      mail, or any other form of solicitation;
   4. reproduce, duplicate, copy, modify, sell, re-sell or exploit any Content or the Sites and
      Services for any commercial, educational, or any other non-personal purpose or any for
      any purpose unrelated to your personal purchasing decisions, without the express written
      consent of Angie’s List, which consent may be withheld by Angie’s List in our sole
      discretion;
   5. post irrelevant Content, repeatedly post the same or similar Content or otherwise impose
      an unreasonable or disproportionately large load on our infrastructure, interfere or
      attempt to interfere with the proper working of the Sites and Services or any activities
      conducted on the Sites and Services;
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    6. harass, threaten, intimidate, impersonate, or attempt to impersonate, any other person,
        falsify your contact or other information, misrepresent a relationship with any person or
        entity, including misrepresenting a relationship with Angie’s List, or otherwise attempt to
        mislead others as to the identity of the sender or the origin of a review or rating;
    7. knowingly provide or submit false or misleading information;
    8. use the Sites and Services if you are under the age of eighteen (18);
    9. take any action that would undermine the review and rating process under the Sites and
        Services;
    10. attempt to gain unauthorized access to the Sites and Services, other user accounts, or
        other computer systems or networks connected to the Sites and Services;
    11. use the Sites and Services in any way that could interfere with the rights of Angie’s List
        or the rights of other users of the Sites and Services;
    12. attempt to gain unauthorized access to any portion or feature of the Sites and Services, or
        any other systems or networks connected to the Sites and Services or to any server used
        by Angie’s List by hacking, password ‘mining’ or any other illegitimate or unauthorized
        means, including attempting to obtain password, account, or any other personal or private
        information from any other Sites and Services user;
    13. sell, share, or otherwise transfer your account username, password, other information, or
        your rights or obligations under these Terms of Use;
    14. transmit or submit any transmission or other materials that are encrypted or that contains
        viruses, Trojan horses, worms, time bombs, spiders, cancelbots or other computer
        programming routines that is likely or intended to damage, interfere with, disrupt, impair,
        disable or otherwise overburden the Sites and Services;
    15. access, download, monitor, or copy any information contained on our Sites and Services
        through artificial means (including but not limited to use any ‘deep-link’, ‘scraper’,
        ‘robot’, ‘spider’ or other automatic device, program, algorithm or methodology, or any
        similar or equivalent automatic or manual process, or in any way reproduce or
        circumvent the navigational structure or presentation of the Sites and Services or any
        content, to obtain or attempt to obtain any Content, materials, documents or information
        through any means not purposely made available through the Sites and Services; or
    16. probe, scan or test the vulnerability of the Sites and Services or any network connected to
        the Sites and Services, nor breach the security or authentication measures on or of the
        Sites and Services or any network connected to the Sites and Services. You may not
        reverse look-up, trace or seek to trace any information on any other user of the Sites and
        Services, or any other customer of Angie’s List, including any Angie’s List account not
        owned by you, to its source, or exploit the Sites and Services or any service or
        information made available or offered by or through the Sites and Services, in any way
        where the purpose is to reveal any information, including but not limited to personal
        identification or information other than your own information, except as expressly
        authorized by Angie’s List and provided for by the Sites and Services.

ANGIE’S LIST’S SERVICES
When using, accessing, or purchasing particular services or features of the Sites and Services,
you shall be subject to any posted agreements, guidelines, or rules applicable to such services or
features that may be posted from time to time. All such agreements, guidelines, or rules are
hereby incorporated by reference into the Terms of Use. ^ ^ »
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REGISTRATION INFORMATION
We may require that you create an account to use or access certain parts of the Sites and Services
and use certain products and features. We may require that you provide login information such as
a username and password to access and utilize your account. As a condition of your use of the
Sites and Service, you agree to (a) provide Angie’s List with true, accurate, current and complete
information as prompted by the Angie’s List’s registration forms, when registering for or using
the Sites and Services and (b) update and maintain the truthfulness, accuracy and completeness
of such information. You are responsible for maintaining the confidentiality of any password or
other account information not generally available to others and are fully responsible for all
activities that occur under your username and password. While there are limited, legitimate
reasons for creating multiple accounts, creating serial or overlapping accounts may result in
account termination. Please contact us if you have questions about managing multiple accounts.
Submitting CONTENT
As a condition of submitting any Content or other materials to the Sites or Services, you agree
that:

   1. you grant to Angie’s List a royalty free, perpetual, irrevocable, worldwide, nonexclusive,
       transferable, and sublicensable license to use, reproduce, copy, adapt, modify, merge,
       distribute, publicly display, create derivative works from, incorporate such Content into
       other works;
   2. you grant to Angie’s List all rights necessary to publish or refrain from publishing your
       name and address in connection with your Content; sublicense through multiple tiers the
       Content, and acknowledge that this license cannot be terminated by you once your
       Content is submitted to the Sites and Services;
   3. you grant to Angie’s List all rights necessary to prohibit the subsequent aggregation,
       display, copying, duplication, reproduction, distribution, or exploitation of your Content
       by any other party;
   4. your name and report information may be made available to the public and to the Service
       Providers on which you report;
   5. you represent that you own or have secured all legal rights necessary for the Content
       submitted by you to be used by you, Angie’s List, and others as described and otherwise
       contemplated in these Terms of Use;
   6. you represent and warrant that each person identified, depicted, or shown in in your
       Content, if any, (and if a minor, the parent or guardian of the minor) has provided consent
       to the use of the Content consistent with these Terms of Use;
   7. you are solely responsible for your reviews and ratings;
   8. Angie’s List may, in its sole discretion, choose to remove or not to remove reviews and
       ratings once published;
   9. you will not submit any reviews that may be considered by Angie’s List to be infringing,
       harassing, libelous, abusive, threatening, obscene, profane, hateful, offensive, harmful,
       vulgar, distasteful, defamatory, or otherwise violates any relevant law or right of any
       other party, or racially, ethnically or otherwise objectionable;
   10. all of your reviews and ratings will either be based upon (i) your actual first-hand
       experiences with the Service Providers you are reviewing or (ii) as provided below, an
       individual and that individual’s actual first-hand experience with a health care or wellness
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        provider whereby you have the legal authority to disclose such health information and
        experience of such individual;
    11. all of your reviews and ratings of the Service Providers that you are rating will be
        accurate, honest, truthful, and complete in all respects;
    12. you do not work for, own any interest in or serve on the board of directors of, any of the
        Service Providers for which you submit reviews and ratings; you are not in any way
        related (by blood, adoption or marriage, if the Service Provider is an individual) to any of
        the Service Providers for which you submit reviews or ratings;
    13. you have not received any form of compensation to post reviews and ratings;
    14. you will submit thorough and thoughtful reviews of the Service Providers you review (for
        example, submitting a review describing a service contractor as “He/She is great.”
        Without additional commentary is not a thorough and thoughtful review);
    15. you will not submit reviews that comment on other users or the reviews of other users;
    16. you will not submit reviews with hyperlinks; or
    17. the reviews and ratings that you provide do not reflect the views of Angie’s List, its
        officers, managers, owners, employees, agents, designees or other users.

PUBLICATION AND DISTRIBUTION OF CONTENT
Angie’s List does not guarantee the accuracy, integrity, quality or appropriateness of any Content
transmitted to or through the Service. You acknowledge that Angie’s List simply acts as a
 passive conduit and an interactive computer service provider for the publication and distribution
of Content and for the publication and distribution of any content posted by Service Providers in
response to Content (“Service Provider Content”). You understand that all Content and Service
Provider Content posted on, transmitted through or linked through the Service, are the sole
responsibility of the person from whom such Content originated. You understand that Angie’s
List does not control, and is not responsible for Content or Service Provider Content made
available through the Service, and that by using the Service, You may be exposed to Content that
 is inaccurate, misleading, or offensive. You agree that You must evaluate and make Your own
judgment, and bear all risks associated with, the use of any Content and Service Provider
Content.
 You further acknowledge that Angie’s List has no obligation to screen, preview, monitor or
approve any Content or Service Provider Content, or Content posted or submitted by any other
Angie’s List member or any Service Provider. However, Angie’s List reserves the right to review
and delete any Content that, in its sole judgment, violates the terms and conditions of this
Agreement. By using the Service, You agree that it is solely YOUR RESPONSIBILITY to
evaluate Your risks to bear associated with the use, accuracy, usefulness, completeness or
appropriateness of any Content that You submit, receive, access, transmit or otherwise convey
through the Service. Under no circumstances will Angie’s List be liable in any way for any
Content or Service Provider Content, including, but not limited to, any Content or Service
Provider Content that contains any errors, omissions, defamatory statements, or confidential or
private information (including, but not limited to, health information) or for any loss or damage
of any kind incurred as a result of the use of any Content or Service Provider Content submitted,
accessed, transmitted or otherwise conveyed via the Service. You waive the right to bring or
assert any claim against Angie’s List relating to Content or Service Provider Content, and release
Angie’s List from any and all liability for or relating to any Content or Service Provider Content.
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You may, however, report Content that you believe violates these Terms of Use or is otherwise
unlawful by sending an email to helpdesk@angieslist.com (for copyright complaints, please see
below). Please note that you may be liable for damages (including costs and attorneys’ fees) for
unlawful misrepresentations. If you are uncertain whether an activity is unlawful, we recommend
seeking advice of an attorney.
You agree that Angie’s List may establish general practices, policies and limits, which may or
may not be published, concerning the use of the Sites and Services, including without limitation,
the time that reviews and ratings will be retained, the maximum number of reviews and ratings
that may be sent from an account, the length of reviews and ratings sent, and the maximum
number of times and the maximum duration for which you may access the Sites and Services in a
given period of time. You agree that Angie’s List has no responsibility or liability for the
deletion or failure to store any Content or other materials maintained or transmitted by or
through the Sites and Services. You agree that Angie’s List has the right to change these general
practices and limits at any time, in its sole discretion, with or without notice.
SERVICE PROVIDERS
Angie’s List does not endorse and is not responsible or liable for any Content, data, advertising,
products, goods or services available or unavailable from, or through, any third party or Service
Provider (which includes, but is not limited to, health care and wellness providers). You agree
that should you use or rely on such Content, data, advertisement, products, goods or services,
available or unavailable from, or through any third party or Service Provider (which includes, but
is not limited to, health care and wellness providers), Angie’s List is not responsible or liable,
indirectly or directly, for any damage or loss caused or alleged to be caused by or in connection
with such use or reliance. Your dealings with, or participation in promotions of any Service
Provider (which includes, but is not limited to, health care and wellness providers), and any other
terms, conditions, representations or warranties associated with such dealings, are between you
and such Service Provider (which includes, but is not limited to, health care and wellness
providers) exclusively and do not involve Angie’s List. You should make whatever investigation
or other resources that you deem necessary or appropriate before hiring or engaging Service
Providers (which includes, but is not limited to, health care and wellness providers).
Third parties and Service Providers may link or otherwise direct Internet users to our Sites and
Services for the purpose of utilizing one or more of the services we provide on behalf of others.
Additionally, we may provide links or otherwise direct you to third party or Service Provider
websites. Angie’s List does not control or operate any such third party or Service Provider
websites. Any information you provide to these third party or Service Provider websites while on
these third party or Service Provider websites is subject to the respective policies of those third
parties or Service Providers, and not Angie’s List’s policies. It is your responsibility to review
such third party or Service Provider policies, including any relevant privacy policies. You agree
that Angie’s List will not be responsible or liable for, and does not endorse any content,
advertising, goods or services provided on or through these outside websites or for your use or
inability to use such websites. Angie’s List does not make any representations or warranties as to
the security of any information (including, without limitation, credit card and other personal
information) you might be requested to give to any third party or Service Provider sites. You use
these third party or Service Provider websites at your own risk.
You agree that Angie’s List is not responsible for the accessibility or unavailability of any
Service Provider (which includes, but is not limited to, health care and wellness providers) or for
your interactions and dealings with them, waive the right to bring or assert any claim against
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Angie’s List relating to any interactions or dealings with any Service Provider (which includes,
but is not limited to, health care and wellness providers), and release Angie’s List from any and
ail liability for or relating to any interactions or dealings with Service Providers (which includes,
but is not limited to, health care and wellness providers).
Without limiting the foregoing, your correspondence or business dealings with, consumption of
products or services of, or participation in promotions of, third parties or Service Providers found
on or through the use of the Sites and Services, including payment for and delivery or fulfillment
of related goods or services, and any other terms, conditions, warranties, or representations
associated with such dealings, are solely between you and such third party. You agree that
Angie’s List shall not be responsible or liable, directly or indirectly, for any loss or damage of
any sort incurred as the result of any such dealings or as the result of the presence of such third
parties or Service Providers on the Angie’s List Sites and Services.
HEALTH RELATED PROVIDERS
The Sites and Services and its Content are for informational purposes only. The Content is not
intended to be a substitute for professional medical advice, diagnosis, or treatment. Always seek
the advice of your physician or other qualified health provider with any questions you may have
regarding a medical condition. Never disregard professional medical advice or delay in seeking it
because of something you have read on the Sites and Services.
If you think you may have a medical emergency, call your doctor or 911 immediately. Angie’s
List does not recommend or endorse any specific tests, physicians, products, procedures,
opinions, or other information that may be mentioned on the Sites and Services. Angie’s List is
not a health or wellness provider and cannot recommend or refer you to any health or wellness
provider. Reliance on any information provided by Angie’s List, its employees and others
appearing on the Sites and Services at the invitation of Angie’s List, or other visitors to the Sites
and Services is solely at your own risk.
The Sites and Services may contain health-related materials that are sexually explicit. If you find
these materials offensive, should not use the Sites and Services. You should be aware that if you
post any health-related information about yourself or anyone else on the Sites and Services, you
do so at your own risk. If you post health information about services rendered to another
individual, you represent that you have the legal authority to receive health information about
that individual from that individual’s health care providers and that you have the legal authority
to further disclose such health information. If you post health-related information, you will be
placing it into the public domain which may violate federal or state laws that protect the privacy
of health information. You also acknowledge that the health care or wellness provider about
whom you submit Content may submit Content that contain your private or confidential health
information in response to Content you submit. Angie’s List is not liable for any such Content.
Angie’s List cannot be expected to keep you health information confidential if you post it to the
Sites or Services or otherwise make it available to others.
Termination of Access
Angie’s List may terminate your privilege to use or access the Sites and Services immediately
and without notice for any reason whatsoever. Upon such termination, you must immediately
cease accessing or using the Sites and Services and agree not access or make use of, or attempt to
use, the Sites and Services. Furthermore, you acknowledge that Angie’s List reserves the right to
take action — technical, legal or otherwise - to block, nullify or deny your ability to access the
Sites and Services. You understand that Angie’s List may exercise this right in its sole discretion.
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and this right shall be in addition to and not in substitution for any other rights and remedies
available to Angie’s List.
All provisions of these Terms of Use which by their nature should survive termination shall
survive the termination of your access to the Sites and Services, including, without limitation,
provision regarding ownership, warranty disclaimers, indemnity, and limitations of liability.
NOTICE FOR CALIFORNIA USERS
Under California Civil Code Section 1789.3, California web users are entitled to the following
specific consumer rights notice: The Services are provided by Angie’s List, Inc., 1030 E.
Washington St., Indianapolis, Indiana 46202. If You have any questions, concerns, or complaints
regarding the Services, please contact Angie’s List, Inc. by either sending: (i) an email to
memberservices@angieslist.com; or (ii) a letter, first class certified mail, to Angie’s List, 1030
East Washington, Indianapolis, Indiana 46202, Attn: Member Services.
California residents may reach the Complaint Assistance Unit of the Division of Consumer
Services of the California Department of Consumer Affairs may be contacted in writing at 1625
N. Market Blvd., Suite S-202, Sacramento, California 95834, or by telephone at (916) 445-1254
or (800) 952-5210 or Hearing Impaired at TDD (800) 326-2297 or TDD (916) 322-1700.
TRADEMARKS AND COPYRIGHTS
Angie’s List, and other Sites and Services graphics, logos, designs, page headers, button icons,
scripts, and service names are the trademarks or trade dress of Angie’s List in the U.S. and/or
other countries. These trademarks and trade dress may not be used, including as part of
trademarks and/or as part of domain names, keyword advertisements, or email addresses, or in
connection with any product or service in any manner that is likely to cause confusion.
You should assume all Content and material made available on the Sites and Services is protect
by copyright law. Aside from user-submitted Content, all other materials and other information
on the Sites and Services, including, but not limited to, all text, graphics, logos, icons, images,
audio and video clips, downloads, data compilations and software are the exclusive property of
Angie’s List and/or its licensors and are protected by all United States and international
copyright laws.
Notices
You agree that Angie’s List may communicate any notices to You under these Terms of Use,
through electronic mail, regular mail or posting the notices on the Site. All notices to Angie’s
List will be provided by either sending: (i) an email to memberservices@angieslist.com; or (ii) a
letter, first class certified mail, to Angie’s List, 1030 East Washington, Indianapolis, Indiana
46202, Attn: Member Services. Such notices will be deemed delivered upon the earlier of the
verification of delivery or two (2) business days after being sent.
In accordance with the Digital Millennium Copyright Act of 1998, Title 17 of the United States
Code, Section 512 (“DMCA”), Angie’s List will respond promptly to claims of copyright or
trademark infringement that are reported to the agent that we have designated to receive
notifications of claims infringement (its “Designated Agent”). Our Designated Agent is:
Angie’s List, Inc.
 1030 E. Washington St.
Indianapolis, IN 46202
Attn: Jill Arnold
Email: copyrightagent@angieslist.com
If You are a copyright or trademark owner (or authorized to act on behalf of the copyright or
trademark owner) and believe that Your work’s copyright or trademark has been infringed,
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please report Your notice of infringement to us by providing our Designated Agent with a
written notification of claimed infringement that includes substantially the following:

   1. a physical or electronic signature of a person authorized to act on behalf of the owner of
      an exclusive right that is allegedly infringed;
   2. identification of the copyrighted work or trademark claimed to have been infringed, or, if
      multiple copyrighted works or trademarks at a single online site are covered by a single
      notification, a representative list of such works at that site;
   3. identification of the material that is claimed to be infringing or to be the subject of
      infringing activity and that is to be removed or access to which is to be disabled, and
      information reasonably sufficient to permit us to locate the material;
   4. information reasonably sufficient to permit us to contact You, such as an address,
      telephone number, and, if available, an electronic mail address at which You may be
      contacted;
   5. a statement that You have a good faith belief that use of the material in the manner
      complained of is not authorized by the copyright or trademark owner, its agent, or the
      law; and
   6. a statement that the information in the notification is accurate, and under penalty of
      peijury, that You are authorized to act on behalf of the owner of an exclusive right that is
      allegedly infringed.

Angie's List will investigate notices of copyright and trademark infringement and take
appropriate actions under the DMCA. Inquiries that do not follow this procedure may not receive
a response.
DELAYS AND ACCESSIBILITY
The Sites and Services may be subject to limitations, delays, failure, and other problems inherent
in the use of the Internet and electronic communications. Angie’s List is not responsible for any
delays, failures or other damage resulting from such problems.
USER FEEDBACK
Angie’s List appreciates heeiring from you, as well as our other users, and welcomes your
comments regarding our Sites and Services. Please be advised, however, that our policy does not
permit us to accept or consider creative ideas, suggestions, or materials other than those which
we have specifically requested. Although we do value your feedback on our Sites and Services,
please be specific in your comments regarding our services and do not submit creative ideas,
suggestions or materials. If, despite our request, you send us creative suggestions, ideas,
drawings, concepts or other information (collectively, the “Submissions”), such Submissions will
be the property of Angie’s List. In addition, none of the Submissions will be subject to any
obligations of confidentiality and Angie’s List will not be liable for any future use or disclosure
of such Submissions.
Warranties and Disclaimers
You acknowledge that Angie’s List has no control over, and no duty to take any action
regarding: which users gain access to or use the Sites and Services; what effects the content on or
in connection with the Sites and Services may have on you; how you may interpret or use the
content on or in connection with the Sites and Services; or what actions you may take as a result
of having been exposed to the content on or in connection with the Sites and Services. You
release Angie’s List from all liability for you having acquired or not acquired content or
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information through the Sites and Services. The Sites and Services may contain, or direct you to
sites containing, information that some people may find offensive or inappropriate. Angie’s List
makes no representations concerning any content contained in or accessed through the Sites and
Services, and Angie’s List will not be responsible or liable for the accuracy, copyright
compliance, legality or decency of material contained in or accessed through the Sites and
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accuracy, timeliness or completeness of that information and assumes no responsibility for any
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MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE OR NON­
INFRINGEMENT ARE SPECIFICALLY DISCLAIMED. NEITHER ANGIE’S LIST NOR ITS
AFFILIATES, EMPLOYEES, AGENTS OR THIRD PARTY CONTENT PROVIDERS
SHALL BE LIABLE FOR ANY LOSS RESULTING FROM USE OR UNAVAILABILITY OF
INFORMATION OR CONTENT ON OR IN CONNECTION WITH THE SITES AND
SERVICES, INCLUDING BUT NOT LIMITED TO ANY LOST PROFITS, LOSS OR
DAMAGE TO DATA, OR ANY DIRECT, INDIRECT, SPECIAL, CONSEQUENTIAL,
COMPENSATORY OR INCIDENTAL DAMAGES, EVEN IF THEY HAVE BEEN
ADVISED OF THE POSSIBILITY OF SUCH DAMAGES. THIS DISCLAIMER IS
APPLICABLE TO ANY DAMAGE OR INJURY RESULTING FROM NEGLIGENCE OR
OMISSION OF ANGIE’S LIST, COMPUTER VIRUS OR OTHER SIMILAR ITEM,
TELECOMMUNICATIONS ERRORS. OR UNAUTHORIZED ACCESS TO, OR USE OF
USER INFORMATION THROUGH THEFT OR ANY OTHER MEANS. WE ARE NOT
LIABLE FOR CRIMINAL, TORTUOUS, OR NEGLIGENT ACTIONS OR OMISSIONS OF
THIRD PARTIES THAT AFFECT THE SITES AND SERVICES. IN NO EVENT WILL
ANGIE’S LIST OR ANY OF ITS DIRECTORS. OFFICERS, AFFILIATES, AGENTS,
EMPLOYEES, ASSIGNS OR THIRD PARTY CONTENT PROVIDERS BE HELD LIABLE
FOR ANY TORTUOUS OR ILLEGAL CONDUCT OF OTHER USERS. IN NO EVENT
WILL ANGIE’S LIST OR ANY OF ITS AFFILIATES, AGENTS, EMPLOYEES OR
ASSIGNS BE HELD LIABLE FOR ANY DAMAGE TO EQUIPMENT, HARDWARE OR
OTHER PROPERTY OF USER OR PERSONAL INJURY THAT ARISES IN CONNECTION
WITH USE OF THE SITES AND SERVICES.
ANY MATERIAL ACCESSED, DOWNLOADED, OR OTHERWISE OBTAINED
THROUGH THE USE OF THE SITES AND SERVICES IS DONE AT YOUR OWN
DISCRETION AND RISK AND YOU WILL BE SOLELY RESPONSIBLE FOR ANY
DAMAGE TO YOUR COMPUTER SYSTEM OR LOSS OF DATA THAT RESULTS FROM
THE DOWNLOAD OF ANY SUCH MATERIAL. NO ADVICE OR INFORMATION,
WHETHER ORAL OR WRITTEN, OBTAINED BY YOU FROM ANGIE’S LIST OR
THROUGH OR FROM THE SITES AND/OR SERVICES SHALL CREATE ANY
WARRANTY NOT EXPRESSLY STATED IN THE TERMS.
EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE TERMS, ANGIE’S LIST
DOES NOT REPRESENT OR WARRANT THAT (I) THE SITES AND/OR SERVICES WILL
MEET YOUR REQUIREMENTS, (II) THE SITES AND/OR SERVICES WILL BE
UNINTERRUPTED, TIMELY, SECURE, OR ERROR-FREE. (Ill) THE RESULTS THAT
MAY BE OBTAINED FROM THE USE OF THE SITES AND/OR SERVICES WILL BE
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ACCURATE OR RELIABLE, (IV) THE QUALITY OF ANY PRODUCTS, SERVICES,
INFORMATION, OR OTHER MATERIAL PURCHASED OR OBTAINED BY YOU
THROUGH THE SITES WILL MEET YOUR EXPECTATIONS, AND (V) ANY ERRORS IN
THE SOFTWARE WILL BE CORRECTED. YOU AGREE THAT FROM TIME TO TIME
WE MAY REMOVE THE SERVICE FOR INDEFINITE PERIODS OF TIME, OR CANCEL
THE SERVICE AT ANY TIME, WITHOUT NOTICE TO YOU.
BECAUSE SOME JURISDICTIONS DO NOT ALLOW THE EXCLUSION OF IMPLIED
WARRANTIES, THE ABOVE EXCLUSION OF IMPLIED WARRANTIES MAY NOT
APPLY TO YOU. BECAUSE SOME STATES OR JURISDICTIONS DO NOT ALLOW THE
EXCLUSION OR THE LIMITATION OF LIABILITY FOR CONSEQUENTIAL OR
INCIDENTAL DAMAGES, IN SUCH STATES OR JURISDICTIONS, ANGIE’S LIST’S
LIABILITY SHALL BE LIMITED TO THE EXTENT PERMITTED BY LAW.
ANGIE’S LIST SHALL USE REASONABLE EFFORTS TO PROTECT INFORMATION
SUBMITTED BY YOU IN CONNECTION WITH THE SERVICES, BUT YOU
ACKNOWLEDGE AND AGREE THAT YOUR SUBMISSION OF SUCH INFORMATION IS
AT YOUR SOLE RISK, AND ANGIE’S LIST HEREBY DISCLAIMS ANY AND ALL
LIABILITY TO YOU FOR ANY LOSS OR LIABILITY RELATING TO SUCH
INFORMATION IN ANY WAY.
Angie’s List has no control over and no duty to take any action regarding: other users’ behavior;
what effects Content may have on you; how you may interpret or use Content; or what actions
you may take as a result of having been exposed to Content. You release Angie’s List from all
liability for you having acquired or not acquired Content through the Sites and Services. Angie’s
List makes no representations concerning any Content, including the accuracy thereof, contained
in or accessed through the Sites and Services, and Angie’s List will not be responsible or liable
for the accuracy, copyright compliance, legality or decency of material contained in or accessed
through the Sites and Services.
The Sites and Services may display links to other Internet sites or resources. Because Angie’s
List has no control over such sites and resources, you acknowledge and agree that Angie’s List is
not responsible for the availability of such external sites or resources, and does not endorse and
is not responsible or liable for any content, advertising, products or other materials on or
available from such sites or resources.
You further acknowledge and agree that Angie’s List shall not be responsible or liable, directly
or indirectly, for any damage or loss caused or alleged to be caused by or in connection with use
of or reliance on any such content, goods or services available on or through any such site or
resource.
Indemnity
You agree to indemnify, defend and hold harmless Angie’s List, its ofTicers, managers, owners,
employees, agents, designees, users, successors, assigns, service providers and suppliers from
and against all losses, liabilities, expenses, damages, claims, demands and costs, including
reasonable attorneys’ fees and court costs due to or arising from: (a) any violation of these Terms
of Use by you; (b) the inaccurate or untruthful Content or other information provided by you to
Angie’s List or that you submit, transmit or otherwise make available through the Service; or (c)
any intentional or willful violation of any rights of another or harm you may have caused to
another. Angie’s List will have sole control of the defense of any such damage or claim.
Limitation of liability
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YOU EXPRESSLY UNDERSTAND AND AGREE THAT ANGIE’S LIST WILL NOT BE
LIABLE FOR ANY DIRECT, INDIRECT, INCIDENTAL, SPECIAL, PUNITIVE,
COMPENSATORY, CONSEQUENTIAL OR EXEMPLARY DAMAGES (EVEN IF ANGIE’S
LIST HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES)
(COLLECTIVELY, “DAMAGES”), RESULTING FROM; (A) THE USE OR INABILITY TO
USE THE SERVICE; (B) THE COST OF ANY GOODS AND/OR SERVICES PURCHASED
OR OBTAINED AS A RESULT OF THE USE OF THE SERVICE; (C) DISCLOSURE OF,
UNAUTHORIZED ACCESS TO OR ALTERATION OF YOUR INFORMATION OR
CONTENT; (D) CONTENT YOU SUBMIT, RECEIVE, ACCESS, TRANSMIT OR
OTHERWISE CONVEY THROUGH THE SERVICE; (E) STATEMENTS OR CONDUCT OF
ANY SERVICE PROVIDERS OR OTHER THIRD PARTY THROUGH THE SERVICE; (F)
ANY OTHER MATTER RELATING TO THE SERVICE; (G) ANY BREACH OF THIS
AGREEMENT BY ANGIE’S LIST OR THE FAILURE OF ANGIE’S LIST TO PROVIDE
THE SERVICE UNDER THIS AGREEMENT OR (H) ANY OTHER DEALINGS OR
INTERACTIONS YOU HAVE WITH ANY SERVICE PROVIDERS (OR ANY OF THEIR
REPRESENTATIVES OR AGENTS). THESE LIMITATIONS SHALL APPLY TO THE
FULLEST EXTENT PERMITTED BY LAW. In some jurisdictions, limitations of liability are
not permitted. In such jurisdictions, some of the foregoing limitations may not apply to You.
You understand and agree that Your unlimited access to the Content on the Website or in the
Magazine represents a substantial portion of the value You receive from Your Angie’s List’s
Membership Fee. THEREFORE, TO THE EXTENT ANGIE’S LIST IS FOUND LIABLE FOR
ANYTHING RELATED TO THIS AGREEMENT OR THE USE OF THE SERVICE,
ANGIE’S LIST’S LIABILITY FOR DAMAGES WILL NOT EXCEED THE EQUIVALENT
OF ONE (1) MONTH OF YOUR MEMBERSHIP FEE (I.E., THE AMOUNT OF YOUR
ANNUAL MEMBERSHIP FEE DIVIDED BY TWELVE).
YOU EXPRESSLY ACKNOWLEDGE AND AGREE THAT ANGIE’S LIST CONTRACTS
WITH A THIRD PARTY TO PROCESS YOUR PAYMENT OF MEMBERSHIP FEES TO
ANGIE’S LIST THROUGH THE USE OF A CREDIT CARD (A “CREDIT CARD
PROCESSOR”). YOU UNDERSTAND AND AGREE THAT NEITHER A CREDIT CARD
PROCESSOR NOR ANY OTHER PARTY INVOLVED IN THE CREDIT CARD
PROCESSING PROCESS FOR ANGIE’S LIST, INCLUDING, BUT NOT LIMITED TO, THE
COMPANY ISSUING THE CREDIT CARD TO YOU AND THE MERCHANT BANK
(COLLECTIVELY, THE “RELEASED PARTIES”) SHALL BE LIABLE FOR ANY
DAMAGES (AS DEFINED HEREIN AND SUBJECT TO THE LIMITATIONS SET FORTH
IN THIS SECTION SUFFERED BY YOU AS A RESULT OF THE FAILURE OF ANGIE’S
LIST TO PROVIDE SERVICES TO YOU UNDER THIS AGREEMENT OR ANY BREACH
OF THIS AGREEMENT BY ANGIE’S LIST. YOU HEREBY RELEASE EACH OF THE
RELEASED PARTIES FROM ANY AND ALL DAMAGES YOU MAY SUFFER AS A
RESULT OF THE FAILURE OF ANGIE’S LIST TO PROVIDE SERVICES TO YOU UNDER
THIS AGREEMENT OR ANY BREACH OF THIS AGREEMENT BY ANGIE’S LIST. YOU
AGREE TO INDEMNIFY AND HOLD HARMLESS EACH OF THE RELEASED PARTIES
FOR ANY AND ALL DAMAGES IT MAY SUFFER AS A RESULT OF YOUR BREACH OF
THIS SECTION. YOU HEREBY UNDERSTAND AND AGREE THAT ANGIE’S LIST
SHALL BE SOLELY LIABLE FOR THE PAYMENT OF ANY DAMAGES TO YOU UNDER
THIS AGREEMENT.
BREACH OF TERMS OF USE AND LIQUIDATED DAMAGES
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You understand that the content in each report or record on Angie’s List has significant value to
Angie’s List and that the damage caused to Angie’s List for any violation of these Terms of Use
pertaining to a report or record will be difficult to accurately estimate. Thus you shall be liable to
pay us the following amounts as liquidated damages, and you agree that the liquidated damages
are a reasonable estimate of Angie’s List’s damages for the specified breaches of these Terms of
Use:

    1. If you post Content in violation of these Terms of Use, you agree to promptly pay
       Angie’s List One Thousand Dollars ($1,000) for each item of Content posted in violation
       of ±ese Terms of Use. We may (but shall not be required to) to issue you a warning
       before assessing damages.
    2. If you display, copy, duplicate, reproduce, sell, re-sell or exploit for any purpose any
       Content in violation of these Terms of Use, you agree to pay One Hundred Dollars ($100)
       for each record or report that you displayed, copied, duplicated, reproduced, sold, re-sold
       or exploited for any purpose.
    3. If you use computer programming routines that are intended to aggregate records or
       reports from the Sites and Services or otherwise damage, interfere with, disrupt, impair,
       disable or otherwise overburden the Sites and Services, you agree to pay One Hundred
       Dollars ($100) for each report or record that is aggregated, disrupted, damaged or
       otherwise affected by you.
    4. Except as set forth in the foregoing subparagraphs (a) through (c), inclusive, you agree to
       pay the actual damages suffered by Angie’s List, including, but not limited to attorneys’
       fees and court costs, to the extent such actual damages can be reasonably calculated.
       Notwithstanding any other provision of these Terms of Use, we reserve the right to seek
       the remedy of specific performance of any term contained herein, or a preliminary or
       permanent injunction against the breach of any such term or in aid of the exercise of any
       power granted in these Terms of Use, or any combination thereof.

 ENTIRE AGREEMENT
These Terms of Use and other agreements, rules, and policies incorporated by reference to these
 Terms including, without limitation, the Privacy Policy, constitutes the entire agreement between
you and Angie’s List. It supersedes any prior or contemporaneous negotiations, discussions or
agreements, whether written or oral, between you and Angie’s List regarding the subject matter
contained in these Terms of Use. Additional terms and conditions may exist between you and
third parties, including but not limited to. Service Providers and others. You represent and
warrant that those third party agreements do not interfere with your obligations and duties to
Angie’s List under these Terms of Use.
GOVERNING LAW
These Terms of Use and the relationship between You and Angie’s List will be governed by the
laws of the State of Indiana, notwithstanding the choice of law provisions of the venue where
any action is brought, where the violation occurred, where You may be located or any other
jurisdiction. You agree and consent to the exclusive jurisdiction of the state or federal courts
located in Marion County, Indiana and waive any defense of lack of personal jurisdiction or
improper venue or forum non conveniens to a claim brought in such court, except that Angie’s
List may elect, in its sole discretion, to litigate the action in the county or state where any breach
by You occurred or where You can be found. You agree that regardless of any statute or law to
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the contrary, any claim or cause of action arising out or related to Your use of the Site or Service
or these Terms of Use shall be filed within one (1) year after such claim or cause of action arose
or will forever be barred.”
MISCELLANEOUS
If you breach any term of these Terms of Use or other agreement with Angie’s List, Angie’s List
may pursue any legal or equitable remedy available, including but not limited to, direct,
consequential, and punitive damages and injunctive relief. Angie’s List’s remedies are
cumulative and not exclusive. Failure of Angie’s List to exercise any remedy or enforce any
portion of the Terms of Use at any time shall not operate as a waiver of any remedy or of the
right to enforce any portion of the Agreement at any time thereafter. If any provision of the
Terms of Use is found to be unenforceable or invalid, that provision shall be limited or
eliminated to the minimum extent necessary so that the Terms shall otherwise remain in full
force and effect and enforceable. These Terms of Use are not assignable, transferable or
sublicensable by you except with Angie’s List’s prior written consent. We may transfer, assign
or delegate the Terms and its rights and obligations without consent. Users of this Sites and
Services are responsible for compliance with all applicable regulations and laws. No joint
venture, partnership, employment or agency relationship exists between you and Angie’s List as
a result of these Terms of Use or use of the Sites and Services. You acknowledge and agree that
each of the Released Parties shall be an intended third party beneficiary of these Terms of Use.
Contacting Us
If you have any comments or questions regarding these Terms, or wish to report any violation of
these Terms of Service, please contact us at helpdesk@angieslist.com. We will address any issue
to the best of our abilities.


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                         EXHIBIT 5
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Service Provider's User Agreement
EH'ective November 3,2017

Download


Summary of changes

References to Member Reviews have been changed to Consumer Reviews.

Service Provider’s User Agreement
Last Updated November 3, 20 J 7
Angie’s List, Inc. allows consumers of Angie’s List (collectively, the “Consumers”) to provide
reviews and ratings on a variety of service companies and health related providers (collectively,
a “Service Provider”) with whom they have had first-hand experiences. On behalf, and as
representative, of a Service Provider (“You” or “Company”), You are permitted to use the
website (www.aneieslist.com) (the “Website”) and the information contained therein subject to
the terms and conditions contained in this Service Provider’s User Agreement, which may be
modified, amended or replaced by Angie’s List from lime to time at Angie’s List sole discretion
(collectively, the “Agreement”). Such modifications will become effective immediately upon the
posting thereof This Agreement shall also govern other aspects of Your relationship with
Angie’s List beyond Your use of the Website, as described herein.
In consideration of Angie’s List granting the Company access to its Website and the information
contained therein, and in order to use the Website, You must read and accept all of the Terms
and Conditions in, and linked to, this Agreement. It is the Company’s responsibility to review
this Agreement on a regular basis to keep itself informed of any modifications. BY
ACCEPTING THE TERMS AND CONDITIONS OF THIS AGREEMENT, THE COMPANY
ACKNOWLEDGES IT HAS READ, UNDERSTANDS AND AGREES TO BE BOUND BY
ALL OF THE TERMS, CONDITIONS, AND NOTICES CONTAINED IN THIS
AGREEMENT JUST AS IF YOU HAD SIGNED THIS AGREEMENT.
Terms and Conditions
Consumers may submit a review or report and other information (collectively, “Consumer
Content”) on any Service Provider with which they have communicated or had another first-hand
experience, whether or not work was started, performed, or completed. If the Company disputes
any Consumer Content, the Company’s sole course of action with respect to such Consumer
Content as it relates to Angie’s List and the Website is to utilize the Services (as defined below)
which are available online at the Website.
By agreeing to the Terms and Conditions of this Agreement, the Company is hereby permitted to
use the services offered to Service Provider’s including, without limitation, access to ’’Business
Center”, the ability to review Consumer Content pertaining to the Company, the ability to submit
responses to Consumer Content, the ability to update and maintain profile information on the
Company, the ability to utilize the dispute resolution process offered through the Website and
facilitated by Angie’s List and such other services that Angie’s List may offer to Service
Providers from time to time (collectively, the “Services”).
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By agreeing to the Terms and Conditions of this Agreement, Angie’s List grants the Company a
limited license to access and use the Website and the Services. Notwithstanding the foregoing,
the Company acknowledges and agrees that it will not access, reproduce, duplicate, copy, sell,
re-sell, visit or otherwise exploit the Website (or any of the content therein including, without
limitation, any Consumer Content or any profiles of Angie’s List members) or Services for any
commercial or other purpose, without the express written consent of Angie’s List.
Angie’s List does not endorse and is not responsible or liable for any Consumer Content, SP
Content (as defined below), data, advertising, products, goods or services available or
unavailable from, or through, Angie’s List. The statements, information and ratings contained in
any Consumer Content are solely the opinion of the Consumer submitting such Consumer
Content and do not reflect the opinion of Angie’s List or any of its affiliates or subsidiaries or
any of their respective owners, managers, officers, employees, agents or representatives.
The Company acknowledges and understands that Angie’s List simply acts as a passive conduit
and an interactive computer provider for the publication and distribution of Consumer Content
and SP Content. Angie’s List does not have any duty or obligation to investigate the accuracy of
Consumer Content or the quality of the work performed by the Company or any other Service
Provider which is the subject of any Consumer Content. By using the Services, the Company
agrees that it is solely the Company’s responsibility to evaluate the Company’s risks associated
with the use, accuracy, usefulness, completeness, appropriateness or legality of any information,
responses, writings or other materials that the Company submits, transmits or otherwise conveys
through the Services (collectively, “SP Content”).
Under no circumstances will Angie’s List be liable in any way for any Consumer Content or SP
Content including, but not limited to, any Consumer Content or SP Content that contains, errors,
omissions or defamatory statements, or for any loss or damage of any kind incurred as a result of
the use of any Consumer Content or SP Content submitted, accessed, transmitted or otherwise
conveyed via the Services or otherwise.
The Company hereby waives any claims, rights or actions that it may have against Angie’s List
or any of its affiliates or subsidiaries with respect to any Consumer Content or SP Content and
releases Angie’s List and each of its affiliates and subsidiaries from any and all liability for or
relating to Consumer Content or SP Content.
The Company agrees to indemnify and hold Angie’s List and each of its affiliates and
subsidiaries and their respective owners, managers, officers, employees, agents or representatives
harmless for any damages that may arise, directly or indirectly, from any claim or right it may
have against Angie’s List with respect to any statements made by a Consumer or Consumer
Content submitted by a Consumer which is communicated, posted or published by Angie’s List
on its Website or to a third party.
The Company acknowledges and agrees that the Company can neither require Angie’s List to
place the Company on its Website nor remove the Company or any Consumer Content from
Angie’s List. The Company further acknowledges and understands that the Company is not a
Consumer of Angie’s List, cannot refer to itself as a Consumer of Angie’s List, and is not
afforded the same access to the Website as a Consumer nor the benefits afforded to a Consumer.
The Company and its current or former owners, directors, managers, employees, agents and
family members are expressly prohibited from purchasing gift memberships to Angie’s List or
reimbursing clients or customers for their Angie’s List membership cost. In addition, individuals
affiliated with the Company including, without limitation, current or former owners, current or
former employees or officers, family members, or current or former partners, investors,
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managers or directors (collectively, the “Affiliated Persons”) may not submit Consumer Content
to Angie’s List on the Company. The Company hereby acknowledges and agrees that to the
extent an Affiliated Person has submitted or posted any Consumer Content on the Company or
any company or person competitive to the Company, or believes that Consumer Content was
posted by an Affiliated Person that Angie’s List may immediately remove such Consumer
Content without notice or recourse against Angie’s List.
SP Content shall not contain any unauthorized content which includes but is not limited to:
a. Offensive, harmful and/or abusive language, including without limitation: expletives,
profanities, obscenities, harassment, vulgarities, sexually explicit language and hate speech (e.g.,
racist/discriminatory speech.);
b. Comments that do not address the Consumer Content or comments with no qualitative value
as determined by Angie’s List in its sole discretion;
c. Content that contains personal attacks or describes physical confrontations and/or sexual
harassment;
d. Messages that are advertising or commercial in nature, or are inappropriate based on the
applicable subject matter;
e. Language that violates the standards of good taste or the standards of the Website, as
determined by Angie’s List in its sole discretion;
f. Content determined by Angie’s List, in its sole discretion, to be illegal, or to violate any
federal, state, or local law or regulation or the rights of any other person or entity;
g. Language intended to impersonate other users (including names of other individuals) or to be
offensive or inappropriate user names or signatures; and/or
h. Content that is not in English, that is encrypted or that contains viruses, Trojan horses, worms,
time bombs, cancelbots or other computer programming routines that are intended to damage,
interfere with, intercept or appropriate any system, data or personal information.
The Company acknowledges and agrees that Angie’s List in its sole discretion may remove
without notice any SP Content or any portion thereof that Angie’s List believes violates the
foregoing.
Angie’s List may suspend, restrict or terminate the Company’s use of the Services or any portion
thereof if the Company breaches or fails to comply with any of the Terms and Conditions of this
Agreement.
Although Angie’s List does not claim ownership of any SP Content or other communications or
materials submitted by or given by the Company to Angie’s List, by providing SP Content for
the Website or other mediums, the Company automatically grants, and the Company represents
and warrants that the Company has the right to grant, to Angie’s List an irrevocable, perpetual,
non-exclusive, fully paid, worldwide license to use, copy, perform, display, reproduce, adapt,
modify, and distribute such SP Consent and to prepare derivative works of, or incorporate into
other works, such SP Content, and to grant and to authorize sublicenses (through multiple tiers)
of the foregoing. In addition, by providing Angie’s List with SP Content, the Company
automatically grants Angie’s List all rights necessary to prohibit the subsequent aggregation,
display, copying, duplication, reproduction or exploitation of SP Content on the Website or in
any other medium by any other party. No compensation will be paid with respect to Angie’s List
use of SP Content. Angie’s List is under no obligation to post or use any of SP Content or
maintain SP Content. Angie’s List may remove SP Content at any time in Angie’s List sole
discretion.
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It is the Company’s sole responsibility to review and monitor any Consumer Content regarding
the Company that is posted by Consumers and to submit responses it deems necessary to any
Consumer Content. Angie’s List does not have any obligation to provide a notice or update to the
Company with respect to any new information or Consumer Content that it learns of or receives
about the Company from its Consumers.
The Company has the sole responsibility of updating any and all of its information on the
Website including, without limitation, the Company’s description and profile information.
The Company agrees not to use or cause any robot, bot, spider, other automatic device, or
computer program routine or manual process to monitor, duplicate, take, obtain, transfer, modify,
use, reproduce, aggregate or copy Angie’s List, any Consumer Content, any Consumer profiles,
SP Content (including SP profiles) or any other content contained on the Website or any other
publication of Angie’s List. You shall not use or cause any device, software, or routine to
interfere or attempt to interfere with the proper working of the Website.
The Company hereby represents and warrants to Angie’s List that (a) all information provided to
Angie’s List by the Company is true, complete and accurate in all respects, and (b) the Company
is authorized to submit information to Angie’s List. Angie’s List is authorized by the Company
to rely upon the truthfulness, completeness and accuracy of SP Content in order to serve its
Consumers.
The Company acknowledges that the Website utilizes one or more website analytic services,
including, without limitation, ClickTale, which may record mouse clicks, mouse movements,
scrolling activity and text entered into the Website by users. These services do not collect
personally identifiable information that is not voluntarily entered into the Website by the user.
Angie’s List uses the information collected by these service providers to improve the usability
and other features of the Website. Users may choose to disable the ClickTale service at
http://www.clicktale.net/disable.html.
The Company acknowledges that Angie’s List will use the telephone numbers, email addresses
and facsimile numbers that are submitted to Angie’s List in connection with registering with
Angie’s List to contact the Company with information regarding Angie’s List. Angie’s List
agrees not to sell, trade, rent or share such information with any third parties. By providing a
wireless phone number to Angie’s List, Company agrees that Angie’s List may call or send text
messages to the wireless phone number for any purpose, including marketing purposes, using all
methods now known and discovered in the future, including, but not limited to, auto-dialers, pre­
recordings, and general telemarketing practices. Company agrees that these calls or text
messages may be regarding the products and/or services that Company has previously purchased
and products and/or services that Angie’s List may market to me. Company acknowledges that
this consent may be removed upon request.
To the extent a third party posts or submits any SP Content or manages the Company’s profile or -
information on the Website, the Company hereby acknowledges and agrees that the Company
shall remain fully responsible for any SP Content or information posted or submitted by such
third party.
The Company agrees unless expressly authorized by Angie’s List not to access, copy, duplicate
use, reproduce, alter, modify, create derivative works, display, sell, re-sell, advertise or market
with or otherwise exploit for any commercial, educational or other purpose any Consumer
Content, any Consumer profiles, any SP profiles, or any other content from the Website or
Angie’s List, including, without limitation, any reviews or ratings or any other content contained
in any Consumer Content.
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Angie’s List is the owner and/or authorized user of any trademark and/or service mark,
including, without limitation, the name “Angie’s List”, appearing on the Website and is
copyright owner or licensee of the content and/or information on the Website. By placing them
on Ae Website, Angie’s List does not grant the Company any license or other authorization to
copy or use its trademarks, service marks, copyrighted material, or other intellectual property,
except as provided herein.
Angie’s List reserves the right to exercise any rights or remedies which may be available to it
against the Company if the Terms and Conditions of this Agreement are violated by the
Company. These remedies include, but are not limited to, revocation of (a) Super Service
Awards (present & past) and any associated license, (b) advertising privileges, (c) use of the
Services, or (d) appearances on the Website and/or any other appearances in any Angie’s List’s
publication, and Company agrees that the exercise of one remedy shall not preclude the
availability of any other remedy.
The Company understands and agrees that, because damages resulting from Company’s breach
of this Agreement are difficult to calculate, if it becomes necessary for Angie’s List to pursue
legal action to enforce the Terms and Conditions of this Agreement, the Company will be liable
to pay Angie’s List the following amounts as liquidated damages, which the Company accepts as
reasonable estimates of Angie’s List’s damages for the specified breaches of this Agreement:
a. If the Company posts SP Content in violation of this Agreement, the Company agrees to
promptly pay Angie’s List One Thousand Dollars ($1,000) for each item of SP Content posted in
violation of this Agreement. Angie’s List may (but is not required) issue the Company a warning
before assessing damages.
b. If the Company exploits for any purpose (commercial or otherwise) any Consumer Content,
profiles of Angie’s List members or any other information contained on the Website including,
without limitation, ratings and/or reviews in violation of this Agreement, the Company agrees to
pay Ten Thousand Dollars ($10,000) per report, record or review exploited.
c. If the Company uses or causes any robot, bot, spider, other automatic device or computer
program routine or any manual process to monitor, duplicate, take, aggregate, obtain, modify,
use, reproduce or copy any Consumer Content, any profiles of Angie’s List members, SP content
(including SP profiles) or any other content contained on the Website or in any other publication
of Angie’s List, the Company agrees to pay One Hundred Dollars ($100) for each report, record,
review or other information that is monitored, duplicated, transferred, taken, obstructed,
modified, used, reproduced, aggregated or copied.
d. Except as set forth in the foregoing subparagraphs (a) through (c), inclusive, the Company
agrees to pay the actual damages suffered by Angie’s List to the extent such actual damages can
be reasonably calculated.
Notwithstanding any other provision of this Agreement, the Company reserves the right to seek
the remedy of specific performance of any term contained herein, or a preliminary or permanent
injunction against the breach of any such term or in aid of the exercise of any power granted in
this Agreement, or any combination thereof.

THE COMPANY EXPRESSLY UNDERSTANDS AND AGREES THAT ANGIE’S LIST
WILL NOT BE LIABLE FOR ANY DIRECT, INDIRECT, INCIDENTAL, SPECIAL,
PUNITIVE, COMPENSATORY, CONSEQUENTIAL OR EXEMPLARY DAMAGES (EVEN
IF ANGIE’S LIST HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES)
(COLLECTIVELY, “DAMAGES’’^ RESULTING FROM: (A) THE USE OR INABILITY TO
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USE THE SERVICES; (B) THE COST OF ANY GOODS AND/OR SERVICES PURCHASED
OR OBTAINED AS A RESULT OF THE USE OF THE SERVICES; (C) DISCLOSURE OF,
UNAUTHORIZED ACCESS TO OR ALTERATION OF YOUR INFORMATION OR SP
CONTENT; (D) SP CONTENT THE COMPANY MAY SUBMIT, RECEIVE, ACCESS,
TRANSMIT OR OTHERWISE CONVEY THROUGH THE SERVICES OR THIS
AGREEMENT; (E) STATEMENTS OR CONDUCT OF ANY CONSUMER OR OTHER
THIRD PARTY THROUGH THE SERVICES; (F) ANY OTHER MATTER RELATING TO
THE SERVICES; (G) ANY BREACH OF THIS AGREEMENT BY ANGIE’S LIST OR THE
FAILURE OF ANGIE’S LIST TO PROVIDE THE SERVICES UNDER THIS AGREEMENT;
(H) ANY CONSUMER CONTENT POSTED; OR (I) ANY OTHER DEALINGS OR
INTERACTIONS THE COMPANY HAS WITH ANY SERVICE PROVIDER (OR ANY OF
THEIR REPRESENTATIVES OR AGENTS). THESE LIMITATIONS SHALL APPLY TO
THE FULLEST EXTENT PERMITTED BY LAW. In some jurisdictions, limitations of liability
are not permitted. In such jurisdictions, some of the foregoing limitations may not apply to the
Company.
TO THE EXTENT ANGIE’S LIST IS FOUND LIABLE FOR ANYTHING RELATED TO
THIS AGREEMENT OR THE USE OF THE SERVICES, ANGIE’S LIST’S LIABILITY FOR
DAMAGES WILL NOT EXCEED ONE HUNDRED DOLLARS ($100.00).
This Agreement and the relationship between the Company and Angie’s List will be governed by
the internal laws of the State of Indiana, notwithstanding the choice of law provisions or conflict
of law analysis of the venue where any action is brought, where the violation occurred, where the
Company may be located or any other jurisdiction. The Company agrees and consents to the
exclusive jurisdiction of the state or federal courts located in Indianapolis, Indiana and waives
any defense of lack of personal jurisdiction or improper venue or forum non conveniens to a
claim brought in such court, except that Angie’s List may elect, in its sole discretion, to litigate
the action in the county or state where any breach by the Company occurred or where the
Company can be found. The Company agrees that regardless of any statute or law to the
contrary, any claim or cause of action arising out or related to your use of the Service or this
Agreement shall be filed within one (1) year after such claim or cause of action arose or will
forever be barred.
In the event this Agreement is terminated, certain provisions of this Agreement will continue to
remain in effect, including, but not limited to. Sections 4-7, 10, 19-26, and 28.
The Company agrees to indemnify and hold Angie’s List and each of its affiliates and
subsidiaries and each of their respective owners, officers, agents, managers, partners, employees,
agents and representatives harmless from any loss, liability, claim, or demand, including
reasonable attorneys’ fees (whether incurred in enforcing this Agreement or otherwise), made by
any third party due to or arising out of the Company’s use of Angie’s List.
Angie’s List may modify or restate the Terms and Conditions of this Agreement and such
modification(s) will be effective immediately upon being posted on the Website. Angie’s List
will make note of the date of the last update to the Agreement on the first page of this
Agreement. The Company is responsible for reviewing these terms and conditions regularly. The
Company’s continued use of the Services after such modifications will be deemed to be the
Company’s conclusive acceptance of all modifications to this Agreement.
The Company agrees that Angie’s List shall be entitled to payment from the Company for any
and all out-of-pocket costs, including, without limitation, attorneys’ fees, incurred by Angie's
List in connection with enforcing these Terms and Conditions and this Agreement or otherwise.
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The Services may be subject to limitations, delays and other problems inherent in the use of the
internet and electronic communications. Angie’s List is not responsible for any delays, failures
or other damage resulting from such problems.
This Agreement may not be re-sold or assigned by the Company. If the Company assigns, or
tries to assign, this Agreement, such assignment or attempted assignment vriil be void and
unenforceable. It will not be considered a waiver of Angie’s List’s rights if Angie’s List fails to
enforce any of the terms or conditions of this Agreement against the Company. In the event a
court finds a provision in this Agreement to not be valid, the Company and Angie’s List agrees
that such court should incorporate a similar provision that would be considered valid, with all
other provisions remaining valid in the Agreement. No joint venture, partnership, employment or
agency relationship exists between the Company and Angie’s List as a result of this Agreement
or use of the Services.
The person agreeing to this Agreement and the Terms and Conditions on behalf of the Company
hereby represents and warrants that he/she has the power and authority to bind the Company and
that this Agreement and the Terms and Conditions constitutes a valid and binding agreement of
the Company.
IF YOU DO NOT AGREE TO ALL OF THE TERMS AND CONDITIONS OF THIS
AGREEMENT, YOU MUST NOT USE THE SERVICES. BY USING THE SERVICES, YOU
ACKNOWLEDGE THAT YOU HAVE READ AND UNDERSTOOD THE TERMS AND
CONDITIONS OF THIS AGREEMENT AND YOU AGREE TO BE BOUND BY THESE
TERMS AND CONDITIONS.


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                                     SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                      TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                           OFFICE OF THE JUDGE-IN-CHAMBERS
                                               OFICINA DEL JUEZDE TURNO

Precision Contracting Solutions, LP, et al
                  Plaintiff / Demandante
                                                                          Case No. / No. de caso
                                                                                                   2019CA594g
    KENETH VdGEL, et al
              Defendant / Oemandado

                                           NOTICE OF HEARING / A VISO DEAUDIENCIA

You are hereby notified that Plaintiff has filed a/an / Por el presente, se le notifica que el/la Demandante ha presentado un/a:

 [7]     Application for a Temporary Restraining Order (T.R.O.) /So/iciiudpara una Orden de Restricddn Temporal (T.R.O. por
         sus siglas en ingles)

 I I     Motion for a Preliminary Injunction / Peticidn para un Mandate Judicial Preliminar

 I I     Other / Otro\____________________________________________________

The following Hearing has been scheduled for/has been continued to / Se ha programado/ aplazado la siguiente audiencia para:
             9/16/2019                 at / a la(s)_
                                                        'inf3e'
                                                           _________a.m. /p.m. a/para
                   (date / fecha)                      (time / hora)

              I      Hearing on the Application for Temporary Restraining Order / una audiencia sobre la solicitudpara una Orden
                     de Restriccion Temporal

              [      Status Hearing on the Motion for Preliminary Injunction / una audiencia sobre la peticidn para un Mandate
                     Judicial Preliminar

                     Other / Otro:

will be heard bylse ventilara ante:
           [71      Judge-in-Chambers / e!juez de turno

              I      The calendar Judge / eljuez asignado. Judge / Juez                    j calender / calendario

at the following location / en el siguiente lugar:

          0          Judge-in-Chambers Room 4220 (4'*’ Floor)/ Juez de turno, Oficina 4220 (4to Piso)
                     - 500 Indiana Ave. NW
              I      500 Indiana Ave. NW, Courtroom / Sala_________

          I 1       Building / Edificio A: 515 5*'' St. NW, Courtroom / Sala____________

          I 1       Building / Edificio B: 510 4'*’ St. NW, Courtroom / Sala____________

If you wish to be heard, your presence is required / Si desea hablar ante el juez, se requerira su presencia.
REVISED FORM SO-2064/SEPT 2014/TRANSLATED BYOCIS AUG 2012
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                          SUPERIOR COUgT QF JHE DISTRICT OF COLUMBIA
                                                CIVIL DIVISION
                                              Civil Actions Branch
                           500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                            , Telephone: (202) 879-1133 • Website: www.dccourts.gov

PRECISION CONTRACTING SOLUTIONS, LP et ai
  Vs.                                     C.A.No. 2019 CA 005949 B
KENNETH VOGEL et al
                      INITIAL ORDER AND ADDENDUM

    Pursuant to D.C. Code § 11-906 and District of Columbia Superior Court Rule of Civil Procedure
(“Super. Ct. Civ. R.”) 40-1, it is hereby ORDERED as follows:

      (1) Effective this date, this case has assigned to the individual calendar designated below. All future filings
in this case shall bear the calendar number and the judge’s name beneath the case number in the caption. On
filing any motion or paper related thereto, one copy (for the judge) must be delivered to the Clerk along with the
original.

     (2) Within 60 days of the filing of the complaint, plaintiff must file proof of serving on each defendant:
copies of the summons, the complaint, and this Initial Order and Addendum. As to any defendant for whom
such proof of service has not been filed, the Complaint will be dismissed without prejudice for want of
prosecution unless the time for serving the defendant has been extended as provided in Super. Ct. Civ. R. 4(m).

     (3) Within 21 days of service as described above, except as otherwise noted in Super. Ct. Civ. R. 12, each
defendant must respond to the complaint by filing an answer or other responsive pleading. As to the defendant
who has failed to respond, a default and judgment will be entered unless the time to respond has been extended
as provided in Super. Ct. Civ. R. 55(a).

     (4) At the time and place noted below, all counsel and unrepresented parties shall appear before the
assigned judge at an initial scheduling and settlement conference to discuss the possibilities of settlement and to
establish a schedule for the completion of all proceedings, including, normally, either mediation, case evaluation,
or arbitration. Counsel shall discuss with their clients prior to the conference whether the clients are agreeable to
binding or non-binding arbitration. This order is the only notice that parties and counsel will receive
concerning this Conference.

      (5) Upon advice that the date noted below is inconvenient for any party or counsel, the Quality Review
Branch (202) 879-1750 niay continue the Conference once, with the consent of all parties, to either of the two
succeeding Fridays. Request must be made not less than seven business days before the scheduling conference
date.
No other continuance of the conference will be granted except upon motion for good cause shown.

     (6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil
cases, each judge’s Supplement to the General Order and the General Mediation Order. Copies of these orders
are available in the Courtroom and on the Court’s website http://www.dccourts.gov/.

                                                              Chief Judge Robert E. Morin
Case Assigned to; Judge JUDGE EPSTEIN CIVIL CAL 2
Date: September 10, 2019______
Initial Conference: 10:30 am, Friday, December 13, 2019
Location; Courtroom 517
            500 Indiana Avenue N.W.
            WASHINGTON, DC 20001
                                                                                                    CAlO-60
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                       ADDENDUM TO INITIAL ORDER AFFECTING
                         ALL MEDICAL MALPRACTICE CASES

        In accordance with the Medical Malpractice Proceedings Act of 2006, D.C. Code § 16-2801,
et seq. (2007 Winter Supp.), "[a]fter an action is filed in the court against a healthcare provider
alleging medical malpractice, the court shall require the parties to enter into mediation, without
discovery or, if all parties agree[,] with only limited discovery that will not interfere with the
completion of mediation within 30 days of the Initial Scheduling and Settlement Conference
("ISSC"), prior to any further litigation in an effort to reach a settlement agreement. The early
mediation schedule shall be included in the Scheduling Order following the ISSC. Unless all
parties agree, the stay of discovery shall not be more than 30 days after the ISSC."
D.C. Code§ 16-2821.

        To ensure compliance \vith this legislation, on or before the date of the ISSC, the Court will
notify all attorneys and pro se parties of the date and time of the early mediation session and the
name of the assigned mediator. Information about the early mediation date also is available over
the internet at https://www:dccourts.gov/pa/. To facilitate this process, all counsel and pro se
parties in every medical malpractice case are required to confer, jointly complete and sign an
EARLY MEDIATION FORM, which must be filed no later than ten (10) calendar days prior to the
ISSC. D.C. Code § 16-2825 Two separate Early Mediation Forms are available. Both forms may be
obtained at www.dccourts.gov/medmalmediation. One form is to be used for early mediation with a
mediator from the multi-door medical malpractice mediator roster; the second form is to be used for
early mediation with a private mediator. Both forms also are available in the Multi-Door Dispute
Resolution Office, Suite 2900, 410 E Street, N.W. Plaintiffs counsel is responsible for eFiling the
form and is required to e-mail a courtesy copy to earlymedmal@dcsc.gov. Pro se Plaintiffs who
elect not to eFile may file by hand in the Multi-Door Dispute Resolution Office.

       A roster of medical malpractice mediators available through the Court's Multi-Door Dispute
Resolution Division, with biographical information about each mediator, can be found at
www.dccourts.gov/medmalmediation/mediatorprofiles. All individuals on the roster are judges or
lawyers with at least 10 years of significant experience in medical malpractice litigation.
D.C. Code § 16-2823(a). If the parties cannot agree on a mediator, the Court will appoint one.
D.C. Code§ 16-2823(b).

        The following persons are required by statute to attend personally the Early Mediation
Conference: (1) all parties; (2) for parties that are not individuals, a representative with settlement
authority; (3) in cases involving an insurance company, a representative of the company with
settlement authority; and (4) attorneys representing each party with primary responsibility for the
case. D.C. Code § 16-2824.

        No later than ten (10) days after the early mediation session has terminated. Plaintiff must
eFile with the Court a report prepared by the mediator, including a private mediator, regarding:
(1) attendance; (2) whether a settlement was reached; or, (3) if a settlement was not reached, any
agreements to narrow the scope of the dispute, limit discovery, facilitate future settlement, hold
another mediation session, or otherwise reduce the cost and time of trial preparation.
D.C. Code§ 16-2826. Any Plaintiff who is pro se may elect to file the report by hand with the Civil
Actions Branch. The forms to be used for early mediation reports are available at
www.dccourts.gov/medmalmedjation.

                                                             Chief    Judge     Robert    E.    Morin


                                                                                               CAlO-60
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